Case 3:24-cv-00212-AGS-VET   Document 38-1   Filed 04/18/24   PageID.485   Page 1
                                   of 241




                        Exhibit 1




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Case 3:24-cv-00212-AGS-VET                   Document 38-1 Filed 04/18/24 PageID.486 Page 2
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  c19) United States
  c12) Reissued Patent                                     (10) Patent Number:                                US RE47,653 E
         Wahl et al.                                       (45) Date of Reissued Patent:                              Oct. 22, 2019

  (54)   GOLF CLUB HEAD                                                               2053/0462 (2013.01); A63B 2053/0491
                                                                                         (2013.01); YJOT 29/49993 (2015.01)
  (71)   Applicant: Taylor Made Golf Company, Inc.,              (58)    Field of Classification Search
                    Carlsbad, CA (US)                                    CPC ... A63B 53/047; A63B 53/08; A63B 53/0475;
                                                                                       A63B 60/00; A63B 2053/0491; A63B
  (72)   Inventors: Bret H. Wahl, Escondido, CA (US);                                          2053/0462; A63B 60/42; A63B
                    Peter L. Larsen, San Marcos, CA                                 2053/0454; B23P 17/04; Yl0T 29/49993
                    (US); Loren Stowe, Coeur d'Alene, ID                 See application file for complete search history.
                    (US)
                                                                 (56)                  References Cited
  (73)   Assignee: Taylor Made Golf Company, Inc.,
                   Carlsbad, CA (US)                                             U.S. PATENT DOCUMENTS

  (21)   Appl. No.: 15/904,245                                          4,523,759 A      6/1985 Igarashi
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  (22)   Filed:    Feb. 23, 2018                                                             (Continued)

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  Reissue of:
  (64) Patent No.:      9,265,995                                JP               4109973                4/1992
                                                                 JP               9117537                5/1997
        Issued:         Feb. 23, 2016
        Appl. No.:      14/465,587                                                           (Continued)
        Filed:          Aug. 21, 2014                            Primary Examiner - William C Doerrler
  U.S. Applications:                                             (74) Attorney, Agent, or Firm - Klarquist Sparkman,
  (60) Continuation of application No. 13/960,554, filed on      LLP
        Aug. 6, 2013, now Pat. No. 8,814,725, which is a
                         (Continued)                             (57)                        ABSTRACT
                                                                 An iron-type golf club head is disclosed having a heel
  (51)   Int. Cl.                                                portion, a sole portion, a toe portion, a top-line portion, a
         A63B 53/04             (2015.01)                        front portion, a rear portion, and a striking face. A back wall
         A63B 53/08             (2015.01)                        is also disclosed in the rear portion enclosing a portion of the
         B23P 17104             (2006.01)                        rear portion to create an enclosed cavity. The cavity is
         A63B 60/00             (2015.01)                        defined by at least a rear surface of the striking face, an inner
         A63B 60/42             (2015.01)                        back wall surface, and the sole portion. A plug and a filler
  (52)   U.S. Cl.                                                material is located within the enclosed cavity. The filler
         CPC ........ A63B 53/047 (2013.01); A63B 53/0475        material surrounds the plug and is configured to hold the
              (2013.01); A63B 53/08 (2013.01); A63B 60/00        plug in place. The plug is lighter than the filler material.
               (2015.10); B23P 17104 (2013.01); A63B 60/42
                 (2015.10); A63B 2053/0454 (2013.01); A63B                      46 Claims, 9 Drawing Sheets


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Case 3:24-cv-00212-AGS-VET                               Document 38-1                  Filed 04/18/24             PageID.487     Page 3
                                                               of 241

                                                                US RE47,653 E
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Case 3:24-cv-00212-AGS-VET             Document 38-1          Filed 04/18/24    PageID.488   Page 4
                                             of 241

  U.S. Patent                  Oct. 22, 2019          Sheet 1 of 9              US RE47,653 E




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                                                                     Fig.1.C
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                  120 --··



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                              Fig.1B




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Case 3:24-cv-00212-AGS-VET    Document 38-1               Filed 04/18/24      PageID.489   Page 5
                                    of 241

  U.S. Patent         Oct. 22, 2019        Sheet 2 of 9                       US RE47,653 E




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                                    Fig.1D


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                                Fig.1E

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Case 3:24-cv-00212-AGS-VET           Document 38-1       Filed 04/18/24          PageID.490   Page 6
                                           of 241

  U.S. Patent                Oct. 22, 2019       Sheet 3 of 9                    US RE47,653 E




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Case 3:24-cv-00212-AGS-VET                       Document 38-1                    Filed 04/18/24   PageID.491   Page 7
                                                       of 241

  U.S. Patent                   Oct. 22, 2019                             Sheet 4 of 9             US RE47,653 E




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                                            Fig. 3A
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                                            Fig. 3B

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Case 3:24-cv-00212-AGS-VET    Document 38-1       Filed 04/18/24     PageID.492   Page 8
                                    of 241

  U.S. Patent         Oct. 22, 2019       Sheet 5 of 9               US RE47,653 E




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                          Fig. 5A


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Case 3:24-cv-00212-AGS-VET    Document 38-1    Filed 04/18/24   PageID.493   Page 9
                                    of 241

  U.S. Patent         Oct. 22, 2019    Sheet 6 of 9             US RE47,653 E




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                                Fig. 5B




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Case 3:24-cv-00212-AGS-VET         Document 38-1          Filed 04/18/24    PageID.494   Page
                                        10 of 241

 U.S. Patent         Oct. 22, 2019            Sheet 7 of 9                  US RE47,653 E




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Case 3:24-cv-00212-AGS-VET     Document 38-1       Filed 04/18/24   PageID.495   Page
                                    11 of 241

 U.S. Patent          Oct. 22, 2019       Sheet 8 of 9              US RE47,653 E




                 FORMING AN APERTURE IN A BACK WALL

                                 702


                                 ,,
                 INSERTING A PLUG INTO THE APERTURE
                                 704


                                 .
                MOVING THE PLUG FROM A FIRST POSITION
                        TO A SECOND POSITION
                                 706


                                 ,
                                 ,
                FILLING AN INTERIOR CAVITY WITH A FILLER
                    MATERIAL TO SURROUND THE PLUG
                                 708

                                 ,,
                HEATING THE FILLER MATERIAL TO CAUSE
                             EXPANSION
                                709



                 COVERING THE APERTURE WITH A BADGE

                                 710




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     Case 3:24-cv-00212-AGS-VET                          Document 38-1            Filed 04/18/24                      PageID.496                           Page
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                                                               Frequency Response                                                                                  ~
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                                           Example A - With Foam                - - - Example 8-1\lo Foam                                                          =
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Case 3:24-cv-00212-AGS-VET                         Document 38-1                Filed 04/18/24             PageID.497              Page
                                                        13 of 241

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                    GOLF CLUB HEAD                                   top-line portion, a front portion, a rear portion, and a striking
                                                                     face. A back wall is located in the rear portion enclosing a
                                                                     substantial portion of the rear portion to create a substan-
 Matter enclosed in heavy brackets [ ] appears in the                tially enclosed cavity. The enclosed cavity is defined by at
 original patent but forms no part of this reissue specifica- 5 least a rear surface of the striking face, an inner back wall
 tion; matter printed in italics indicates the additions             surface, and the sole portion. At least one plug and a filler
 made by reissue; a claim printed with strikethrough                 material located within the enclosed cavity are described.
 indicates that the claim was canceled, disclaimed, or held          The filler material substantially surrounding the plug and is
 invalid by a prior post-patent action or proceeding.                configured to hold the at least one plug in place.
                                                                  10     In one example, the enclosed cavity has a volume between
      CROSS REFERENCE TO RELATED [APPLICA-                           about 1 cc and 200 cc and an unsupported face area between
                     TION] APPLICATIONS                              about 300 mm2 to about 4,000 mm2 is described.
                                                                         In another example, the unsupported face area includes a
     This application is a reissue application of U.S. Pat. No.      thickened central region and the plug is positioned to be in
 9,265,995, issued Feb. 23, 2016, which is a continuation of 15 contact with at least a portion of the thickened central
 [U.S. patent] application Ser. No. 131960,554, filed on Aug.        region. The at least one plug contacts the inner back wall
 6, 2013, now U.S. Pat. No. 8,814,725, which is a [divisional]       surface.
 division of [U.S. patent] application Ser. No. 13/709,876,              In yet another example, the striking face includes a
 filed Dec. 10, 2012, [which is] now U.S. Pat. No. 8,517,863,        welded striking plate and a total striking face area is between
                                                                                         2                2
 [issued Aug. 27, 2013,] which is a continuation of [U.S. 20 about 2,700 mm and 5,000 mm .
 patent] application Ser. No. 131327,638, filed on Dec. 15,              In one  example,   an  aperture into  the enclosed cavity is
 2011, [which is] now U.S. Pat. No. 8,328,663, [issued Dec.          provided for filling the cavity with the filler material. The
 11, 2012,] which is a continuation of[U.S. patent] applica-         filler material is an expanding foam material having a
 tion Ser. No. 121462,198, filed on Jul. 29, 2009, [which is]        density between about 0.03 glee and about 0.19 glee.
 now U.S. Pat. No. 8,088,025[, issued Jan. 3, 2012, all of 25            In another example, the filler material occupies about
 which are incorporated herein by reference].                        50% to about 99% of the total enclosed cavity volume. The
                                                                     filler material completely fills a remaining cavity volume
                              FIELD                                  around the at least one plug. The filler material contacts an
                                                                     entire first side surface of the at least one plug.
     The present disclosure relates to a golf club head. More 30         In yet another example, the filler material and the at least
 specifically, the present disclosure relates to a golf club head    one plug have a combined weight of less than about 10 g or
 filled with a dampening material.                                   about 5 g.
                                                                         In one example, the filler material and plug have a
                        BACKGROUND                                   combined weight of less than about 20% of the total club
                                                                  35 head weight, or less than about 5%.
     A golf set includes various types of clubs for use in               In another example, the back wall includes a first aperture
 different conditions or circumstances in which a ball is hit        having at least a first diameter and a slot configured to match
 during a golf game. A set of clubs typically includes a             at least a keying portion of the at least one plug and the
 "driver" for hitting the ball the longest distance on a course.     coefficient of restitution of the club is greater than about 0.8.
 A fairway "wood" can be used for hitting the ball shorter 40            In yet another example, the striking face includes a
 distances than the driver. A set of irons are used for hitting      striking plate formed of a steel, such as maraging steels,
 the ball within a range of distances typically shorter than the     maraging stainless steels, and PH stainless steels.
 driver or woods.                                                        In one example, the plug is in direct contact with a rear
     An iron has a flat face that normally contacts the ball         surface of the striking face and at least a portion of the filler
 whenever the ball is being hit with the iron. Irons have 45 material is in direct contact with a rear surface of the striking
 angled faces for achieving lofts ranging from about 18              face.
 degrees to about 60 degrees.                                            In another example, the back wall includes at least a first
     Every club has a "sweet spot" that represents the best          aperture. The first aperture is configured to allow the at least
 hitting zone on the face for maximizing the probability of the      one plug to be inserted into the first aperture and is config-
 golfer achieving the best and most predictable shot using the 50 ured to allow the at least one plug to move from a first
 particular club. Most golfers strive to make contact with the       position to a second position.
 ball inside the sweet spot to achieve a desired trajectory.             In yet another example, the back wall includes at least one
 However, a golf club head may have a tendency to cause              slot, the at least one slot being connected to the first aperture
 undesirable sounds and vibrations upon impact.                      and is configured to secure the at least one plug.
                                                                  55    According to one aspect of one embodiment of the present
            SUMMARY OF THE DESCRIPTION                               invention, a method of manufacturing a hollow iron-type
                                                                     golf club with a plug and filler material is described. A body
     The present disclosure describes a golf club head com-          including a heel portion, a sole portion, a toe portion, a
 prising a heel portion, a toe portion, a crown, a sole, and a       top-line portion, a front portion, and a rear portion having a
 face.                                                            60 back wall is disclosed. An aperture is formed on the body. A
     The foregoing and other objects, features, and advantages       striking face is formed and attached to the front portion of
 of the invention will become more apparent from the fol-            the body to form a cavity defined by a rear surface of the
 lowing detailed description, which proceeds with reference          striking face, an inner surface of the back wall, and the sole
 to the accompanying figures.                                        portion. At least one plug is inserted into the aperture. The
     According to one aspect of an embodiment of the present 65 at least one plug is in direct contact with the rear surface of
 invention, a hollow iron-type golf club head is described           the striking face and the inner surface of the back wall. The
 including a heel portion, a sole portion, a toe portion, a
                                                                     42
                                                                     plug is moved from a first position to a second position. A
Case 3:24-cv-00212-AGS-VET                          Document 38-1              Filed 04/18/24             PageID.498              Page
                                                         14 of 241

                                                         US RE47,653 E
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 filler material is inserted into the aperture. The filler material dicular to the ground plane 111 and having an origin at the
 substantially surrounds the plug and is configured to hold the     ground plane 111. The ground plane 111 is assumed to be a
 plug in place. The aperture is covered with a badge in the         perfectly flat plane.
 rear portion of the body.                                             In certain embodiments, a desirable CG-x location is
                                                                  5 between about 5 mm (heel side) and about -5 mm (toe side)
        BRIEF DESCRIPTION OF THE DRAWINGS                           along the CG x-axis 105. A desirable CG-y location is
                                                                    between about 0.25 mm to about 20 mm along the CG y-axis
    The present invention is illustrated by way of example          107 toward the rear portion of the club head. Additionally,
 and not limitation in the figures of the accompanying              a desirable CG-z location is between about 12 mm to about
 drawings in which like references indicate similar elements. 10 25 mm along the CG z-up axis 109, as previously described.
    FIG. lA is a front view of an embodiment of a golf club            FIG. 1B shows a cross sectional side view of the hollow
 head.                                                              iron golf club head 100 along the cross-section lines 1B-1B
    FIG. 1B is a cross-sectional view taken along section lines     shown in FIG. lA. The cross-section lines 1B-1B are taken
 18-18 in FIG. lA.                                                  through an ideal striking point 101 in the center of the
                                                                 15
    FIG. lC is a magnified view of DETAIL lC in FIG. 1B.            striking face 110. The ideal striking point 101 is located in
    FIG. lD is an elevated toe perspective view of a golf club      a striking face plane 125 at the intersection of a first axis
 head.                                                              (within the face plane 125) passing through the midpoint of
    FIG. lE is a cross-sectional view taken along section lines     the longest scoreline groove and a second horizontal axis
 lE-lE in FIG. lD.                                               20 (within the face plane 125) offset from the leading edge
    FIG. 2A is an exploded assembly view of a golf club head        (defined as the intersection of the sole portion and the face
 according to an embodiment.                                        plane 125) by a distanced of about 16.5 mm within the face
    FIG. 2B is an assembled view of a golf club head                plane 125, as shown in FIG. lD. The striking face 110
 according to an embodiment.                                        includes a front surface 110a and a rear surface 110b. The
    FIG. 3A is a front view of another embodiment of a golf 25 hollow iron golf club head 100 further includes a back
 club head.                                                         portion 128 and a front portion 130. The striking face 110
    FIG. 3B is a cross-sectional view taken along section lines     located in the front portion 130 has an inverted cone profile
 3B-3B in FIG. 3A.                                                  or thickened central region that provides multiple thick-
    FIG. 4 is a rear view of a golf club head according to an       nesses across the striking face 110. The thickened central
 embodiment.                                                     30 region can be a variety of profile shapes and is not restricted
    FIG. SA is an isometric view of a golf club head insert.        to a cone shape.
    FIG. 5B is an isometric view of a golf club head insert.           The striking face 110 has a first thickness 116 and a
    FIG. 6A illustrates an exploded assembly view of a golf         second thickness 118. The second thickness is greater than
 club head according to an embodiment.                              the first thickness 116. In certain embodiments, the first
    FIG. 6B illustrates an assembled view of a golf club head 35 thickness 116 can be between about 1.5 mm and about 2.5
 according to an embodiment.                                        mm, with a preferred thickness of about 2 mm or less. The
    FIG. 7 illustrates a flow chart of a golf assembly opera-       second thickness 118 can be between about 1.7 mm and
 tion.                                                              about 2.5 mm or less than about 2.7 mm. Furthermore, the
    FIG. 8 illustrates a graph of a frequency response of           sole portion 108 has a sole thickness dimension 140 that
 exemplary golf club heads.                                      40 extends within a region between a rear protrusion 138 and
                                                                    the striking face 110. In certain embodiments, the sole
                  DETAILED DESCRIPTION                              thickness dimension 140 is between about 1 mm and about
                                                                    2 mm, or less than about 2 mm. In one embodiment, a
    Various embodiments and aspects of the inventions will          preferred sole thickness 140 is about 1.8 mm or less. A
 be described with reference to details discussed below, and 45 recess 134 is located above the rear protrusion 138 in the
 the accompanying drawings will illustrate the various              back portion 128 of the club head. A back wall 132 encloses
 embodiments. The following description and drawings are            the entire back portion 128 of the club head to define a cavity
 illustrative of the invention and are not to be construed as       120 that is primarily filled with a filler material 121.
 limiting the invention. Numerous specific details are                 In one embodiment, the filler material 121 can be an
 described to provide a thorough understanding of various 50 expandable foam such as Expancel® 920 DU 40 which is an
 embodiments of the present invention. However, in certain          acrylic copolymer encapsulating a blowing agent, such as
 instances, well-known or conventional details are not              isopentane. A copolymer is greater than about 75 weight
 described in order to provide a concise discussion of              percent of the composition and the blowing agent is about
 embodiments of the present inventions.                             15-20 weight percent. The unexpanded particle size of the
    FIG. lA illustrates a hollow iron golf club head 100 55 filler material 121 can be between about 2 µm and about 90
 including a heel 102, toe 104, sole portion 108, and top line      µm depending on the context.
 portion 106. The striking face 110 includes grooves 112 that          In one embodiment, the density of the filler material 121
 are designed for impact with the golf ball. In some embodi-        is between about 0.16 glee and about 0.19 glee or between
 ments, the golf club head 100 can be a single unitary cast         about 0.03 glee and about 0.19 glee. In certain embodiments,
 piece, while in other embodiments, a striking plate can be 60 the density of the filler material 121 is in the range of about
 formed separately to be adhesively or mechanically attached        0.03 glee to about 0.2 glee, or about 0.04-0.10 glee. The
 to the golf club head 100.                                         density of the filler material 121 impacts the COR, durabil-
    FIGS. lA and lD also show a center point 101 being an           ity, strength, and filling capacity of the club head. In general,
 ideal striking point in the center of the striking face 110 and    a lower density material will have less of an impact on the
 respective orthogonal CG axes. A CG x-axis 105, CG y-axis 65 COR of a club head. The filler material 121 can have a
 107, and CG z-axis 103 intersect at the center point 101. In       hardness range of about 15-85 Shore 00 hardness or about
 addition, a CG z-up axis 109 is defined as an axis perpen-
                                                                      43
                                                                    80 Shore 00 hardness or less.
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.499             Page
                                                       15 of 241

                                                      US RE47,653 E
                               5                                                                   6
     In one embodiment, the filler material 121 is subject to       embodiments, the return surface 123 extends less than 60%
 heat for expansion of about 150° C.+/-10° C. for about 30          of the total top line thickness 122. In certain embodiments,
 minutes. In some embodiments, the expansion of the filler          the total top line thickness 122 is between about 6 mm and
 material 121 can begin at about 125° C. to about 140° C. A         about 9 mm, or about 8.5 mm or less, as measured along the
 maximum expansion temperature range can be between 5 second plane 127 and perpendicular to the striking plane
 about 160° C. to about 190° C. The temperature at which the        125.
 expansion of the filler material 121 begins is critical in            A small effective top line thickness 124 of the return
                                                                    surface 123 creates the perception to a golfer that the entire
 preventing unwanted expansion after the club head is
                                                                    top 106 of the club head 100 is thin. A perceived thin top line
 assembled. For example, a filler material that begins expand-
                                                                 10 106 can enhance the aesthetic appeal to a golf player.
 ing at about 120° C. will not cause unwanted expansion
                                                                       FIG. lD illustrates an elevated toe view of the golf club
 when the club is placed in the trunk of a car (where               head 100 including a back portion 128, a front portion 130,
 temperatures can reach up to about 83° C.). Thus, a filler         a sole portion 108, a top line portion 106, and a striking face
 material 121 that has a beginning expansion temperature of         110, as previously described.
 greater than about 80° C. is preferred.                         15    FIG. lE illustrates a cross-sectional view taken along
     Some other examples of materials that can be used as a         cross-sectional lines lE-lE of FIG. lD. FIG. lE shows a
 filler material or plug material include, without limitation:      rear unsupported face region 146, an inverted cone technol-
 viscoelastic elastomers; vinyl copolymers with or without          ogy region 148 (hereinafter, "ICT region" or "Thickened
 inorganic fillers; polyvinyl acetate with or without mineral       Central Region") and a rear supported face region 150. The
 fillers such as barium sulfate; acrylics; polyesters; polyure-
                                                                    unsupported face region 146 is a region of the striking face
 thanes; polyethers; polyamides; polybutadienes; polysty- 20
                                                                    110 where the thickness of the face is thin (i.e. less than
 renes; polyisoprenes; polyethylenes; polyolefins; styrene/
 isoprene block copolymers; metallized polyesters;                  about 3 mm or less than about 5 mm) and is not supported
 metallized acrylics; epoxies; epoxy and graphite compos-           by any separate or integrated metallic structure having a
 ites; natural and synthetic rubbers; piezoelectric ceramics;       significant impact on the stiffness of the striking face 110.
 thermoset and thermoplastic rubbers; foamed polymers; 25 The ICT region 148 can be considered a sweet spot where
 ionomers; low-density fiber glass; bitumen; silicone; and          an ideal impact can occur at the center point 152 of the ICT.
 mixtures thereof. The metallized polyesters and acrylics can       Variable thickness configurations or inverted cone configu-
 comprise aluminum as the metal. Commercially available             rations are discussed in, for example, U.S. Pat. Nos. 6,800,
 materials include resilient polymeric materials such as            038, 6,824,475, 6,904,663, and 6,997,820, all incorporated
 Scotchdamp™ from 3M, Sorbothane® from Sorbothane, 30 herein by reference.
 Inc., DYAD and GPS from Soundcoat Company Inc., Dyna-                 The rear supported face region 150 is located about a
 mat from Dynamat Control of North America, Inc., NoVi-             periphery of the unsupported face region 146. The inverted
 Flex™ Sylomer® from Pole Star Maritime Group, LLC,                 cone region 148 is centered about an ideal impact location
 Isoplast® from The Dow Chemical Company, and Lege-                 152 located in a central location of the unsupported face
 tolex™ from Piqua Technologies, Inc. In one embodiment 35 region 146. The inverted cone region 148 includes an outer
 the filler material may have a modulus of elasticity ranging       span 144 and an inner span 142. In some embodiments, the
 from about 0.001 GPa to about 25 GPa, and a durometer              outer span 144 is between about 15 mm and about 25 mm,
 ranging from about 5 to about 95 on a Shore D scale. In other      or at least 20 mm. The inner span 142 of the inverted cone
 examples, gels or liquids can be used, and softer materials
                                                                    region 148 represents the thickest portion of the unsupported
 which are better characterized on a Shore A or other scale
                                                                 40 face region 146. In certain embodiments, the inner diameter
 can be used. The Shore D hardness on a polymer is measured
 in accordance with the ASTM (American Society for Testing          142 is between about 5 mm and about 15 mm, or at least
 and Materials) test D2240.                                         about 10 mm.
     FIG. 1B further shows an optional ridge 136 extending             The tabulated values in Tables 1-7 are total face area, thin
 across a portion of the outer back wall surface 132a forming       face thickness, thickened central region (or ICT region area),
 an upper concavity and a lower concavity. An inner back 45 and the unsupported surface area.
 wall surface 132b defines a portion of the cavity 120 and             The "total face area" is defined as the area of face
 forms a thickness between the outer back wall surface 132a         contained within a face plane on a front striking portion of
 and the inner back wall surface 132b. In some embodiments,         the club head. The "thin face thickness" is the nominal
 the back wall thickness varies between a thickness of about        thickness of the striking surface in its thinnest location (such
 1 mm to about 3 mm.                                             50 as dimension 116, in FIG. 1B). The ICT region 148 area is

     FIG. lC is a magnified view of the top line 106 DETAIL         the surface area contained by the variable thickness region
 lC shown in FIG. 1B. FIG. lC shows the top line 106 and            or inverted cone area. Furthermore, the "Unsupported Sur-
 a striking plane 125 that is parallel to and contains the front    face Area" is the unsupported rear surface area 146 of the
 striking surface 110. A second plane 127 is shown being            striking face (including an ICT region 148).
 perpendicular to the striking plane 125 and the striking 55
 surface 110. The top line 106 includes a return surface 123                                 EXAMPLE 1
 immediately adjacent to the striking face 110 in the top line
 portion 106. The return surface 123 extends from the strik-
 ing face 110 toward the back portion 128 and a majority of                                    TABLE 1
 the return surface 123 is generally parallel with the second 60                                            Thickened
 plane 127. A transition surface 126 connects the return                                                      Central
 surface 123 to the outer back wall surface 132a.                                     Total    Thin Face      Region    Unsupported
     In certain embodiments, the return surface 123 extends                        Face Area   Thickness       Area        Surface
                                                                    Club head        (nnn2)      (nnn)        (nnn2)     Area (mm2)
 from the striking face 110 a return distance 124 (or "effective
 top line thickness") of between about 3.5 mm and 5 mm, or 65 3-iron                 2,825        2.1          541          2,175
 about 4.8 mm or less, as measured along the second plane           6-iron           2,964        2.1          541          2,276
 127 and perpendicular to the striking plane 125. In some
                                                                    44
Case 3:24-cv-00212-AGS-VET                              Document 38-1                     Filed 04/18/24               PageID.500              Page
                                                             16 of 241

                                                            US RE47,653 E
                                   7                                                                          8
                           TABLE I-continued                                                             EXAMPLE 6

                                            Thickened
                                             Central
                    Total      Thin Face     Region      Unsupported                                      TABLE 6
                 Face Area     Thickness      Area         Surface     5
 Club head         (nnn2)        (mm)        (mm2)       Area (mm2)                            Total       Thin Face     JCT     Unsupported
                                                                                             Face Area     Thickness    Region     Surface
 9-iron            3,116          2.1         541           2,094                Club head    (mm2)          (mm)       (nnn2)   Area (mm2)
 Wedge             3,452          2.1         541           2,345
                                                                                 3-iron        2,790          2.5        239        1,567
                                                                                 6-iron        2,958          2.5        292        1,719
                                                                       10
                                                                                 9-iron        3,150          2.5        308        1,621
                                                                                 Wedge         3,301          2.5        313        1,627
                              EXAMPLE 2


                                                                       15
                                                                                                         EXAMPLE 7
                               TABLE 2
                     Total      Thin Face     JCT       Unsupported
                  Face Area     Thickness    Region       Surface                                         TABLE 7
     Club head      (mm2)         (nnn)      (mm2)      Area (nnn2)
                                                                                               Total       Thin Face     JCT     Unsupported
     3-iron         2,824          2.4        527          2,403       20                    Face Area     Thickness    Region     Surface
     6-iron         2,962          2.4        527          2,473                 Club head    (mm2)          (mm)       (nnn2)   Area (mm2)
     9-iron         3,113          2.4        527          2,245
     Wedge          3,451          2.4        527          2,540                 3-iron        3,177          2.0        700        3,175
                                                                                 6-iron        3,231          2.0        700        3,260
                                                                                 9-iron        3,384          2.0        315        2,244
                                                                       25        Wedge         3,436          2.0        315        2,104

                              EXAMPLE 3
                                                                             The tabulated values are representative and other con-
                                                                          figurations can be provided as described herein. It should be
                               TABLE 3                                    noted, in the above examples, one advantage of the Unsup-
                                                                       30
                                                                          ported Surface Area is that a mass savings is achieved while
                     Total      Thin Face     JCT       Unsupported       also providing a durable and high COR striking face.
                  Face Area     Thickness    Region       Surface
     Club head      (mm2)         (nnn)      (mm2)      Area (nnn2)
                                                                             In the examples provided in Tables 1-7, a total face area
                                                                          can be in a range of about 2,700 mm2 to about 4,000 mm2 .
     3-iron         2,792          2.5        388          1,631          The Unsupported Surface Area can be within a range of
     6-iron         2,965          2.5        388          1,608       35
     9-iron         3,151          2.5        388          1,597          about 300 mm2 to about 4,000 mm2 , or preferably 450 mm2
     Wedge          3,304          2.5        388          1,519          to about 3,500 mm2 . In some embodiments, the Unsup-
                                                                          ported Surface Area is at least greater than about 2,000 mm2 .
                                                                          The thin face thickness can be within a range of about 1.0
                                                                       40 mm-3.0 mm, preferably 1.5-2.5 mm, and also preferably in
                              EXAMPLE 4                                   a range of about 1.6-2.0 mm. In certain embodiments, the
                                                                          thin face thickness is less than about 2.0 mm. In embodi-
                                                                          ments having an ICT region, the ICT region surface area can
                               TABLE 4                                    range from about 230 mm2 to about 2,000 mm2 .
                     Total      Thin Face     JCT       Unsupported
                                                                       45    FIG. 2A illustrates one embodiment of a hollow iron golf
                  Face Area     Thickness    Region       Surface         club head 200 having a top line portion 206, a toe portion
     Club head      (mm2)         (nnn)      (mm2)      Area (nnn2)       204, a heel portion 202, a rear portion 222, and a sole portion
     3-iron         2,796          2.2        247          1,560          208. The golf club head 200 includes a back wall 212 located
     6-iron         2,934          2.2        247          1,529          within a cavity region 216 or recess in the rear portion 222
     9-iron         3,084          2.4        247          1,479       50
                                                                          of the club head 200. The cavity region 216 includes side
     Wedge          3,421          2.4        247          1,711
                                                                          walls around a periphery of the back wall 212 creating a first
                                                                          recess or cavity region 216 where a badge 214 can be
                                                                          inserted and adhesively attached to the back wall 212. An
                              EXAMPLE 5                                55
                                                                          aperture   210 is located in the back wall 212 and can be used
                                                                          for filling the hollow iron 200 with a sound dampening filler
                                                                          material 224 as previously described. A second recess 220 is
                               TABLE 5                                    located below the first recess 216 and can also be configured
                                                                          to receive a second badge.
                     Total      Thin Face     JCT       Unsupported    60    After the hollow iron 200 is filled with the filler material
                  Face Area     Thickness    Region       Surface
     Club head      (mm2)         (nnn)      (mm2)      Area (nnn2)
                                                                          224, the badge 214 is adhesively or mechanically attached to
                                                                          the back wall 212 to cover or occlude the aperture 210 to
     3-iron         2,763          2.4        314          2,220          prevent filler material from leaving the cavity and also to
     6-iron         2,974          2.4        314          2,206
     9-iron         3,376          2.4        314          2,240
                                                                          achieve a desired aesthetic and further dampening.
     Wedge          3,421          2.4        314          2,055       65    FIG. 2B shows the golf club head 200 fully assembled
                                                                          after the filler material 224 is inserted and the badge 214 is
                                                                            45
                                                                          attached to the back wall 212.
Case 3:24-cv-00212-AGS-VET                        Document 38-1               Filed 04/18/24             PageID.501             Page
                                                       17 of 241

                                                      US RE47,653 E
                               9                                                                  10
    FIG. 3A illustrates another embodiment of a golf club           ment. For example, 17-4 PH stainless steel forgings are heat
 head 300 including a heel portion 302, a toe portion 304, a        treated by 1040° C. for 90 minutes and then solution
 top line portion 306, a sole portion 308, a body portion 309       quenched. In another example, C455 or C450 stainless steel
 and a striking plate 310 located on a striking surface. The        forgings are solution heat-treated at 830° C. for 90 minutes
 striking plate 310 includes grooves 314.                         5 and then quenched.
    In one embodiment, the striking plate 310 is mechanically          In one embodiment, the body portion 309 is made from
 attached to a front portion of the body portion 309. Specifi-      17-4 steel. However another material such as carbon steel
 cally, a weld line 312 is formed about a periphery of the          (e.g., 1020, 1030, 8620, or 1040 carbon steel), chrome-
 striking plate 310.                                                molybdenum steel (e.g., 4140 Cr-Mo steel), Ni-Cr-Mo
    The weld is created by a welding device, such as a laser 10
                                                                    steel (e.g., 8620 Ni-Cr-Mo steel), austenitic stainless
 or plasma weld. In one embodiment, the weld is applied on
                                                                    steel (e.g., 304, N50, or N60 stainless steel (e.g., 410
 the front face of the golf club head 300 from a frontward to
                                                                    stainless steel) can be used.
 rearward direction. The weld can be any type of weld
 including (but not limited to) bead, groove, fillet, surfacing,       The components of the described components disclosed in
 tack, plug, slot, friction, and resistance welds.               15
                                                                    the present specification can be formed from any of various
    Compared to TIG welding and other welding techniques,           suitable metals or metal alloys.
 laser welding can be advantageous by concentrating more               In addition to those noted above, some examples of metals
 energy at the weld site. Laser welding also produces a             and  metal alloys that can be used to form the components of
 smaller heat affected zone and more localized melt, less           the parts described include, without limitation: titanium
 material interdiffusion, and reduced material fatigue during 20 alloys (e.g., 3-2.5, 6-4, SP700, 15-3-3-3, 10-2-3, or other
 subsequent use.                                                    alpha/near alpha, alpha-beta, and beta/near beta titanium
    After completion of the welding, the club head is sub-          alloys), aluminum/aluminum alloys (e.g., 3000 series alloys,
 jected to a heat treatment for aging. The post-weld heat           5000 series alloys, 6000 series alloys, such as 6061-T6, and
 treatment is generally at 480-540° C. for four hours. The          7000 series alloys, such as 7075), magnesium alloys, copper
 club head is also machine finished as required, such as 25 alloys, and nickel alloys.
 grinding, polishing, or sandblasting, to smooth and topo-             The body portion 309 can include various features such as
 logically blend the surface of the weldment into the face          weighting elements, cartridges, and/or inserts or applied
 plane. Finish machining is desirably followed by passiva-          bodies as used for CG placement, vibration control or
 tion. After completing finish-machining, it may be desirable       damping, or acoustic control or damping. For example, U.S.
 to apply a suitable surface treatment of the club head, such 30 Pat. No. 6,811,496, incorporated herein by reference in its
 as plating, painting, coating, or the like. Plating may be         entirety, discloses the attachment of mass altering pins or
 performed to produce a surface plating layer that protects         cartridge weighting elements.
 against corrosion and is strong, durable, relatively inert, and       After forming striking plate 310 and the body portion 309,
 aesthetically pleasing. Exemplary materials for forming a          the striking plate 310 and body portion 309 contact surfaces
 plating layer are Cr, Ni, and Cu. Exemplary techniques for 35 can be finish-machined to ensure a good interface contact
 forming the plating layer are electrode plating, electroless       surface is provided prior to welding. In one embodiment, the
 plating, physical vapor deposition (PVD), chemical vapor           contact surfaces are planar for ease of finish machining and
 deposition (CVD), ion plating, and ion-beam-enhanced dif-          engagement.
 fusion. An intermediate sublayer can be applied prior to the          The thickness profiles and low thickness values of the
 plating layer such as soft nickel, soft copper, and oxides. 40 striking plate can be achieved during the forging of the
    In some embodiments, the COR is greater than 0.790.             striking plate. In one embodiment, a 0.3 mm to 1.0 mm
 Preferably, the COR is at least 0.80 as measured according         machine stock plate can be added to the striking plate to
 to the USGA Rules of Golf based on a 160 ft.ls ball speed          increase tolerance control. After forging, the striking plate
 test and the USGA calibration plate. The COR can even be           can be slightly milled and engraved with score-lines. A key
 as high as 0.83.                                                45 advantage of being able to forge such a thin face is the
    In certain embodiments, the striking plate 310 can be           freeing up of discretionary mass (up to about 20 g) that can
 formed of forged maraging steel, maraging stainless steel, or      be placed elsewhere in the club head (such as the rear piece)
 precipitation-hardened (PH) stainless steel. In general,           for manipulation of the moment of inertia or center of
 maraging steels have high strength, toughness, and malle-          gravity location.
 ability. Being low in carbon, they derive their strength from 50      The thickness of the striking plate in the thin face area is
 precipitation of inter-metallic substances other than carbon.      generally consistent in thickness and non-variable. Of
 The principle alloying element is nickel (15% to nearly            course, manufacturing tolerances may cause some variation
 30%). Other alloying elements producing inter-metallic pre-        in the thin face area. The thin face area and the ICT region
 cipitates in these steels include cobalt, molybdenum, and          can be considered the "unsupported" face area of the striking
 titanium. In one embodiment, the maraging steel contains 55 face because the thickness dimensions are relatively thin in
 18% nickel. Maraging stainless steels have less nickel than        those areas. In certain embodiments, the thin face area is
 maraging steels but include significant chromium to inhibit        about 50% or more of the unsupported surface area.
 rust. The chromium augments hardenability despite the                 FIG. 3B illustrates a cross-sectional view taken along
 reduced nickel content, which ensures the steel can trans-         cross section lines 3B-3B shown in FIG. 3A. FIG. 3B further
 form to martensite when appropriately heat-treated. In 60 shows the front portion 330 and the back portion 328 in
 another embodiment, a maraging stainless steel C455 is             addition to the sole portion 308 and top line portion 306. The
 utilized as the striking plate. In other embodiments, the          welded striking plate 310 includes a thickened central region
 striking plate is a precipitation hardened stainless steel such    334, a first thickness 316, and a second thickness 318 as
 as 17-4, 15-5, or 17-7.                                            previously described. The sole portion 308 includes a mini-
    The striking plate can be forged by hot press forging using 65 mum sole thickness 326 of about 2 mm or less, or within the
 any of the described materials in a progressive series of dies.    ranges described herein, such as about 1 mm to about 2 mm
 After forging, the striking plate is subjected to heat-treat-
                                                                    46
                                                                    or less than 3 mm.
Case 3:24-cv-00212-AGS-VET                         Document 38-1                Filed 04/18/24             PageID.502              Page
                                                        18 of 241

                                                       US RE47,653 E
                               11                                                                   12
     A filler material 324 fills an entire interior cavity 332 and about 4 g. In one embodiment, the total weight of the filler
 surrounds a plug 320 located near or at least in partial          material 324 and the plug 320 is 10 g or less, or about 3 g
 contact with the thickened central region 334. It is under-       or less. In certain embodiments, the total weight of the filler
 stood that more than one plug 320 can be provided. In             material 324 and plug 320 is less than 2% of the total weight
 certain embodiments, a plurality of plugs such as two, three, 5 of the club head 300 (excluding any badges, filler material/
 or four plugs can be used. The plug 320 includes a first          plug, and ferrule ring). In other embodiments, the total
 surface (or first side surface) 320a contacting the filler        weight of the filler material 324 and plug 320 is less than
 material 324. The filler material 324 directly contacts the       about 10% of the total weight of the club head 300.
 entire first surface 320a to hold and prevent the plug 320           Table 8, shows exemplary golf club heads and the respec-
 from shifting out of position. In other words, the filler 10 tive weight ratios between the filler material 324 and plug
 material 324 completely surrounds the plug 320 within a           320 and the total club head weight 300, as described above.
 plane parallel to the striking plate 310. A second surface
 320b of the plug 320 directly contacts at least a portion of                                   EXAMPLE 8
 the inverted cone region or thickened region 334 of the
 striking plate 310. Furthermore, a third surface 320c of the 15
 plug 320 directly contacts at least a portion of a back wall                                     TABLE 8
 336. In other words, the filler material 324 does not surround
 the plug 320 within a plane perpendicular to the striking                         Total Weight of Filler Total Weight of Weight Ratio
 plate 310. The back wall 336 includes an inner back wall and        Club head      Mat. And Plug (g)     Club Head (g)       (%)

 an outer back wall having certain dimensional thicknesses as 20       3-iron               3.7                229.9          1.6
 previously described.                                                 4-iron               3.6                236.1          1.5
     An aperture 338 is located in the back wall 336 to allow          5-iron               3.6                242.1          1.5
                                                                       6-iron               3.5                248.5          1.4
 the plug 320 to be inserted into the fully enclosed cavity 332.
 Upon insertion through the aperture 338, the plug is com-
 pressed slightly so that a frictional engagement occurs 25           As shown in Table 8, the total weight of the filler material
 between the second surface 320b of the plug and the rear          324 and plug 320 is between about 1% and about 5% of the
 surface of the striking plate 310. In addition, a frictional      total weight of the club head (excluding the badges, filler
 engagement also occurs between the third surface 320c of          material/plug, and ferrule ring). Thus, a desirable CG loca-
 the plug and a portion of the back wall 336. Optionally, the      tion is still attainable while improving the sound and feel of
 aperture 338 can be located anywhere on the club head body 30 the golf club head. In certain embodiments, the plug 320 can
 surface other than the front striking face. For example, the      weigh about 0.5 g to about 1 g and the filler material can
 aperture 338 can be located on the sole, toe, heel, or top line   weigh about 5 grams or less. In some embodiments, the plug
 surfaces.                                                         320 weighs about 0.7 g or less. In other embodiments, the
     After the plug 320 is frictionally engaged in a position, the plug 320 can be equal to or heavier than the total filler
 filler material 324 can be inserted into the cavity 332. In 35 material weight.
 certain embodiments, the plug 320 is a polymeric material.           In yet other embodiments, the filler material 324 and the
     In one embodiment, the plug 320 material is a urethane or     plug 320 have a combined weight of less than 20% of the
 silicone material having a density of about 0.95 glee to about    total club head weight (excluding badges, filler material/
 1.75 glee, or about 1 glee. The plug 320 can have a hardness      plug, and ferrule ring). In one embodiment, the combined
 of about 10 to about 70 shore A hardness. In certain 40 weight of the filler material 324 and plug 320 is less than
 embodiments, a shore A hardness of about 40 or less is            5%.
 preferred. In certain embodiments, a shore D hardness ofup           FIG. 4 illustrates a rear view of an exemplary embodiment
 to about 40 or less is preferred.                                 of a golf club head 400 including a heel portion 402, a toe
     The filler material 324 can be an expanding foam material     portion 404, a top line portion 406, a sole portion 408, and
 that is expanded by a certain amount of heat as previously 45 a back wall 410. FIG. 4 further shows an aperture 414
 described. The filler material 324 expands and fills a rela-      having an aperture diameter 420 of about 10 mm to about 15
 tively large volume, greater than the volume occupied by the      mm, or less than 30 mm. The aperture 414 is connected with
 plug 320. In some embodiments, the volume of the cavity           a slot 412 that extends away from the aperture 414 in a
 332 is between about 1 cc and about 200 cc, or preferably         horizontal direction toward the heel portion 402. The aper-
 between about 10 cc and about 20 cc. For the purposes of 50 ture 414 has an opening at the slot connection portion and is
 measuring the cavity 332 volume herein, the aperture 338 is       configured to allow a plug 422 to move from a first position
 assumed to be removed from the back wall 336 and an               to a second position.
 imaginary continuous back wall 336 or substantially planar           It is understood that the slot 412 could extend in the
 back wall is utilized to calculate the cavity volume.             opposite horizontal direction toward the toe region 404 or in
     In some embodiments, the filler material 324 occupies 55 any direction needed. The slot includes a rounded end
 about 50% to about 99% of the total club head cavity volume       portion 418 having a diameter between about 2 mm to 5 mm,
 while the plug 320 occupies between about 0% to about 20%         or preferably about 3 mm.
 of the total cavity volume. In specific embodiments, the plug        A sliding distance 416 defines the distance between a first
 320 occupies between about 0.1 cc and 1 cc with the               center point 424 of the aperture 414 to a second center point
 remainder of the cavity volume being filled by the filler 60 426 of the rounded end portion 418. In certain embodiments,
 material 324. It is understood that any of the embodiments        the sliding distance 416 is between about 1 mm and 70 mm,
 described herein can be provided without a plug and filler        or between about 5 mm and about 15 mm. In one embodi-
 material only.                                                    ment, the sliding distance 416 is about 11 mm, the aperture
     In order to achieve a desirable CG location, the filler       diameter is about 12 mm, and the rounded end portion 418
 material 324 and plug 320 must be lightweight. In certain 65 of the slot 412 is about 3 mm.
 embodiments, the total mass of the filler material 324 and           A plug 422 is initially inserted into the aperture 414 and
 plug 320 is less than about 5 g or between about 2 g and
                                                                     47
                                                                   then moved by an amount equal to the sliding distance 416.
Case 3:24-cv-00212-AGS-VET                        Document 38-1               Filed 04/18/24             PageID.503             Page
                                                       19 of 241

                                                      US RE47,653 E
                              13                                                                 14
 A portion of the plug 422 is keyed to the slot 412 and thereby     surface 616, an inverted cone or thickened central region
 restricts the movement of the plug 422 in a sole 408 to top        602, an aperture 608, a slot 618, a back wall surface 620, a
 line 406 direction.                                                recess 612, and a badge 610.
     FIG. SA illustrates an exemplary embodiment of a plug             FIG. 6A further illustrates a heel side vent hole 604 and
 500. The plug 500 has an overall cylindrical shape having a 5 a toe side vent hole 606 located in the back wall surface 620.
 first surface (or side wall) 502, a second surface (or bottom      The vent holes 604,606 enables air to escape the interior
 surface) 508, and a third surface (or top surface) 514. In one     cavity during the expansion process of the filler material 622
 embodiment, the side wall 502 is the continuous, curved,           or expanding foam.
 and circular wall of the cylindrical shaped plug 500. The top         FIG. 6B illustrates a fully assembled club head after the
                                                                 10 plug 500 and filler material 622 have been inserted into the
 surface 514 includes an engagement surface 504 and a
                                                                    interior cavity of the club head 600. The badge 610 is
 keying portion 506 that is elevated above the engagement
                                                                    inserted into the recess 612 and covers the entire back wall
 surface 504. The keying portion 506 includes a raised side
                                                                    surface 620 while obscuring the aperture 608, slot 618, plug
 engagement wall 512 forming the keying portion 506 and a           500, and vent holes 604,606.
 recessed center portion 510. In some embodiments, the 15              FIG. 7 illustrates a series of operations 700 that are
 center portion 510 can be used for engagement with an              accomplished in inserting a plug into an interior cavity of a
 applicator during the insertion and movement of the plug           club head. Initially, a weld is placed on the face of an
 500. The tip of an applicator can be inserted into the recessed    iron-type golf club to attach a striking plate. A weld bead
 center portion 510.                                                likely occurs on the front face portion and within a rear
     The keying portion 506 includes a center point 518 which 20 cavity portion of the golf club head. If the striking plate is
 is located along a central axis 516 of the cylindrical shaped      cast instead of welded, a weld operation on the face of the
 plug 500. When the plug 500 is inserted into the aperture          club head is not required.
 414, the overall diameter 520 of the side wall 502 of the             In a first operation 702, an aperture is formed in the back
 cylindrical plug 500 is less than the diameter 420 of the          wall of a hollow iron. The aperture can be created through
 aperture 414 to allow easy insertion of the plug 500. Once 25 machining or casting or other manufacturing processes. A
 the bottom surface 508 of the plug 500 engages a rear              plug, as described above, is then inserted into the aperture in
 surface of the striking plate, the plug 500 can be moved a         a second operation 704 so that the plug is primarily located
 sliding distance 416 from a first position to a second             within an interior cavity of the club head.
 position. The first position is characterized by the central          In a third operation 706, the plug is moved from a first
 axis 516 of the plug 500 being aligned with the first center 30 position to a second position so that the plug is relatively
                                                                    secured in place in the second position. Once the plug is
 point 424 of the aperture 414 across a plane parallel to the
                                                                    moved to the second position, a filler material is introduced,
 back wall 410. The second position is characterized by the
                                                                    in a fourth operation 708, into the cavity interior to provide
 central axis 516 of the plug 500 being aligned with the
                                                                    sound and vibration dampening and to hold the plug
 second center point 426 of the rounded portion 418 of the 35 securely in the second position by surrounding the plug. In
 slot 412. It is understood that the plug 500 is not limited to     a fifth operation 709, the filler material is heated to cause
 cylindrical shapes and can be cubical, rectangular, elliptical,    expansion within the interior cavity and completely filling
 spherical, egg shaped, pyramidal, tapered, trapezoidal, or         the remaining cavity volume surrounding the plug. In a sixth
 any known three dimensional shape.                                 operation 710, a badge is attached to a rear portion of the
     In certain embodiments, the keying portion 506 and raised 40 club head to cover or occlude the aperture. It is understood
 side engagement wall 512 can be eliminated, thus relying           that the heating operation 709 can be excluded in embodi-
 purely on the compression of the plug to hold it in place.         ments utilizing non-expanding foam such as injection foam,
     When the plug 500 is moved to the second position or the       urethane, two part foam, or chemical initiated expansion
 engaged position, the plug 500 is slightly compressed              foam.
 between the rear wall of the striking plate and the back wall 45      At least one advantage of the embodiments described is
 410. In the second position, the engagement surface 504 of         that sound is dampened upon impact with a golf ball while
 the plug 500 engages the interior wall of the back wall 410.       maintaining a hollow iron construction.
 The raised side engagement wall 512 of the keying portion             At least another advantage of the embodiments described
 506 engages side walls of the slot 412 to prevent significant      is that unwanted vibrations can be absorbed by the filler
 movement of the plug in at least a sole-to-top line direction. 50 material and plug so that a golfer perceives a softer feel upon
 It is understood that frictional engagement between the plug       impact with the ball.
 500 and the back wall 410 will also reduce the amount of              FIG. 8 illustrates the frequency response function of two
 movement of the plug in a heel-to-toe direction, even before       example golf club heads. Examples A and B are similar in
 a filler material is introduced.                                   construction to the embodiment shown in
     FIG. 5B illustrates another exemplary plug 522 of a 55            FIGS. 6A and 6B. Each example was impacted at center
 general wedge shape. The wedge shaped plug 522 is con-             face with a hanimer to observe an individual frequency
 figured to be compressed between the rear wall of the              response.
 striking plate and the back wall. A side view of the plug 522         Example B did not include any filler material or plug
 shows a generally trapezoidal shape. The aperture 414 can          within the interior cavity (hereinafter, "unfilled example").
 be any shape including a rectangular or trapezoidal shape to 60 Example A includes the plug and surrounding filler material,
 accommodate the shape of the plug 522. The wedge shaped            as described above (hereinafter, "filled example"). As shown
 plug 522 is inserted into the aperture 414 and moved to a          in FIG. 8, the first mode frequency response peak 802 of the
 wedge position as previously described.                            unfilled example B is noticeably higher in comparison to the
     FIG. 6A illustrates an exploded assembly of an exemplary       first mode frequency response peaks 804 of the filled
 club head 600 embodiment utilizing a plug 500 and filler 65 example A. Therefore, the accelerance of the unfilled
 material 622, as previously described. The club head 600           example B is higher than the magnitude or amplitude of
 includes a striking face 614, an interior rear striking face
                                                                    48
                                                                    accelerance of the filled example A. Thus, the filler material
Case 3:24-cv-00212-AGS-VET                          Document 38-1                 Filed 04/18/24              PageID.504              Page
                                                         20 of 241

                                                        US RE47,653 E
                               15                                                                     16
 or expanding foam significantly dampens the accelerance                       cavity, the aperture being configured to allow the cavity
 amplitude of the filled example A to less than about 30 GIN                   to be filled with the filler material;
 (which is acceleration/input force). The accelerance ampli-                [wherein the unsupported face area includes a thickened
 tude describes the structure's acceleration relative to the                   central region;
 input force as a function of frequency. In certain embodi- 5              wherein the at least one plug is positioned to be in contact
 ments, an accelerance reduction of between about 5% to                        with at least a portion of the thickened central region;
 about 50% between the first mode frequency responses                          and
 802,804 of the unfilled example and filled example is                     wherein the at least one plug occupies less than 20% of
 achieved.                                                                     the total club head cavity volume in the enclosed
    At least another advantage of the embodiments described 10
                                                                               cavity]
 is that a lightweight filler material arrangement is created
                                                                            wherein the enclosed cavity has a volume between about
 allowing the center of gravity of the hollow iron construc-
                                                                               JO cc and 20 cc;
 tion to remain low while improving the sound and feel of the
 club during use.                                                           wherein   the striking/ace thickness is less than 3 mm; and
    The embodiments described herein conform with the 15                    wherein a coefficient of restitution of the club head is
 USGA (United States Golf Association) Rules of Golf and                       greater than about 0.8.
 Appendix II, Sc related to the Determination of Groove                     2. The iron-type golf club head of claim 1, wherein the
 Conformance (issued in August 2008). For example, clubs                [enclosed cavity has a volume between about 1 cc and 200
 having a loft of 25 degrees or higher meets the groove width,          cc] striking face thickness is less than 2 mm.
 groove depth, groove separation, groove consistency, area 20               3. The iron-type golf club head of claim 1, wherein the
 limitations, and edge radius requirements set forth by the             [enclosed cavity has a volume between about 10 cc and 20
 USGA. In the embodiments described herein, less than 50%               cc] striking face thickness is between about 1.5 mm and
 of measured values of Area/(Width+Separation) are greater              about 2.5 mm.
 than 0.0030 in2 /in and no single measured value of Area/                  [4. The iron-type golf club head of claim 1, wherein the
 (Width+Separation) value for any single groove is greater 25 at least one plug has a volume between about 0.1 cc and
 than 0.0032 in2 /in.                                                   about 1 cc.]
    With respect to a groove edge radius, the groove edges are              [5. The iron-type golf club head of claim 1, wherein the
 in the form of a radius conforming with the USGA Rules of              at least one plug occupies between about 1% to about 10%
 Golf as described by the two circles method. In addition, the          of the total club head cavity volume in the enclosed cavity.]
 effective radius is not greater than 0.020". In the embodi- 30             [6. The iron-type golf club head of claim 1, wherein the
 ments described, less than 50% of the upper groove edges or            at least one plug occupies between about 0.5% to about 5%
 lower groove edges fails the two circles method subject to a           of the total club head cavity volume in the enclosed cavity.]
 10 degree angular allowance as described in the USGA                       7. The iron-type golf club head of claim 1, wherein the
 rules. No single groove edge protrudes more than 0.0003"               filler material [is an expanding foam material having] has a
 outside the outer circle.                                          35 density between about 0.03 glee and about 0.19 glee.
    In view of the many possible embodiments to which the                   8. The iron-type golf club head of claim 1, wherein the
 principles of the disclosed invention may be applied, it               filler material [occupies about 50% to about 99% of the total
 should be recognized that the illustrated embodiments are              club head cavity volume in the enclosed cavity] weighs less
 only preferred examples of the invention and should not be             than about 20% of the total club head weight.
 taken as limiting the scope of the invention. It will be evident 40        9. The iron-type golf club head of claim 1, wherein the
 that various modifications may be made thereto without                 [back wall includes at least a first aperture, the first aperture
 departing from the broader spirit and scope of the invention          being configured to allow the at least one plug to be inserted
 as set forth. The specification and drawings are, accordingly,         into the first aperture and is configured to allow the at least
 to be regarded in an illustrative sense rather than a restrictive      one plug to move from a first position to a second position]
 sense.                                                             45 filler material weighs less than about 5% of the total club
    We claim:                                                           head weight.
    1. A hollow iron-type golf club head comprising:                        [10. The iron-type golf club head of claim 9, wherein the
    a heel portion, a sole portion, a toe portion, a top-line          back wall includes at least one slot, the at least one slot being
       portion, a front portion, a rear portion, and a striking         connected to the first aperture and is configured to secure the
       face having an unsupported [face] surface area within 50 at least one plug.]
       a range of [between] about 300 mm 2 to about 4,000                   11. A hollow iron-type golf club head comprising:
       mm2;                                                                 a heel portion, a sole portion, a toe portion, a top-line
    a back wall in the rear portion enclosing a substantial                    portion, a front portion, a rear portion, and a striking
       portion of the rear portion to create a substantially                   face having an unsupported face area of between about
       enclosed cavity, the enclosed cavity being defined by at 55             300 mm2 to about 4,000 mm2 ;
       least a rear surface of the striking face, an inner back             a back wall in the rear portion enclosing a substantial
       wall surface, and the sole portion[,];                                  portion of the rear portion to create a substantially
    [at least one plug located within the enclosed cavity, the                 enclosed cavity, the enclosed cavity being defined by at
       at least one plug being compressed between the rear                     least a rear surface of the striking face, an inner back
       surface of the striking face and the back wall in the rear 60           wall surface, and the sole portion;
       portion;]                                                            at least one plug located within the enclosed cavity, the at
    a filler material located within the enclosed cavity, the                  least one plug being compressed between the rear
       filler material [ substantially surrounding the at least one            surface of the striking face and the back wall in the rear
       plug and being configured to hold the at least one plug                 portion;
       in place] occupying about 50% to about 99% of the 65                wherein the at least one plug occupies less than 20% of
       total club head cavity volume in the enclosed cavity, the               the total club head cavity volume in the enclosed cavity,
       golf club head defining an aperture into the enclosed
                                                                       49      and
Case 3:24-cv-00212-AGS-VET                         Document 38-1                 Filed 04/18/24              PageID.505             Page
                                                        21 of 241

                                                        US RE47,653 E
                               17                                                                    18
     wherein the back wall includes at least a first aperture, the        24. The iron-type golf club head of claim 23, wherein the
        first aperture being configured to allow the at least one      coefficient ofrestitution ofthe club is greater than about 0. 8.
       plug to be inserted into the first aperture and being              25. The iron-type golf club head of claim 11, wherein the
        configured to allow the at least one plug to move from        filler material weighs less than about 5% of the total club
        a first position to a second position.                      5 head weight.
     12. The iron-type golf club head of claim 11, wherein the            26. The iron-type golf club head of claim 1, wherein the
 enclosed cavity has a volume between about 1 cc and 200 cc.           top-line portion has a total topline thickness of about 9 mm
     13. The iron-type golf club head of claim 11, wherein the         or less.
 enclosed cavity has a volume between about 10 cc and 20 cc.              2 7. The iron-type golf club head of claim 26, wherein (a)
                                                                   10
     14. The iron-type golf club head of claim 11, wherein the         the striking face has an ideal striking point that defines an
 at least one plug has a volume between about 0.1 cc and               origin of a coordinate system in which a CG x-axis is
 about 1 cc.                                                           tangential to the striking face at the ideal striking point and
     15. The iron-type golf club head of claim 11, wherein the         is parallel to a ground plane when the club head is in a
 at least one plug occupies between about 1% to about 10% 15 normal address position, a CG y-axis extends perpendicular
 of the total club head cavity volume in the enclosed cavity.          to the x-axis and also parallel to the ground plane, and a CG
     16. The iron-type golf club head of claim 11, wherein the        z-axis extends perpendicular to the ground plane, (b) a
 at least one plug occupies between about 0.5% to about 5%            positive CG x-axis extends toward the heel portion from the
 of the total club head cavity volume in the enclosed cavity.          origin, a positive CG y-axis extends rearwardly from the
     17. The iron-type golf club head of claim 11, further 20 origin, and a positive CG z-axis extends upwardly from the
 comprising a filler material located within the enclosed             ground plane, (c) majority of the back wall has a back wall
 cavity, the filler material substantially surrounding the at          thickness ofabout 1 mm to about 3 mm at an elevation above
 least one plug and being configured to hold the at least one          the ideal striking point, and (d) the club head has a center
 plug in place.                                                        of gravity located between about -5 mm and about 5 mm
     18. The iron-type golf club head of claim 17, wherein the 25 along the CG x-axis, less than about 20 mm along the CG
 filler material is an expanding foam material having a               y-axis, and less than about 25 mm along the CG z-axis.
 density between about 0.03 glee and about 0.19 glee.                     28. The iron-type golf club head of claim 27, wherein an
     19. The iron-type golf club head of claim 17, wherein the         upper portion of the enclosed cavity is located at an eleva-
 filler material occupies about 50% to about 99% of the total          tion above the ideal striking point and contains filler mate-
 club head cavity volume in the enclosed cavity.                   30 rial, and the filler material in the upper portion has an upper
     20. The iron-type golf club head of claim 17, wherein the        portion filler thickness measured perpendicular to an exte-
 filler material completely fills a remaining cavity volume            rior surface of the striking face from an interior surface of
 around the at least one plug.                                         the striking face to an interior surface ofthe enclosed cavity
     21. The iron-type golf club head of claim 11, wherein the         in the direction of the CG y-axis.
 coefficient of restitution of the club head is greater than 35           29. The iron-type golf club head of claim 28, wherein the
 about 0.8.                                                            upper portion is completely filled with the filler material.
     22. The iron-type golf club head of claim 11, wherein the            30. The iron-type golf club head of claim 28, wherein a
 back wall includes at least one slot, the at least one slot being     lower portion of the enclosed cavity is located at an eleva-
 connected to the first aperture and is configured to secure the       tion below the ideal striking point and contains filler mate-
 at least one plug.                                                40 rial, and the filler material in the lower portion has a lower
     23. A hollow iron-type golf club head comprising:                portion filler thickness measured perpendicular to the exte-
     a heel portion, a sole portion, a toe portion, a top-line         rior surface of the striking face from the interior surface of
       portion, a front portion, a rear portion, and a striking        the striking/ace to the interior surface ofthe enclosed cavity
       face having an unsupported surface area within a                in the direction of the CG y-axis.
        range of about 300 mm 2 to about 4,000 mm 2 ;              45     31. The iron-type golf club head of claim 30, wherein the
     a back wall in the rear portion enclosing a substantial           lower portion filler thickness is different at two elevations
       portion of the rear portion to create a substantially           along the CG z-axis.
        enclosed cavity, the enclosed cavity being defined by at          32. The iron-type golf club head of claim 31, wherein the
        least a rear surface of the striking face, an inner back       upper portion filler thickness is different at two elevations
        wall surface, and the sole portion;                        50 along the CG z-axis.
     two or more apertures located in the back wall of the rear           33. The iron-type golf club head of claim 32, wherein at
       portion and extending through the back wall ofthe rear          the ideal striking point the filler material has a striking point
       portion and into the enclosed cavity, wherein at least         filler thickness measured perpendicular to the exterior sur-
        one of the two or more apertures is configured to allow       face of the striking face from the interior surface of the
        the enclosed cavity to be filled with a filler material; 55 striking face to the interior surface of the enclosed cavity in
     wherein the enclosed cavity houses a filler material, and         the direction of the CG y-axis, and the striking point filler
        the filler material occupies about 50% to about 99% of         thickness is greater than at least one upper portion filler
        the total club head cavity volume in the enclosed              thickness.
        cavity;                                                           34. The iron-type golf club head of claim 30, wherein the
     wherein the filler material weighs less than about 20% of 60 filler material has a density of between about 0. 03 glee and
        the total club head weight;                                    about 0.20 glee.
     wherein the enclosed cavity has a volume between about               35. The iron-type golf club head of claim 30, wherein the
        10 cc and 20 cc;                                              fill material includes a polymer.
     wherein the striking face thickness is less than 3 mm;               36. The iron-type golf club head of claim 35, wherein the
     wherein the striking face includes a welded striking plate; 65 polymer is elastic.
        and                                                               3 7. The iron-type golf club head of claim 3 6, wherein the
     wherein the welded striking plate is a forged steel.
                                                                      50
                                                                      polymer is an elastomer.
Case 3:24-cv-00212-AGS-VET                       Document 38-1               Filed 04/18/24            PageID.506            Page
                                                      22 of 241

                                                     US RE47,653 E
                              19                                                               20
     38. The iron-type golf club head of claim 3 7, wherein the        44. The iron-type golf club head of claim 42, wherein the
  elastomer is a thermoplastic.                                     carbon steel alloy is 8620 carbon steel alloy.
     39. The iron-type golf club head of claim 35, wherein the         45. The iron-type golf club head of claim 30, wherein the
 filler material has a modulus of elasticity of less than about     coefficient of restitution of the club head is at least 0.8.
  25 GPa.                                                       5      46. The iron-type golf club head of claim 30, wherein the
     40. The iron-type golf club head of claim 39, wherein the      rear portion has a recess configured to receive an insert.
 filler material has a durometer of about 5 to about 95 on a           47. The iron-type golf club head of claim 46, wherein the
 Shore D scale.                                                     insert is mechanically attached to the recess.
     41. The iron-type golf club head of claim 35, wherein the         48. The iron-type golf club head of claim 47, wherein the
                                                                10 insert is a weight.
 striking face thickness is less than about 2 mm.
     42. The iron-type golf club head of claim 30, wherein at          49. The iron-type golf club head of claim 30, wherein the
  least a portion of the heel portion and the toe portion are      filler material weighs less than about 5% of the total club
 formed of carbon steel alloy, and at least a portion of the        head weight.
 striking face is formed of maraging steel alloy.                      50. The iron-type golf club head of claim 30, wherein the
     43. The iron-type golf club head of claim 42, wherein at 15 center of gravity is located at least about 12 mm along the
                                                                    CG z-axis.
  least a portion of the carbon steel alloy is plasma welded to
  at least a portion of the maraging steel alloy.                                            * * * * *




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Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.507   Page
                                  23 of 241




                       Exhibit 2




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Case 3:24-cv-00212-AGS-VET                        Document 38-1                 Filed 04/18/24            PageID.508              Page
                                                       24 of 241
                                                                                          USO10953293B2

 ( 12) United States Patent                                             ( 10 ) Patent No.: US 10,953,293 B2
      Demkowski et al .                                                 (45 ) Date of Patent : * Mar . 23 , 2021
 ( 54 ) GOLF CLUB HEAD                                             ( 58 ) Field of Classification Search
                                                                          CPC             A63B 53/047 ; A63B 53/0412 , A63B
 ( 71 ) Applicant: Taylor Made Golf Company, Inc ,                                    53/0433 ; A63B 53/0462 , A63B 53/0466 ;
                   Carlsbad , CA (US )                                                             A63B 53/0475 ; A63B 60/54
                                                                          See application file for complete search history.
 ( 72 ) Inventors: Paul M. Demkowski , San Diego , CA
                   (US ) ; Bret H. Wahl, Escondido, CA             (56)                 References Cited
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 ( 73 ) Assignee : TAYLOR MADE GOLF COMPANY,                                4,180,269 A    12/1979 Thompson
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                   patent is extended or adjusted under 35
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                                                                   2020 .
 (22 ) Filed :       Feb. 25 , 2020
                                                                                             (Continued )
 ( 65 )             Prior Publication Data                         Primary Examiner — Stephen L Blau
        US 2020/0188740 A1     Jun . 18 , 2020                     ( 74 ) Attorney, Agent, or Firm      Kunzler Bean &
                                                                   Adamson
                 Related U.S. Application Data                     ( 57 )                   ABSTRACT
 ( 63 ) Continuation of application No. 15 / 706,632 , filed on    Described herein is a golf club head that comprises a body
        Sep. 15 , 2017 , now Pat . No. 10,625,126 , which is a     and a strike plate . The body comprises a heel portion, a sole
                          ( Continued )                            portion, a toe portion, and a top portion . The strike plate
                                                                   comprises an outer peripheral edge and at least a portion of
 (51 ) Int. Cl.                                                    a strike face. Furthermore , the strike plate is welded to the
       A63B 53/04                  ( 2015.01 )                     body via a peripheral weld between the outer peripheral
       A63B 60/54                  (2015.01 )                      edge of the strike plate and the body. The outer peripheral
 (52) U.S. CI .                                                    edge of the strike plate comprises at least one welded
       CPC            A63B 53/047 (2013.01 ) ; A63B 53/0412        portion , welded to the body via the peripheral weld, and at
                        ( 2020.08 ) ; A63B 53/0433 ( 2020.08 ) ;   least one non -welded portion , not welded to the body.
                          (Continued )                                              20 Claims , 22 Drawing Sheets

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Case 3:24-cv-00212-AGS-VET                          Document 38-1             Filed 04/18/24                PageID.509                 Page
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                                             26 of 241

 U.S. Patent                Mar. 23 , 2021          Sheet 1 of 22         US 10,953,293 B2



   101                                        108                   112




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Case 3:24-cv-00212-AGS-VET             Document 38-1    Filed 04/18/24         PageID.511         Page
                                            27 of 241

 U.S. Patent               Mar. 23 , 2021      Sheet 2 of 22             US 10,953,293 B2


                                         108


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Case 3:24-cv-00212-AGS-VET         Document 38-1               Filed 04/18/24     PageID.512                 Page
                                        28 of 241

 U.S. Patent         Mar. 23 , 2021              Sheet 3 of 22              US 10,953,293 B2




                               108                -1 2
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Case 3:24-cv-00212-AGS-VET           Document 38-1         Filed 04/18/24              PageID.513    Page
                                          29 of 241

 U.S. Patent         Mar. 23 , 2021               Sheet 4 of 22                 US 10,953,293 ?2




                                                108


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                                                      IN                                       4
                                                                                               .
                                                                                               FIG


                                                                               118
                        102




                      120
                              106                                         126
                                    114
                                                                  120
                                          104

                                                      58
Case 3:24-cv-00212-AGS-VET     Document 38-1                Filed 04/18/24    PageID.514      Page
                                    30 of 241

 U.S. Patent          Mar. 23 , 2021           Sheet 5 of 22                US 10,953,293 B2




                                                                     -100
                      -132
                                   176
                                        102
                                                      129
   114
                                                            -116
                                                                      140

   138



        1134    136                                   1



                        -118 130        142                                                -108
                                        -133                                 112
                                                 1

                                                               1




  106
          104

                                                               150
                                       122                   134




                                       FIG . 5



                                                 59
Case 3:24-cv-00212-AGS-VET             Document 38-1       Filed 04/18/24     PageID.515            Page
                                            31 of 241

 U.S. Patent                Mar. 23 , 2021         Sheet 6 of 22        US 10,953,293 B2



                                       108
                                                                        112


  100
                                                                                            118
                           140

                    -1 6
                                                                                            129
              102                                                                                 .
                                                                                                  FIG
                                                                                                  6

        176                                                                                 144

                                                                                      130

                                                                                        131

                                                                                142
                                                                        136
                                 132         114             138

                                                    60
Case 3:24-cv-00212-AGS-VET    Document 38-1          Filed 04/18/24       PageID.516   Page
                                   32 of 241

 U.S. Patent         Mar. 23 , 2021        Sheet 7 of 22            US 10,953,293 B2



              108




                                                           -102



                                                                  -144

                    LNW

                                                                    118

                              1304                                    LSS




                                      FIG . 7
                                                61
Case 3:24-cv-00212-AGS-VET    Document 38-1           Filed 04/18/24      PageID.517      Page
                                   33 of 241

 U.S. Patent         Mar. 23 , 2021          Sheet 8 of 22          US 10,953,293 B2




                                 134
                                                     134
               133                                              134 150

        134
                                                                                    8
                                                                                    .
                                                                                    FIG
                                                                              122
        0

              106
                                       104




                                              62
Case 3:24-cv-00212-AGS-VET    Document 38-1      Filed 04/18/24   PageID.518        Page
                                   34 of 241

 U.S. Patent         Mar. 23 , 2021     Sheet 9 of 22           US 10,953,293 B2




                     -154
                                                        152


                                                                      150
     134                                                                      8
                                                                              9
                                                                              FIG
                                                                              .



             133
                     104
                                                                            122
                                      134                             134
                                                          134




                                            63
Case 3:24-cv-00212-AGS-VET        Document 38-1           Filed 04/18/24        PageID.519   Page
                                       35 of 241

 U.S. Patent         Mar. 23 , 2021             Sheet 10 of 22               US 10,953,293 B2




                                                    102                100


                                             134                          116
                                           133
                                          136                       120
                                                                 -138
                                          132                          -176
                                                                      154
                                    104
                                                                 152
                                  106
                              140
                                                                   -129
                            142
                     130
                      122
             962_94 94
                      150                  -144             131
                     126                   -98
                                            FIG . 10
                            D1




                                                  64
Case 3:24-cv-00212-AGS-VET        Document 38-1                 Filed 04/18/24   PageID.520   Page
                                       36 of 241

 U.S. Patent         Mar. 23 , 2021             Sheet 11 of 22                 US 10,953,293 B2




                                                                       100

                                          116                   -102
                                                                    -133
                                         134                           120
                                        136
                                        132                           176
                                       138
                                                                154
                                 104
                                                                -152
                             106

                           107

                            140
                                              142
                                                                        -129
                     130
                     122                                  118          131
                           150                  144
                                              -126
                                       -128
                                          FIG . 11




                                                     65
Case 3:24-cv-00212-AGS-VET                   Document 38-1         Filed 04/18/24         PageID.521           Page
                                                  37 of 241

 U.S. Patent                    Mar. 23 , 2021             Sheet 12 of 22         US 10,953,293 B2


                                                   -208
                                                                      -LFS -212
   200                                                                              250

                                                                                             262
                                             244

                                                                                                   222
                                 206
                                                                                                         12
                                                                                                         .
                                                                                                         FIG

                          216

                    220
             202
                                                                                           -218


                   204
                                                                                    260
                                       233           244
                                                            LFS 214. 224
                                                            66
Case 3:24-cv-00212-AGS-VET                       Document 38-1       Filed 04/18/24   PageID.522        Page
                                                      38 of 241

 U.S. Patent                         Mar. 23 , 2021          Sheet 13 of 22         US 10.953,293 B2




                                                                              250
        208

  200                                           212                                      207


                                    244                                                        222
                                          206                                                         FIG
                                                                                                      13
                                                                                                      .

                              204
                        233

                234
                                                                                                250
          202
                                                                                               218

                      232

                                                244    214
                                                              67
Case 3:24-cv-00212-AGS-VET                       Document 38-1               Filed 04/18/24            PageID.523   Page
                                                      39 of 241

 U.S. Patent                    Mar. 23 , 2021               Sheet 14 of 22                         US 10,953,293 B2



                                                      308
                                                                                 -312
                                                                                        350
     300
                                                     344                                              362
                                               320                                                      320
                                               364
                                    -LFS 350
                                                                                                              14
                                                                                                              .
                                                                                                              FIG
                               344                                                                     322
                        306

                  316
           302

                                                                                                318
                 320                                                                          320
                              304
                                         344 333                       350       360
                                                            314
                                                                  68
Case 3:24-cv-00212-AGS-VET                 Document 38-1    Filed 04/18/24                    PageID.524    Page
                                                40 of 241

 U.S. Patent                      Mar. 23 , 2021    Sheet 15 of 22                      US 10,953,293 B2



                                             -408
      400
                                                                           -412

                                                                                              420


                                                                                          LFS
                                                                                                      15
                                                                                                      .
                                                                                                      FIG
                          -406                                                                  444

                   -416
            402                                                                               450

                                                                                                433
                                                                                        466
             420                                                                  418
                                                                           420
                                 404                                 420
                                              414

                                                     69
Case 3:24-cv-00212-AGS-VET                                    Document 38-1                         Filed 04/18/24                        PageID.525                   Page
                                                                   41 of 241

 U.S. Patent                              Mar. 23 , 2021                       Sheet 16 of 22                                       US 10,953,293 B2


                                          512B 5 0B                                                                                            -512D
  50 B                                                                              50 D
                                                                                                                             5 0D                             534D
          520B 534B                                                                                            -5 0D -534D
  506B                                                                                                506D
                                                                   17
                                                                   .
                                                                   FIG                                                              LNW            7 FIG.19
      -516B                  LW
                                                                                                    -516D                                           5 0D
                                  LNW                 /
                                                                                           502D .LW
  502B                                                      518B                                                                                              518D
                                              534B                                              534D                                      5 3 4 D
               504B           5 0B 514B                                                                       504D              514D 5 0D
                                   53 B
  -50 A                                                                               50 C
                                                                                                                      5 0C
                                                                                                             516C                                        -518C
              -506A                                                16
                                                                   .
                                                                   FIG   APRIOTR                       5340                               LNW 14                     18
                                                                                                                                                                     .
                                                                                                                                                                     FIG

                                                                                               506C                                 LW
                                                                                                                                                          534C
   502A                                                                                      502C                                                      5 0C
                      504A                           520A                                                       504C 53 0
                                                                                   70
Case 3:24-cv-00212-AGS-VET       Document 38-1       Filed 04/18/24          PageID.526   Page
                                      42 of 241

 U.S. Patent            Mar. 23 , 2021    Sheet 17 of 22           US 10,953,293 B2




       600


                  602
                                                                                   20
                                                                                   .
                                                                                   FIG
         608



                                               620                     628


                                                                 626
                           604           606




                                               71
Case 3:24-cv-00212-AGS-VET             Document 38-1     Filed 04/18/24         PageID.527   Page
                                            43 of 241

 U.S. Patent                 Mar. 23 , 2021    Sheet 18 of 22                 US 10,953,293 B2




         600

                           602



                                                                                    21
                                                                                    .
                                                                                    FIG
                                                642
                     633

               634                                                        644
                                        654

                                                                        626
                                                                  650
                                 604          606



                                                    72
Case 3:24-cv-00212-AGS-VET            Document 38-1        Filed 04/18/24    PageID.528   Page
                                           44 of 241

 U.S. Patent         Mar. 23 , 2021             Sheet 19 of 22             US 10,953,293 B2




                                                    802              800
                                                                    816

                                             820
                                            834
                                      833
                                                                    876
                                      836
                                                                 -854

                                804
                                                                    -877

                           842
                          806
                                                                     896

                    830
                   822
                      850                                    -829
                                                    -831
                                              818
                     826                    844

                                            FIG . 22




                                                    73
Case 3:24-cv-00212-AGS-VET     Document 38-1        Filed 04/18/24   PageID.529    Page
                                    45 of 241

 U.S. Patent          Mar. 23 , 2021     Sheet 20 of 22          US 10,953,293 B2



                                                                        700


                                          START




    702
             Peripherally discontinuously weld an outer peripheral edge of
             a strike plate to a body with the strike plate located between
             a heel portion , a sole portion , a toe portion , and a top portion
             of the body




    704
             Fill a gap between the outer peripheral edge of the strike
             plate and the body with a filler material




                                            END




                                         FIG . 23


                                           74
Case 3:24-cv-00212-AGS-VET    Document 38-1        Filed 04/18/24   PageID.530   Page
                                   46 of 241

 U.S. Patent         Mar. 23 , 2021   Sheet 21 of 22            US 10,953,293 B2




                      900

                             942


     907
                                                                          904



           905       909
                                                   903
                                996
                                             901




                             FIG . 24



                                        75
Case 3:24-cv-00212-AGS-VET    Document 38-1    Filed 04/18/24    PageID.531   Page
                                   47 of 241

 U.S. Patent         Mar. 23 , 2021   Sheet 22 of 22           US 10,953,293 B2




                      -900

                                901




                                                         903




                                                       904




                                 FIG . 25


                                        76
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.532             Page
                                                       48 of 241

                                                     US 10,953,293 B2
                               1                                                                   2
                    GOLF CLUB HEAD                                   to provide a golf club and golf club head that overcome at
                                                                     least some of the above - discussed shortcomings of prior art
             CROSS - REFERENCE TO RELATED                            techniques.
                        APPLICATIONS                                    Described herein is a golf club head that comprises a
                                                                   5 body. The body comprises a heel portion , a sole portion, a
    This application references U.S. Pat . No. 9,044,653 , filed toe portion , and a top portion , a filler material, and an
 Mar. 14 , 2013 , which claims the benefit of U.S. Provisional internal cavity is configured to receive the filler material. A
 Patent Application No. 61 / 657,675 , filed Jun . 8 , 2012 , both first COR drop off value when the internal cavity is unfilled .
 of which are hereby incorporated by reference herein in their A second COR drop off value when the internal cavity is
 entireties. This application also references U.S. Pat. No. 10 filled      . a COR change value being a difference between the
 8,353,785 , filed Apr. 19 , 2010 , which claims the benefit of second COR drop off value and the first COR drop off value .
 U.S. Provisional Patent Application No. 61 /214,487 , filed The          COR change value is between 0 and -0.1 . The preced
                                                                     ing subject matter of this paragraph characterizes example 1
 Apr. 23 , 2009 , both of which are hereby incorporated by of
 reference herein in their entireties. This application also 15 the present disclosure.
 references U.S. Pat . No. 6,811,496 , filed Sep. 3 , 2002 , which      The COR change value is between 0 and -0.05 . The
 is hereby incorporated by reference in its entirety. This           preceding subject matter of this paragraph characterizes
 application also references U.S. patent application Ser. No.        example 2 of the present disclosure, wherein example 2 also
 13 / 111,715 , filed May 19 , 2011 , which is incorporated        includes the subject matter according to example 1 , above .
 herein by reference in its entirety. This application further       The first COR drop off value is between 0 and -0.05 . The
 references U.S. patent application Ser. No. 14 /981,330 ,filed 20 preceding subject matter of this paragraph characterizes
 Dec. 28 , 2015 , which claims the benefit of U.S. Provisional example 3 of the present disclosure, wherein example 3 also
 Patent Application No. 62 /099,012 , filed Dec. 31 , 2014 , and includes the subject matter according to example 2 , above .
 U.S. Provisional Patent Application No. 62 /098,707 , filed TheThepreceding
                                                                          second COR drop off value is between 0 and -0.05 .
 Dec. 31 , 2014 , all of which are incorporated herein by 25 example 4 of thesubject      matter of this paragraph characterizes
                                                                                    present disclosure, wherein example 4 also
 reference in their entirety.
                                                                   includes the subject matter according to example 3 , above .
                              FIELD                                  The filler material is a two part polyurethane foam . The
                                                                     preceding subject matter of this paragraph characterizes
    This disclosure relates generally to golf clubs , and more example 5 of the present disclosure , wherein example 5 also
 particularly to a golf club head with a strike plate that is 30 includes  the subject matter according to any one of examples
                                                                  1-4 , above.
 separately attached to a body of the golf club head .
                                                                     The filler material is a thermoset. The preceding subject
                       BACKGROUND                                 matter of this paragraph characterizes example 6 of the
                                                                  present disclosure , wherein example 6 also includes the
    The performance of golf equipment is continuously 35 subject matter according to any one of examples 1-4, above .
 advancing due to the development of innovative clubs and            The filler material is a methylene diphenyl diisocyanate .
 club designs. While all clubs in a golfer's bag are important, The preceding subject matter of this paragraph characterizes
 both scratch and novice golfers rely on the performance and example 7 of the present disclosure , wherein example 7 also
 feel of their irons, metal - woods , hybrids, and drivers for includes the subject matter according to any one of examples
 many commonly encountered playing situations .                40 1-4 , above .
   Advancements in golf club head manufacturing tech-                  The filler material is flexible after it is cured . The pre
 niques have facilitated the manufacturing of golf club heads ceding subject matter of this paragraph characterizes
 with complex geometries. For example , separately forming example 8 of the present disclosure, wherein example 8 also
 and attaching together a strike plate and a body, a golf club includes the subject matter according to any one of examples
 head with a complex geometry, that might not otherwise be 45 1-4 , above .
 achievable using single - piece , fully - integrated manufactur-       The outer peripheral edge of the strike plate further
 ing techniques, can be produced. Additionally, a golf club comprises a plurality of welded portions and a plurality of
 head with a separately formed and attached strike plate can non -welded portions. The plurality of welded portions are
 facilitate the use of strike plates and bodies made from spaced apart from each other by the plurality of non -welded
 different materials and /or manufacturing techniques. Gen- 50 portions. The preceding subject matter of this paragraph
 erally, the strike plate is welded to the body using a periph- characterizes example 9 of the present disclosure, wherein
 eral weld that extends continuously around the entire outer example 9 also includes the subject matter according to
 peripheral edge of the strike plate .                               example 1 , above.
    Although welding the strike plate to the body promotes              Further described herein is a golf club set , comprising at
 the ability to make golf club heads with complex geometries, 55 comprises
                                                                     least one golf  club head having a body. The body further
                                                                                 a heel portion, a sole portion , a toe portion, and
 different materials, and different manufacturing techniques,
 the weld may also introduce weaknesses to the golf club a top portion , a filler material, and an internal cavity, the
 head .                                                              internal cavity is configured to receive the filler material. A
                                                                     first COR drop off value when the internal cavity is unfilled .
                            SUMMARY                               60 A second COR drop off value when the internal cavity is
                                                                     filled . A COR change value being a difference between the
    The subject matter of the present application has been second COR drop off value and the first COR drop off value .
 developed in response to the present state of the art, and in The COR change value is between 0 and -0.1 . The preced
 particular, in response to the shortcomings of golf clubs and ing subject matter of this paragraph characterizes example
 associated golf club heads , that have not yet been fully 65 10 of the present disclosure.
 solved by currently available techniques. Accordingly, the             At least two golf club heads within the golf club set have
 subject matter of the present application has been developed 77     a COR change value between 0 and -0.1 . The preceding
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.533             Page
                                                       49 of 241

                                                     US 10,953,293 B2
                               3                                                                   4
 subject matter of this paragraph characterizes example 11 of recognized in certain embodiments and / or implementations
 the present disclosure, wherein example 11 also includes the that may not be present in all embodiments or implemen
 subject matter according to example 10 , above.                    tations . Further, in some instances, well-known structures,
    An average COR change value of at least two golf club materials, or operations are not shown or described in detail
 heads is between 0 and -0.1 . The preceding subject matter 5 to avoid obscuring aspects of the subject matter of the
 of this paragraph characterizes example 12 of the present present disclosure . The features and advantages of the
 disclosure , wherein example 12 also includes the subject subject matter of the present disclosure will become more
 matter according to example 10 , above .                           fully apparent from the following description and appended
    The first COR drop off value is between 0 and -0.05 for claims , or may be learned by the practice of the subject
 the at least two golf club heads . The preceding subject matter 10 matter as set forth hereinafter.
 of this paragraph characterizes example 13 of the present
 disclosure , wherein example 13 also includes the subject                 BRIEF DESCRIPTION OF THE DRAWINGS
 matter according to example 12 , above .
    The second COR drop off value is between 0 and -0.05               In order that the advantages of the subject matter may be
 for the at least two golf club heads . The preceding subject 15 more readily understood, a more particular description of the
 matter of this paragraph characterizes example 14 of the subject matter briefly described above will be rendered by
 present disclosure , wherein example 14 also includes the reference to specific embodiments that are illustrated in the
 subject matter according to example 13 , above .                   appended drawings. Understanding that these drawings
    Additionally described herein is a golf club head com- depict only typical embodiments of the subject matter and
 prising a body. The body further comprises a heel portion, a 20 are not therefore to be considered to be limiting of its scope ,
 sole portion , a toe portion , and a top portion, at least one the subject matter will be described and explained with
 filler material, at least one port, and an internal cavity, the additional specificity and detail through the use of the
 internal cavity is configured to receive the at least one filler drawings, in which :
 material through the at least one port. A first COR drop off          FIG . 1 is a perspective view from a top of an iron - type
 value when the internal cavity is unfilled . A second COR 25 golf club head , according to one or more examples of the
 drop off value when the internal cavity is filled . A COR          present disclosure;
 change value being a difference between the second COR                FIG . 2 is a front view of the golf club head of FIG . 1 ,
 drop off value and the first COR drop off value . The COR          according to one or more examples of the present disclosure ;
 change value is greater than -0.1 . The preceding subject             FIG . 3 is perspective view from a bottom of the golf club
 matter of this paragraph characterizes example 15 of the 30 head of FIG . 1 , shown with a filler material removed from
 present disclosure.                                         a sole slot,according to one or more examples of the present
   A plug at least partially covers the port. The preceding        disclosure;
 subject matter of this paragraph characterizes example 16 of         FIG . 4 is a perspective view from a bottom of the golf club
 the present disclosure, wherein example 16 also includes the head of FIG . 1 , shown with the filler material in the sole slot ,
 subject matter according to example 15 , above .               35 according to one or more examples of the present disclosure ;
    The COR change value is greater than -0.05 . The pre-             FIG . 5 is an exploded perspective view from a top of the
 ceding subject matter of this paragraph characterizes golf club head of FIG . 1 , according to one or more examples
 example 17 of the present disclosure, wherein example 17 of the present disclosure ;
 also includes the subject matter according to example 15 ,           FIG . 6 is a perspective view from a front of the golf club
 above .                                                        40 head of FIG . 1 , shown with a strike plate removed , accord
    The first COR drop off value is between 0 and -0.05 . The ing to one or more examples of the present disclosure ;
 preceding subject matter of this paragraph characterizes             FIG . 7 is a bottom view of the golf club head of FIG . 1 ,
 example 18 of the present disclosure , wherein example 18 shown with the strike plate removed , according to one or
 also includes the subject matter according to example 17 , more examples of the present disclosure ;
 above .                                                        45    FIG . 8 is a perspective view from a front of the strike plate
    The second COR drop off value is between 0 and -0.05 . of the golf club head of FIG . 1 , according to one or more
 The preceding subject matter of this paragraph characterizes examples of the present disclosure ;
 example 19 of the present disclosure, wherein example 19             FIG . 9 is a perspective view from a back of the strike plate
 also includes the subject matter according to example 18 , of the golf club head of FIG . 1 , according to one or more
 above .                                                        50 examples of the present disclosure;
    The at least one filler material is a thermoset. The pre-         FIG . 10 is cross - sectional perspective view from a heel
 ceding subject matter of this paragraph characterizes side of the golf club head of FIG . 1 , taken along the line
 example 20 of the present disclosure, wherein example 20 10-10 of FIG . 2 , according to one or more examples of the
 also includes the subject matter according to example 19 , present disclosure;
 above .                                                        55    FIG . 11 is cross - sectional side elevation view from a heel
    The described features, structures , advantages, and /or side of the golf club head of FIG . 1 , taken along the line
 characteristics of the subject matter of the present disclosure 10-10 of FIG . 2 , according to one or more examples of the
 may be combined in any suitable manner in one or more present disclosure;
 embodiments and / or implementations. In the following               FIG . 12 is a front view of an iron -type golf club head ,
 description , numerous specific details are provided to impart 60 according to one or more examples of the present disclosure;
 a thorough understanding of embodiments of the subject              FIG . 13 is an exploded perspective view from a front of
 matter of the present disclosure . One skilled in the relevant the golf club head of FIG . 12 , according to one or more
 art will recognize that the subject matter of the present examples of the present disclosure;
 disclosure may be practiced without one or more of the           FIG . 14 is a front view of an iron - type golf club head ,
 specific features, details, components, materials, and / or 65 according to one or more examples of the present disclosure;
 methods of a particular embodiment or implementation. In         FIG . 15 is a front view of an iron - type golf club head ,
 other instances , additional features and advantages may be 78 according to one or more examples of the present disclosure ;
Case 3:24-cv-00212-AGS-VET                         Document 38-1                 Filed 04/18/24              PageID.534              Page
                                                        50 of 241

                                                      US 10,953,293 B2
                                5                                                                     6
   FIG . 16 is a front view of an iron - type golf club head ,  non - welded and welded portions of the outer peripheral
 according to the prior art;                                    edge. As another example, the chrome plating often used to
   FIG . 17 is a front view of an iron - type golf club head ,  plate a golf club head may crack or phantom lines may
 according to one or more examples of the present disclosure; develop at the non -welded portions. Notwithstanding the
   FIG . 18 is a front view of an iron - type golf club head, 5 potential disadvantages of introducing non -welded portions
 according to one or more examples of the present disclosure; of a strike plate , the ability to reduce stress risers along the
   FIG . 19 is a front view of an iron -type golf club head , non - welded portions and promote the flex of the strike face
 according to one or more examples of the present disclosure; through the use of non- welded portions, as discovered by the
   FIG . 20 is a side elevation view of a metal-wood -type golf inventors of the present disclosure, encourages the use of
 club head , according to one or more examples of the present 10 non - welded portions in the outer peripheral edge of a strike
 disclosure ;                                                          plate .
     FIG . 21 is a cross - sectional side elevation view of the golf       Referring to FIGS . 1 and 2 , one embodiment of a golf club
 club head of FIG . 19 , taken along a midplane of the golf club head 100 includes a body 102 and a strike plate 104 welded
 head , according to one or more examples of the present to the body 102. The body 102 has a toe portion 114 , a heel
 disclosure;                                                         15 portion 112 , a top portion 116 ( e.g. , top - line portion for
     FIG . 22 is a cross - sectional side elevation view of an iron -type golf club heads and crown portion for driver -type,
 iron -type golf club head having a hollow cavity, according hybrid -type, and metal -wood -type golf club heads ) , and a
 to one or more examples of the present disclosure;                     sole portion 118 ( e.g. , bottom portion ). The body 102
     FIG . 23 is a schematic flow chart of a method of making additionally includes a hosel 108 extending from the heel
 a golf club head , according to one or more examples of the 20 portion 112. The hosel 108 is configured to receive and
 present disclosure;                                                    engage with a shaft and grip 110 of a golf club 101. The shaft
     FIG . 24 is an exploded perspective view from a golf club extends from the hosel 108 and the grip is secured to the
 head , according to one or more examples of the present shaft at a location on the shaft opposite that of the golf club
 disclosure ; and                                                       head 100. The strike plate 104 includes at least a portion of
     FIG . 25 is a cross -sectional view through the center face 25 a strike face 106 designed to impact a golf ball during a
 of the golf club head shown in FIG . 24 , according to one or normal golf swing . In some implementations, the strike plate
 more examples of the present disclosure .                              104 includes an entirety of the strike face 106. Generally, the
                                                                        strike plate 104 is defined as any piece of the golf club head
                    DETAILED DESCRIPTION                                100 that is welded to a body 102 of the golf club head 100
                                                                     30 and includes at least a portion of the strike face .
     The following describes embodiments of golf club heads                Generally, for many iron - type golf club heads , such as the
 in the context of an iron -type golf club and a metal-wood- golf club head 100 , the strike face 106 has a planar surface
 type golf club , but the principles , methods and designs that is angled relative to a ground plane when the golf club
 describedmaybe applicable in whole or in part to utility golf head 100 is in an address position to define a loft of the golf
 clubs ( also known as hybrid golf clubs ) , driver - type golf 35 club head 100. In other words, the strike face 106 of an
 clubs, putter - type golf clubs , and the like .                       iron -type golf club head generally does not include a curved
     The various embodiments of a golf club head described surface . Accordingly, the strike face 106 of the strike plate
 herein utilizes a peripheral weld to secure a strike plate to a 104 of the iron - type golf club head 100 is defined as the
 body of the golf club head . Welding the strike plate to the portion of the strike face 106 with an outwardly facing
 body of the golf club head, as opposed to integrally forming 40 planar surface . In other words, although a strike plate 104
 the strike plate and the body as a one -piece construction may include a curved surface, such as an outer surface of a
 ( such as by casting) allows the strike plate to be made from sole wrap portion 122 of the strike plate 104 , the strike face
 a different material or made by a different manufacturing 106 does not include such a curved surface . In contrast, the
 process than the body. Additionally, welding the strike plate strike face of a metal - wood , driver, or hybrid golf club head
 to the body promotes the ability to make golf club head with 45 does have a curved surface that curves around a substantially
 unique and complex shapes and geometries. However , weld- upright axis . Because the sole wrap portion 122 wraps
 ing together the strike plate and the body also introduces around a substantially horizontal axis , the strike face of the
 certain consequences , such as the development of heat strike plate of the metal -wood , driver, and hybrid golf club
 effected zones and stress risers in the weld , which ultimately head is defined as the portion of the strike face 106 with an
 weakens the golf club head , and stiffness of the strike face 50 outwardly facing surface curved about an upright axis, as
 of the golf club head . The peripheral weld of the golf club opposed to a horizontal axis .
 head disclosed herein introduces portions of the outer                    The strike plate 104 further includes grooves 107 formed
 peripheral edge of the strike plate that are not welded to the in the strike face 106 to promote desirable flight character
 body, thereby increasing the strength of the golf club head istics ( e.g. , backspin) of the golf ball upon being impacted
 compared to golf club heads with continuous or 360 -degree 55 by the strike face 106 .
 welds welding the strike plate to the body. Additionally,        Referring to FIG . 5 , the strike plate 104 is formed
 introducing non -welded portions of the outer peripheral separately from the body 102 and is separately attached to
 edge of the strike plate also promotes flex in the strike face the body 102. The body 102 and the strike plate 104 can be
 of the golf club head, which promotes forgiveness and feel. formed using the same type of process or different types of
    The discovered advantages of introducing non -welded 60 processes. In the illustrated embodiment, the body 102 is
 portions in the outer peripheral edge of the strike plate formed to have a one - piece monolithic construction using a
 outweigh the potential negative consequences of such non- first manufacturing process and the strike plate 104 is
 welded portions that would otherwise discourage the use of formed to have a separate one -piece monolithic construction
 non -welded portions in the outer peripheral edge. For using a second manufacturing process. However, in other
 example , non -welded portions in an outer peripheral edge of 65 embodiments, one or both of the body 102 and the strike
 a strike plate may increase the potential for rust at the plate 104 has a multiple -piece construction with each piece
 non -welded portions and stress risers at the intersection of 79 being made from the same or a different material. Addition
Case 3:24-cv-00212-AGS-VET                        Document 38-1               Filed 04/18/24             PageID.535             Page
                                                       51 of 241

                                                    US 10,953,293 B2
                               7                                                                  8
 ally, the body 102 can be formed of the same material as or significant chromium to inhibit rust . The chromium aug
 a different material than the strike plate 104. The body 102 ments hardenability despite the reduced nickel content,
 is made from a first material and the strike plate 104 is made which ensures the steel can transform to martensite when
 from a second material. Separately forming and attaching appropriately heat - treated . In another embodiment, a marag
 together the body 102 and the strike plate 104 and making 5 ing stainless steel C455 is utilized as the strike plate 104. In
 the body 102 and the strike plate 104 from the same or other embodiments , the strike plate 104 is a precipitation
 different materials , which allows flexibility in the types of hardened stainless steel such as 17-4 , 15-5 , or 17-7 .
 manufacturing processes and materials used, promotes the           The body 102 of the golf club head 100 is made from 17-4
 ability to make a golf club head 100 that achieves a wide steel in one implementation . However another material, such
 range of performance, aesthetic , and economic results .      10 as carbon steel (e.g. , 1020 , 1030 , 8620 , or 1040 carbon
    In some implementations, the first manufacturing process steel ) , chrome -molybdenum steel (e.g. , 4140 Cr - Mo steel ) ,
 is the same type of process as the second manufacturing Ni - Cr - Mo steel ( e.g. , 8620 Ni - Cr - Mo steel ) , auste
 process . For example , both the first and second manufac- nitic stainless steel ( e.g. , 304 , N50 , or N60 stainless steel
 turing processes are casting processes in one implementa- (e.g. , 410 stainless steel ) can be used .
 tion . As another example , both the first and second manu- 15 In addition to those noted above , some examples of metals
 facturing processes are forging processes in one and metal alloys that can be used to form the components of
 implementation. According to yet another example, both the the parts described include, without limitation : titanium
 first and second manufacturing processes are machining alloys (e.g. , 3-2.5 , 6-4 , SP700 , 15-3-3-3 , 10-2-3 , or other
 processes in one implementation .                                alpha /near alpha, alpha -beta, and beta / near beta titanium
    However, in some other implementations, the first manu- 20 alloys ) , aluminum / aluminum alloys (e.g. , 3000 series alloys ,
 facturing process is a different type of process than the 5000 series alloys , 6000 series alloys , such as 6061 - T6 , and
 second manufacturing process . The first manufacturing pro- 7000 series alloys, such as 7075 ) , magnesium alloys , copper
 cess is one of a casting process , a machining process, and a alloys , and nickel alloys .
 forging process and the second manufacturing process is            In still other embodiments, the body 102 and / or the strike
 another of a casting process , a machining process, and a 25 plate 104 of the golf club head 100 are made from fiber
 forging process in some examples. In one particular reinforced polymeric composite materials, and are not
 example , the first manufacturing process is a casting process required to be homogeneous. Examples of composite mate
 and the second manufacturing process is a forging process . rials and golf club components comprising composite mate
 The first manufacturing process and / or the second manufac- rials are described in U.S. patent application Ser. No.
 turing process can be a process as described in U.S. Pat . No. 30 13 / 111,715 , filed May 19 , 2011 , which is incorporated
 9,044,653 , which is incorporated herein in its entirety, such   herein by reference in its entirety .
 as hot press forging using a progressive series of dies and         The strike plate 104 is welded to the body 102 via a
 heat -treatment.                                                 peripheral weld 120. The peripheral weld 120 is peripherally
    Whether the first and second manufacturing processes are discontinuous because it extends about less than all of the
 the same or different, the first material of the body 102 can 35 outer periphery of the strike plate 104 such that at least one
 be the same as or different than the second material of the portion of the outer periphery of the strike plate 104 is not
 strike plate 104. A first material is different than a second welded to the body 102. In other words , the peripheral weld
 material when the first material has a different composition 120 extends about only a portion of an outer peripheral edge
 than the second material. Accordingly , materials from the 133 of the strike plate 104. Accordingly , less than 360
 same family, such as steel , but with different compositional 40 degrees of the outer peripheral edge 133 of the strike plate
 characteristics, such as different carbon constituencies, are 104 is welded to the body 102. The peripheral weld 120 can
 considered different materials. In one example, the first and be considered a discontinuous weld because it has an ending
 second manufacturing processes are different, but the first point that is different than its starting point.
 and second materials are the same . In contrast, according to      The portion or portions of the outer periphery of the strike
 another example, the first and second manufacturing pro- 45 plate 104 not being welded to the body 102 promotes an
 cesses are the same and the first and second materials are increase in the flexibility of the strike plate 104 relative to
 different. According to yet another example, the first and the body 102. As shown in FIG . 3 , the entirety of the portion
 second manufacturing processes are different and the first of the outer periphery of the strike plate 104 that defines the
 and second materials are different. In some implementations, strike face 106 is welded to the body 102 via the peripheral
 the first and second materials are different, but come from 50 weld 120. Moreover, the portion of the outer periphery of the
 the same family of similar materials, such as steel . For strike plate 104 not welded to the body 102 is located along
 example , the first material can be 8620 carbon steel and the the sole wrap portion 122. More specifically, an outer
 second material can be 1025 carbon steel . The first material peripheral edge 133 , or perimeter, of the strike plate 104
 being within the same family as the second material pro- defined along the sole wrap portion 122 of the strike plate
 motes the quality of the weld between the body 102 and the 55 104 is not welded to the body 102. In the embodiment shown
 strike plate 104.                                             in FIG . 3 , not only is the outer peripheral edge 133 of the
    The strike plate 104 can be made from maraging steel , strike plate 104 not welded to the body 102 , but the outer
 maraging stainless steel, or precipitation -hardened ( PH ) peripheral edge 133 of the strike plate 104 is spaced apart
 stainless steel . In general, maraging steels have high from the body 102 such that a gap is defined between the
 strength , toughness, and malleability. Being low in- carbon, 60 outer peripheral edge 133 of the strike plate 104 and the
 they derive their strength from precipitation of inter metallic  body 102. The gap defines a sole slot 126 of the golf club
 substances other than carbon . The principle alloying element head 100. Generally, the sole slot 126 is a groove or channel
 is nickel ( 15 % to nearly 30% ) . Other alloying elements formed in a sole of the golf club head 100. The sole slot 126
 producing inter metallic
                 -        precipitates in these steels include is elongate in a lengthwise direction substantially parallel to
 cobalt , molybdenum , and titanium . In one embodiment, the 65 the strike face 106 and has a length LSS ( see , e.g. , FIG . 3 ) .
 maraging steel contains 18 % nickel. Maraging stainless As shown in FIGS . 1-11 , in some implementations, the sole
 steels have less nickel than maraging steels but include           80
                                                                    slot 126 is a through -slot, or a slot that is open on sole
Case 3:24-cv-00212-AGS-VET                          Document 38-1              Filed 04/18/24            PageID.536             Page
                                                         52 of 241

                                                       US 10,953,293 B2
                                 9                                                                10
 portion side of the sole slot 126 and open on an internal            Generally, the plate interface 132 promotes attachment of
 cavity side or interior side of the sole slot 126. However, in       the strike plate 104 to the body 102 by supporting the strike
 other implementations, the sole slot 126 is not a through-           plate 104 against the body 102 and promoting the formation
 slot , but rather is closed on an internal cavity side or interior   of a peripheral weld 120 between the strike plate 104 and the
 side of the sole slot 126 .                                        5 body 102. Accordingly , the plate interface 132 is formed
    The sole slot 126 can be any of various flexible boundary along at least the portion or portions of the periphery of the
 structures (FBS ) as described in U.S. Pat. No. 9,044,653 , plate opening 176 that will be welded to the strike plate 104 .
 filed Mar. 14 , 2013 , which is incorporated by reference In the illustrated embodiment of FIGS . 5 and 6 , because the
 herein in its entirety . Additionally, or alternatively, the golf strike plate 104 is not welded to the body 102 at the sole
 club head 100 can include one or more other FBS at any of 10 portion 118 of the body 102 , the plate interface 132 does not
 various other locations on the golf club head 100 .                  extend along the periphery of the plate opening 176 at the
    In some implementations, the sole slot 126 is filled with sole portion 118 of the body 102. However, in the illustrated
 a filler material 128 ( see , e.g. , FIGS . 4 and 11 ) . The filler embodiment of FIGS . 5 and 6 , because the peripheral weld
 material 128 is made from a non -metal, such as a thermo- 120 is formed between the strike plate 104 and the body 102
 plastic material, thermoset material, and the like, in some 15 continuously along the heel portion 112 , the toe portion 114 ,
 implementations. In other implementations, the sole slot 126 and the top portion 116 , the plate interface 132 is formed in
 is not filled with a filler material 128 , but rather maintains an and extends continuously along the portions of the periphery
 open , vacant, space within the sole slot 126 .                      of the plate opening 176 at the heel portion 112 , the toe
    According to one embodiments, the filler material 128 is portion 114 , and the top portion 116. According to other
 initially a viscous material that is injected or otherwise 20 embodiments, such as shown in FIGS . 12 , 13 , and 16-18 ,
 inserted into the sole slot 126. Examples of materials that because the peripheral weld does not extend along one or
 may be suitable for use as a filler to be placed into a slot , more portions of one or more of the heel portion 112 , the toe
 channel, or other flexible boundary structure include, with- portion 114 , and the top portion 116 , although not shown, an
 out limitation : viscoelastic elastomers; vinyl copolymers plate interface may not be present along corresponding
 with or without inorganic fillers; polyvinyl acetate with or 25 portions of the periphery of the plate opening.
 without mineral fillers such as barium sulfate; acrylics;           Referring again to FIGS . 5 and 6 , the plate interface 132
 polyesters ; polyurethanes; polyethers; polyamides ; polyb- includes a rim 136 and a ledge 138. The rim 136 defines a
 utadienes; polystyrenes; polyisoprenes ; polyethylenes; poly- surface that faces an interior of the body 102 and the ledge
 olefins; styrene / isoprene block copolymers; hydrogenated 138 defines a surface that faces the front of the body 102 .
 styrenic thermoplastic elastomers ; metallized polyesters ; 30 The rim 136 is transverse relative to the ledge 138 .
 metallized acrylics ; epoxies ; epoxy and graphite compos-          The rim 136 is sized to be substantially flush against or
 ites ; natural and synthetic rubbers, piezoelectric ceramics ; just off of the outer peripheral edge 133 of the strike plate
 thermoset and thermoplastic rubbers ; foamed polymers ; 104. The fit between the rim 136 of the plate interface 132
 ionomers; low - density fiber glass ; bitumen ; silicone ; and and the outer peripheral edge 133 of the strike plate 104
 mixtures thereof. The metallized polyesters and acrylics can 35 facilitates the butt welding together of the rim 136 of the
 comprise aluminum as the metal. Commercially available body 102 and the outer peripheral edge 133 of the strike
 materials include resilient polymeric materials such as plate 104 with the peripheral weld 120. In other words , the
 ScotchweldTM (e.g. , DP - 105TM ) and ScotchdampTM from peripheral weld 120 is located between and welds together
 3M , SorbothaneTM from Sorbothane, Inc. , DYADTM and the rim 136 of the plate interface 132 and the outer periph
 GPTM from Soundcoat Company Inc. , DynamatTM from 40 eral edge 133 of the strike plate 104. As shown in FIG . 6 , the
 Dynamat Control of North America , Inc. , NoViFlexTM rim 136 may extend beyond the plate interface 132 , such as
 SylomerTM from Pole Star Maritime Group, LLC , IsoplastTM along the sole portion 118 of the body 102 , to facilitate
 from The Dow Chemical Company, LegetolexTM from Piqua welding of the welded portions 134 of the outer peripheral
 Technologies, Inc., and HybrarTM from the Kuraray Co. , Ltd. edge 133 located on the sole wrap portion 122 .
 In some embodiments, a solid filler material may be press - fit 45 The peripheral weld 120 is formed using any of various
 or adhesively bonded into a slot , channel, or other flexible welding techniques, such as those disclosed in U.S. Pat . No.
 boundary structure . In other embodiments, a filler material 8,353,785 , which is incorporated herein by reference in its
 may poured, injected, or otherwise inserted into a slot or entirety. Moreover, the characteristics and type (e.g. , bead ,
 channel and allowed to cure in place , forming a sufficiently groove, fillet, surface, tack, plug , slot , friction , and resis
 hardened or resilient outer surface . In still other embodi- 50 tance welds ) of the peripheral weld 120 can be that same or
 ments, a filler material may be placed into a slot or channel analogous to those described in U.S. Pat . No. 8,353,785 . For
 and sealed in place with a resilient cap or other structure example, in one implementation, the peripheral weld 120 is
 formed of a metal , metal alloy, metallic , composite, hard formed using one or more of a tungsten inert gas ( TIG) or
 plastic , resilient elastomeric , or other suitable material.     metal inert gas ( MIG ) welding technique . In other imple
    Referring to FIGS . 5 and 6 , the body 102 is configured to 55 mentations, the peripheral weld 120 is formed using one or
 receive the portions of an outer peripheral edge 133 of the more of a laser welding technique or a plasma welding
 strike plate 104 , to be welded to the body 102 via the technique.
 peripheral weld 120 , in seated engagement. More specifi-           The ledge 138 abuts a back surface of the strike plate 104
 cally, the body 102 includes a plate opening 176 defined to support the strike plate 104 in place on the body 102 .
 between the toe portion 114 , the heel portion 112 , the top 60 Additionally, the ledge 138 , being abutted against the strike
 portion 116 , and the sole portion 118 of the body 102 . plate 104 , facilitates the transfer of ball- striking loads from
 Generally, the plate opening 176 receives the strike plate 104 the strike plate 104 to the body 102 .
 and helps to secure the strike plate 104 to the body 102. The     Referring still to FIGS . 5 and 6 , as well as FIGS . 10 and
 plate opening 176 extends from a front side of the body 102 11 , the body 102 further includes a back portion 129 coupled
 to a back side of the body 102. The body 102 additionally 65 to and extending rearwardly from the sole portion 118. The
 includes a plate interface 132 formed in the body 102 along          back portion 129 is also coupled to and extends rearwardly
 at least a portion of the periphery of the plate opening 176 .       81
                                                                      from lower parts of the heel portion 112 and the toe portion
Case 3:24-cv-00212-AGS-VET                              Document 38-1                    Filed 04/18/24                PageID.537                 Page
                                                             53 of 241

                                                           US 10,953,293 B2
                                  11                                                                           12
 114. The back portion 129 includes a sole bar 131 , which is                 134 of the outer peripheral edge 133 of the strike plate 104
 located in a low, rearward portion of the golf club head 100 .               and the rim 136 of the body 102 .
 The sole bar 131 has a relatively large thickness in relation                  As shown in FIG . 10 , a distance D1 between a first point
 to the strike plate and other portions of the golf club head 5 94 (which is the point at which the strike face 106 projects
 100 , thereby accounting for a significant portion of the mass onto the ground plane 96 when the golf club head 100 is in
 of the golf club head 100 , and thereby shifting a center of a proper address position on the ground plane 96 ) and a
 gravity (CG) of the golf club head 100 relatively lower and second point 98 (which is the point at which a plane
 rearward . The back portion 129 also includes a lower shelf bisecting the sole slot 126 projects onto the ground plane 96
 130 and an upper shelf 140 protruding forwardly of the sole
 bar 131. The lower shelf 130 and the upper shelf 140 are 10 when               the golf club head 100 is in a proper address position
 spaced rearwardly of the strike plate 104 such that a gap is 8 mm ground
                                                                       on  the                   plane 96 ) is between about 3.5 mm and about
 defined between each of the lower shelf 130 and the upper and about 7 mmimplementations
                                                                                   in    some
                                                                                                      in other
                                                                                                                       , and between about 4 mm
                                                                                                                implementations    .
 shelf 140 of the back portion 129. Defined between the                   To    effectively          plug   the  sole slot 126 , and  prevent debris
 lower shelf 130 and the upper shelf 140 is a portion of an
 internal  cavity 142 , which may extend upwards to the top 15 (142     e.g.,, thewaterfiller, grass , dirt
                                                                                                          , etc.) from  entering  the internal cavity
                                                                                                material 128 is located within the slot 126. The
 portion 116. In the illustrated implementation, the internal
 cavity 142 is open to the sole slot 126. The plate opening 176 filler material 128 may also help to achieve other desired
 is partially open to the back of the body 102 .                       performance objectives, including desired changes to the
    Referring to FIG . 7 , a slot edge 144 is formed in the sole sound and feel of the club head by damping vibrations that
 portion 118 of the body 102. The slot edge 144 is elongate 20 occur when the club head strikes a golf ball . Because the
 and extends lengthwise along the sole portion 118 in a filler material 128 does not fuse with either the body 102 or
 direction substantially parallel to the strike face 106. The the strike plate 104 , the filler material 128 is not considered
 slot edge 144 is open to or faces the plate opening 176 . a weld . Moreover, because the filler material 128 is consid
 However, as shown, in some implementations , opposing erably weaker than either the body 102 or the strike plate
 ends of the slot edge 144 may have a substantially button- 25 104 , the filler material 128 is not considered a weld . Addi
 hook shape such that opposing end portions of the slot edge tionally, because the filler material 128 is a non -metal , it is
 144 face away from the plate opening 176 .                            not considered a weld .
    Referring to FIGS . 8 and 9 , the strike plate 104 has a back         According to some embodiments, a total peripheral length
 surface 154 that opposes the strike face 106. The strike plate of the outer peripheral edge 133 of the strike plate 104 of the
 104  includes
 surface        an inverted, thecone
          154. Generally             152 protruding
                                  inverted cone 152 isfrom the back
                                                       aligned with 30 mm
                                                                       golf club head 100 is between about 185 mm and about 220
                                                                               or between about 209 mm and about 214 mm . In some
 an ideal striking location on the strike face 106. The inverted embodiments                    , a height of the heel portion 112 of the body
 cone 152 promotes a larger sweet spot for the golf club head                 102 is between about 25 mm and about 27 mm . In certain
 100 , which facilitates a reduction in loss of distance on
 mishits. The outer peripheral edge 133 extends along and 35 embodiments , a height of the toe portion 114 of the body 102
                                                             is between about 50 mm and about 52 mm . In yet some
 defines that outermost periphery of the strike plate 104. The embodiments, a length of the sole portion 118 of the body
 outer peripheral edge 133 of the strike plate 104 includes at 102 is between about 58 mm and about 64 mm . According
 least one welded portion 134 and at least one non -welded
 portion 150. In the illustrated embodiment of FIGS . 8 and 9 , to some embodiments, a total length of the body 102 is
 the welded portion 134 ofthe strike plate 104 is a continuous 40 between about 53 mm and about 65 mm . In certain embodi
 edge that extends from one end of the non -welded portion ments, a width of the sole portion 118 at the heel of the golf
 150 , along the sole wrap portion 122 , around the strike face               club head 100 is between about 10 mm and about 12 mm .
 106 , and along an opposite end of the non -welded portion.      Referring now to FIGS . 12-15 , respective embodiments of
 The non- welded portion 150 extends along an entire length a golf club head 200 , a golf club head 300 , and a golf club
 of the sole wrap portion 122 and faces a direction that is 45 head 400 are shown . The respective golf club heads of FIGS .
 substantially perpendicular to that of the welded portion 12-15 are analogous to the golf club head 100 of FIGS . 1-11 ,
 134 .                                                          with like numbers referring to like features . More specifi
    Referring now to FIGS . 10 and 11 , the sole wrap portion cally , features of the golf club heads of FIGS . 12-15 that are
 122 effectively wraps around the sole portion 118 of the analogous to features of the golf club head 100 have the
 body 102 to define a portion of the bottom of the golf club 50 same number, but in a different series (e.g. , 200 - series,
 head 100. Accordingly, the sole wrap portion 122 is angled 300 - series, 400 -series, etc. ) format rather than the 100 - series
 relative to the strike face 106. In the illustrated embodiment format of the golf club head 100. Therefore, unless other
 of FIGS . 10 and 11 , the sole wrap portion 122 also effec- wise noted, the description, including the structure , function,
 tively wraps around the lower shelf 130 of the back portion and advantages, of the features of the golf club head 100
 129. The non- welded portion 150 of the outer peripheral 55 presented above are applicable to the analogous features of
 edge 133 of the strike plate 104 faces the slot edge 144 of the respective golf club heads of FIGS . 12-15 .
 the body 102. In one implementation, the non -welded por-        Like the golf club head 100 of FIGS . 1-11 , each of the golf
 tion 150 is parallel to the slot edge 144 and has a length club head 200 , the golf club head 300 , and the golf club head
 LNW ( see , e.g. , FIG . 3 ) . The gap defined between the 400 includes at least one slot partially defined by a non
 non - welded portion 150 of the outer peripheral edge 133 and 60 welded portion of a strike plate . However, unlike the golf
 the slot edge 144 defines the sole slot 126 of the golf club club head 100 of FIGS . 1-11 , the at least one slot of each of
 head 100. Accordingly, the non -welded portion 150 defines the golf club head 200 , the golf club head 300 , and the golf
 a forward slot wall of the sole slot 126 and the slot edge 144 club head 400 is not a sole slot (e.g. , a slot formed in the sole
 defines a rearward slot wall of the sole slot 126. There is no portion of the golf club head) . Rather, the slots of the golf
 weld between the non- welded portion 150 of the outer 65 club head 200 , the golf club head 300 , and the golf club head
 peripheral edge 133 of the strike plate 104 and the slot edge 400 are face slots ( e.g. , slots formed in or directly adjacent
 144. In contrast, there is a weld between the welded portion 82  the strike face of the golf club head) . Additionally, although
Case 3:24-cv-00212-AGS-VET                       Document 38-1                 Filed 04/18/24           PageID.538             Page
                                                      54 of 241

                                                    US 10,953,293 B2
                              13                                                                   14
 not shown , each of the face slots of the various illustrated  portion 418 of the golf club head 400 promotes flexibility
 embodiments described below can be filled with a filler        and deflection of the golf club head 400 for low off - center
 material.                                                      hits , which improves the performance of the golf club head
    For example, referring to FIGS . 12 and 13 , the golf club 400 .
 head 200 includes a face slot 260 at a toe portion 214 of the 5 Generally, each of the face slots of the various embodi
 body 202 and a face slot 262 at a heel portion 212 of the ments of a golf club head is a groove or channel formed in
 body 202. Each of the face slots 260 , 262 is defined between a portion of the face (e.g. , adjacent a strike face ) of the golf
 a respective non- welded portion 250 of the outer peripheral club head . The face slots are elongate in a lengthwise
 edge 233 of the strike plate 204 and a respective slot edge direction and each has a length LFS . Although the sole slots
 244 of the body 202. The remaining portions of the outer 10 and face slots of the present disclosure are substantially
 peripheral edge 233 of the strike plate 204 are welded straight in the illustrated embodiments, in other embodi
 portions welded to the body 202 via the peripheral weld 220 . ments, the sole slots and face slots can be curved or
 As shown, in one example, each of the non -welded portions non -straight. As shown in FIGS . 12-15 , in some implemen
 250 of the outer peripheral edge 233 of the strike plate 204 tations , the face slots are through -slots, or slots that are open
 and the slot edges 244 of the body 202 define a groove 15 on a strike face side of the face slots and open on an internal
 formed into the respective outer peripheral edge 233 and the cavity side or back side of the face slots . However, in other
 body 202. Opposing grooves of a non -welded portion 250 implementations, the face slots are not through -slots, but
 and a slot edge 244 together define a respective one of the rather are closed on an internal cavity side or back side of the
 face slots 260 , 262 .                                             face slots .
    Different than the golf club head 100 , the peripheral weld 20 Although FIGS . 12-15 illustrate golf club heads with
 220 is made up of two separate weld sections , as opposed to several different configurations of face slots , it is recognized
 a single weld section as with the peripheral weld 120. Put that golf club heads can have other configurations of face
 anotherway , the outer peripheral edge 233 of the strike plate slots without departing from the essence of the present
 204 includes two welded portions separated from each other disclosure . For example, a golf club head may have four
 by the two non- welded portions 250. The welded portions of 25 separate face slots , one at each of the heel portion, toe
 the peripheral weld 220 are located adjacent the top portion portion , top portion , and sole portion of the golf club head .
 216 of the body 202 and the sole portion 218 of the body Moreover, although the golf club heads illustrated in FIGS .
 202 , respectively. The face slots 260 , 262 at the heel portion 12-15 show a single face slot per respective heel , toe , top ,
 212 and the toe portion 214 , respectively, of the golf club and sole portion of the golf club head , in other embodiments,
 head 200 promotes flexibility and deflection of the golf club 30 the golf club head includes two or more face slots at one or
 head 200 for heel -ward and toe -ward off- center hits, respec- more of the heel , toe , top , and sole portions of the golf club
 tively, which improves the performance of the golf club head head .
 200 .                                                               Referring to FIGS . 16-19 , various golf club heads are
    As another example, referring to FIG . 14 , the golf club shown with the placement of weld contours being empha
 head 300 includes a face slot 360 at a toe portion 314 of the 35 sized by heavier or darker lines . Each of the golf club heads
 body 302 , a face slot 362 at a heel portion 312 of the body includes a strike plate that is welded to a body. Moreover, the
 302 , and a face slot 364 at a top portion 316 of the body 302 . golf club heads 500B - D are analogous to the golf club head
 Each of the face slots 360 , 362 , 364 is defined between a 100 , with like numbers referring to like features. More
 respective non -welded portion 350 of the outer peripheral specifically, features of the golf club heads of FIGS . 17-19
 edge 333 of the strike plate 304 and a respective slot edge 40 that are analogous to features of the golf club head 100 have
 344 of the body 302. The remaining portions of the outer the same number, but in a different series ( e.g. , 500 - series)
 peripheral edge 333 of the strike plate 304 are welded format rather than the 100 - series format of the golf club head
 portions welded to the body 302 via the peripheral weld 320 . 100. Therefore , unless otherwise noted, the description ,
 Different than the golf club head 200 , the peripheral weld including the structure, function , and advantages, of the
 320 is made up of three separate weld sections , as opposed 45 features of the golf club head 100 presented above are
 to two weld sections as with the peripheral weld 220. Put applicable to the analogous features of the respective golf
 anotherway, the outer peripheral edge 333 of the strike plate      club heads of FIGS . 17-19 .
 304 includes three welded portions separated from each               A representation of a conventional golf club head 500A is
 other by the three non -welded portions 350. The welded shown in FIG . 16. The golf club head 500A has a continuous
 portions of the peripheral weld 320 are located adjacent the 50 weld 520A or a weld that extends around 360 - degrees of the
 sole portion 318 of the body 202 , adjacent an intersection of outer peripheral edge of the strike plate 504A . In contrast,
 the toe portion 314 and top portion 316 , and adjacent an the golf club head 500B shown in FIG . 17 has a peripheral
 intersection of the heel portion 312 and the top portion 316 ,     weld 520B or a weld that does not extend around 360
 respectively. The face slots 360 , 362 , 364 at the heel portion degrees of the outer peripheral edge 533B of the strike plate
 312 , toe portion 314 , and top portion 316 , respectively, of 55 504B . More specifically, the peripheral weld 520B extends
 the golf club head 300 promotes flexibility and deflection of about only a portion ( e.g. , a portion adjacent the top portion
 the golf club head 200 for heel -ward , toe -ward, and high 516B and a portion adjacent the sole portion 518B ) of the
 off -center hits , respectively, which improves the perfor- outer peripheral edge 533B of the strike plate 504B . Accord
 mance of the golf club head 200 .                                 ingly, the outer peripheral edge 533B includes two welded
    According to another example, referring to FIG . 15 , the 60 portions 534B each adjacent a respective one of the top
 golf club head 400 includes a face slot 466 at a sole portion portion 516B and the sole portion 518B . The remaining
 418 of the body 202. The face slot 266 is defined between portions of the outer peripheral edge 533B of the strike plate
 a non -welded portion 450 of the outer peripheral edge 433 504B are non -welded portions 550B located adjacent the
 of the strike plate 404 and a slot edge 444 of the body 402 . heel portion 512B and toe portion 514B , respectively, of the
 The remaining portions of the outer peripheral edge 433 of 65 body 502B .
 the strike plate 404 are welded portions welded to the body      Like the golf club head 500B shown in FIG . 17 , the golf
 402 via the peripheral weld 420. The face slot 466 at the sole 83
                                                                club head 500C of FIG . 18 has a peripheral weld 520C or a
Case 3:24-cv-00212-AGS-VET                         Document 38-1                Filed 04/18/24              PageID.539               Page
                                                        55 of 241

                                                     US 10,953,293 B2
                               15                                                                    16
 weld that does not extend around 360 -degrees of the outer              Based on the foregoing, a ratio of the total length of the
 peripheral edge 533C of the strike plate 504C . However,             welded portion ( s) 134 of the outer peripheral edge 133 to the
 unlike the golf club head 500B , the peripheral weld 520C of         total peripheral length of the strike plate 104 is less than one .
 the golf club head 500C includes multiple welded portions In some implementations, the ratio of the total length of the
 at each of the heel portion 512C , the toe portion 514C , the 5 welded portion ( s) 134 of the outer peripheral edge 133 to the
 top portion 516C , and the sole portion 518C of the body total peripheral length of the strike plate 104 is between
 502C . Accordingly, the outer peripheral edge 533C includes about 0.40 and about 0.94 . In yet certain implementations,
 at least two welded portions 534C adjacent each of the heel
 portion 512C , the toe portion 514C , the top portion 516C , the         ratio of the total length of the welded portion ( s ) 134 of
                                                                      the outer peripheral edge 133 to the total peripheral length
 and  the sole
 portions  of theportion 518C of theedge
                   outer peripheral  body533C
                                          502Cof. The  remaining
                                                  the strike plate 10 According
                                                                      of the strike plate 104 is between about 0.45 and about 0.80.
 504C are non -welded portions 550C where at least two                            to further implementations, the ratio of the total
 non - welded portions 550C are located adjacent each of the edge    length of the welded portion ( s ) 134 of the outer peripheral
 heel portion 512C , the toe portion 514C , the top portion                133 to the total peripheral length of the strike plate 104
 516C, and the sole portion 518C of the body 502C. The 15 is between              about 0.70 and about 0.75 .
                                                                        Referring to FIG . 17 , for example, in some embodiments,
 peripheral weld 520C can be described to have a stitch
 pattern about the strike plate 504C .                               the length LW of each welded portion 534B of the outer
    Similar to the golf club head 500B of FIG . 17 , the golf peripheral edge 533B is more than the length LNW of each
 club head 500D shown in FIG . 18 has a peripheral weld non -welded portion 550B of the outer peripheral edge 533B .
 520D or a weld that does not extend around 360 -degrees of 20 However, in other embodiments, such as shown in FIG . 19 ,
 the outer peripheral edge 533D of the strike plate 504D . for example, the length LW of each welded portion 534D of
 However, the peripheral weld 520D is configured such that the outer peripheral edge 533D is less than the length LNW
 the outer peripheral edge 533D of the strike plate 504D of each non -welded portion 550D of the outer peripheral
 includes four welded portions 534B each at a respective one edge 533D . As also shown in FIG . 19 , for example , in
 of four corners the outer peripheral edge 533D . The remain- 25 certain embodiments, at least two ( e.g. , all in some imple
 ing portions of the outer peripheral edge 533D of the strike mentations) of the welded portions 534D of the outer
 plate 504D are non -welded portions 550D each located peripheral edge 533D have different lengths. However, in
 adjacent a respective one of the heel portion 512D , toe other embodiments, such as shown in FIG . 18 , for example,
 portion 514D , top portion 516D , and sole portion 518D , at least two of the welded portions 534C of the outer
 respectively, of the body 502D .                                 30 peripheral edge 533C have the same length . According to
    Although the golf club heads 500B - D are not shown to some implementations, all of the welded portions 534C of
 have face slots like the respective golf club heads 200 , 300 , the outer peripheral edge 533C have the same length .
 400 of FIGS . 12-15 , it is recognized that at any one or more         Referring now FIGS . 20 and 21 , another embodiment
 of the non -welded portions of the outer peripheral edge of of a golf club head 600 is shown . The golf club head 600 is
 the strike plate of the golf club heads 500B - D of FIGS . 35 analogous to the golf club head 100 , with like numbers
 17-19 , the golf club head can include a face slot that is referring to like features . More specifically, features of the
 partially defined by a corresponding one of the non -welded golf club head 600 of FIGS . 20 and 21 that are analogous to
 portions.                                                           features of the golf club head 100 have the same number, but
    Referring to the golf club head 100 of FIGS . 1-11 and in a different series ( e.g. , 600 - series) format rather than the
 17-19 , but applicable to all embodiments of the golf club 40 100 - series format of the golf club head 100. Therefore,
 head of the present disclosure , the outer peripheral edge 133 unless otherwise noted , the description, including the struc
 of the strike plate 104 has a total peripheral length . The total ture, function , and advantages, of the features of the golf
 peripheral length of the outer peripheral edge 133 is defined club head 100 presented above are applicable to the analo
 as the distance , circumferentially along the outer peripheral gous features of the golf club head 600 of FIGS . 20 and 21 .
 edge 133 , between a starting point and an ending point at the 45 In contrast to the golf club head 100 , which is an iron - type
 same location as the starting point. Similarly, the peripheral golf club head , the golf club head 600 is a metal-wood - type
 weld 120 has a total weld length . For a peripheral weld 120 golf club head or a driver -type golf club head . Accordingly,
 that has multiple weld segments or sections , the total weld the body 602 and strike plate 604 of the golf club head 600
 length of the peripheral weld 120 is defined as the sum of the define an internal cavity 642 that is much larger than the
 individual weld lengths of the weld segments. Moreover, the 50 internal cavity 142. For example, the internal cavity 642
 individual length of a weld segment is equal to the individual facilitates a displaced volume of the golf club head 600
 length LW of the welded portion 134 of the outer peripheral between about 120 cm² and 200 cm² in one implementation .
 edge 133 defined by the weld segment. Accordingly, the However, in some implementations, the golf club head 60
 total weld length of the peripheral weld 120 is equal to a total can be configured to have a head volume between about 110
 length of the welded portion 134 of the outer peripheral edge 55 cm and about 600 cm² . In more particular implementations,
 133 of the strike plate 104. For an outer peripheral edge 133 the head volume may be between about 250 cm and about
 that has multiple welded portions 134 , the total length of the 500 cm° . In yet more specific implementations, the head
 welded portion 134 is defined as the sum of the individual volume may be between about 300 cm² and about 500 cm” ,
 lengths LW of the welded portions 150. Correspondingly, a between about 300 cm3 and about 360 cm3 , between about
 total length of the non -welded portion 150 of the outer 60 300 cm and about 420 cm or between about 420 cm and
 peripheral edge 133 is equal to the difference between the about 500 cm° . The golf club head 600 may have a volume
 total peripheral length of the outer peripheral edge 133 and between about 300 cm and about 460 cm" , and a total mass
 the total length of the welded portion 134 of the outer between about 145 g and about 245 g . Alternatively, the golf
 peripheral edge 133. For an outer peripheral edge 133 that club head may have a volume between about 100 cm² and
 has multiple non -welded portions 150 , the total length of the 65 about 250 cm" , and a total mass between about 145 g and
 non -welded portion 150 is defined as the sum of the indi- about 260 g . In some implementations where the golf club
 vidual lengths LNW of the non -welded portions 150 .                84
                                                                     head 600 is configured as a hybrid golf club head , the golf
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.540              Page
                                                       56 of 241

                                                     US 10,953,293 B2
                               17                                                                  18
 club head 600 may have a volume between about 60 cm and             portion ). The body 802 additionally includes a hosel extend
 about 150 cm" , and a total mass between about 145 and ing from the heel portion . The hosel is configured to receive
 about 280 g .                                                        and engage with a shaft and grip of a golf club . The body
    The outer peripheral edge 633 of the strike plate 604 has may further include a slot edge 844 formed in the sole
 a welded portion 634 , welded to the body 602 , and a 5 portion, and a sole slot 826 formed in the sole portion , as
 non - welded portion 650 that is not welded to the body 602 . described above . The strike plate 804 includes at least a
 Rather, the non- welded portion 650 faces and is spaced apart portion of a strike face 806 designed to impact a golf ball
 from a slot edge 644 of the body 602 to define a sole slot 626 during a normal golf swing. In some implementations, the
 of the golf club head 600. As shown in FIG . 20 , the sole slot strike plate 804 includes an entirety of the strike face 806 .
 626 can be filled with a non- metal filler material 628 .         10 Generally, the strike plate 804 is defined as any piece of the
    Although the illustrated embodiments show iron - type golf golf club head 800 that includes at least a portion of the
 club heads and metal -wood - type golf club heads , it is strike face .
 recognized that the features, functions, and advantages asso-           The body 802 is configured to receive the portions of an
 ciated with the iron - type golf club heads and metal-wood- outer peripheral edge 833 of the strike plate 804 , to be
 type golf club heads also applies to hybrid - type golf club 15 welded to the body 802 via the peripheral weld 820. More
 heads, driver - type golf club heads, and putter - type golf club specifically, the body 802 includes a plate opening 876
 heads .                                                              defined between the toe portion 814 , the heel portion 812 ,
    As presented above , a ratio of the total length of the the top portion 816 , and the sole portion 818 of the body 802 .
 welded portion ( s) 634 of the outer peripheral edge 633 to the As described above , the outer peripheral edge 833 of the
 total peripheral length of the strike plate 604 is less than one. 20 strike plate 804 may include at least one welded portion 834
 In some implementations, the ratio of the total length of the and at least one non -welded portion 850 .
 welded portion ( s ) 634 of the outer peripheral edge 633 to the        The fit between the rim 836 of the plate interface 832 and
 total peripheral length of the strike plate 604 is between the outer peripheral edge 833 of the strike plate 804 facili
 about 0.40 and about 0.94 . In yet certain implementations, tates the butt welding together of the rim 836 of the body 802
 the ratio of the total length of the welded portion ( s) 634 of 25 and the outer peripheral edge 833 of the strike plate 804 with
 the outer peripheral edge 633 to the total peripheral length the peripheral weld 820. As described above , the strike plate
 of the strike plate 604 is between about 0.45 and about 0.80 . 804 may include a sole wrap portion 822 that effectively
 In one implementation , the ratio of the total length of the wraps around the sole portion 818 of the body 802 to define
 welded portion ( s) 634 of the outer peripheral edge 633 to the a portion of the bottom of the golf club head 800. Addition
 total peripheral length of the strike plate 604 is about 0.625 . 30 ally or alternatively, the sole wrap portion 822 may effec
 According to further implementations, the ratio of the total tively wrap around the lower shelf 830 of the back portion
 length of the welded portion ( s ) 634 of the outer peripheral 829 .
 edge 633 the total peripheral length of the strike plate 604           As described above and as shown in FIG . 22 , the back
 is between about 0.70 and about 0.75 .                              portion 829 may include a sole bar 831 , which is located in
   According to some embodiments of a golf club head with 35 a low , rearward portion of the golf club head 800. The sole
 a sole slot , the length LSS of the sole slot is between about bar 831 has a relatively large thickness in relation to the
 50 mm and about 65 mm . In one implementation, the length strike plate and other portions of the golf club head 800 ,
 LSS of the sole slot is between about 50 mm and about 60 thereby accounting for a significant portion of the mass of
 mm . In another implementation, the length LSS of the sole the golf club head 800 , and thereby shifting a center of
 slot is between about 55 mm and about 65 mm .                   40 gravity (CG) of the golf club head 800 relatively lower and
    In some embodiments of a golf club head with a face slot rearward . The back portion 829 also includes a lower shelf
 at the heel of the golf club head , the length LFS of the face 830 and an upper shelf 840 protruding forwardly of the sole
 slot at the heel is between about 16 mm and about 19 mm .          bar 831. The lower shelf 830 and the upper shelf 840 are
 In some embodiments of a golf club head with a face slot at spaced rearwardly of the strike plate 804 such that a gap is
 the toe of the golf club head , the length LFS of the face slot 45 defined between each of the lower shelf 830 and the upper
 at the toe is between about 33 mm and about 40 mm . In shelf 840 of the back portion 829. Defined between the
 certain implementations, the length LFS of the face slot at lower shelf 830 and the upper shelf 840 is a portion of an
 the toe is between about 33 mm and about 37 mm .               internal cavity 842 , which may extend upwards to the top
    Referring now to FIG . 22 , one embodiment of a golf club portion 816. In the illustrated implementation, the internal
 head 800 is shown . The golf club head 800 of FIG . 22 is 50 cavity 842 is open to the sole slot 826. The plate opening 876
 analogous to the golf club head 100 of FIGS . 1-11 , with like is partially open to the back of the body 802 .
 numbers referring to like features. More specifically, fea-       As opposed to the golf club head 100 of FIGS . 1-11 ,
 tures of the golf club head 800 of FIG . 22 that are analogous which illustrates a cavity -back or muscle - back type golf club
 to features of the golf club head 100 have the same number, head , the golf club head 800 of FIG . 22 is a hollow -cavity
 but in a different series (e.g. , 800 -series) format rather than 55 type golf club head . More specifically, while the internal
 the 100 - series format of the golf club head 100. Therefore , cavity 142 and the back surface 154 of the strike plate 104
 unless otherwise noted , the description, including the struc- of the golf club head 100 are not enclosed, but rather are
 ture, function, and advantages , of the features of the golf open to a rear of the golf club head 100 , the internal cavity
 club head 100 presented above are applicable to the analo- 842 and the back surface 854 of the strike plate 804 of the
 gous features of the golf club head 800 of FIG . 22 .             60 golf club head 800 are enclosed or closed to a rear of the golf
    As described above and as shown in FIG . 22 , one embodi- club head 800. The back portion 829 of the golf club head
 ment of a golf club head 800 includes a body 802 and a strike 800 further includes a rear wall 877 that encloses a rearward
 plate 804 which may be welded to the body 802. The body side of the internal cavity 842. The golf club head 800
 802 has a toe portion, a heel portion, a top portion 816 ( e.g. , having a hollow internal cavity 842 provides several advan
 top - line portion for iron -type golf club heads and crown 65 tages , such as an increased forgiveness for off - center hits on
 portion for driver-type , hybrid - type, and metal -wood - type     the strike face 806 of the strike plate 804. In some embodi
 golf club heads ) , and a sole portion 818 ( e.g. , bottom          85
                                                                     ments, the volume of the golf club head 800 is between
Case 3:24-cv-00212-AGS-VET                       Document 38-1               Filed 04/18/24                 PageID.541                    Page
                                                      57 of 241

                                                    US 10,953,293 B2
                              19                                                                     20
 about 10 cm and about 120 cm . For example, in some structure formed of a metal , metal alloy, metallic, composite ,
 embodiments, the golf club head 800 has a volume between hard plastic , resilient elastomeric , or other suitable material .
 about 20 cm and about 110 cm" , such as between about 30 In one embodiment, the plug 905 is a metallic plug that can
 cm and about 100 cm" , such as between about 40 cm and be made from steel , aluminum , titanium , or a metallic alloy.
 about 90 cm" , such as between about 50 cm and about 80 5 In one embodiment, the plug 905 is an anodized aluminum
 cm" , and such as between about 60 cm and about 80 cm» . plug that is colored a red , green, blue , gray, white , orange,
 In addition , in some embodiments, the golf club head 800 purple, black, clear, yellow, or metallic color. In one embodi
 has an overall depth that is between about 15 mm and about ment, the plug 905 is a different or contrasting color from the
 100 mm . For example , in some embodiments, the golf club majority color located on the club head body 900 .
 head 800 has an overall depth between about 20 mm and 10 In some embodiments, the filler material includes a slight
 about 90 mm , such as between about 30 mm and about 80 recess or depression 903 that accommodates the variable
 mm and such as between about 40 mm and about 70 mm .              face thickness of the striking plate 904. In other words , the
    Other examples of cavity -back, muscle - back, and hollow recess or depression 903 located in the filler material 901
 cavity iron - type golf club heads are described in U.S. patent mates or is keyed with a thickened portion of the striking
 application Ser. No. 14 /981,330, filed Dec. 28 , 2015 , which 15 plate 904. In one embodiment, the thickened portion of the
 is incorporated herein by reference .                             striking plate 904 occurs at the center of the striking plate
    In some implementations, the golf club head 800 includes 904 .
 weighted elements, such as a tungsten plug 896 , located at           In one embodiment, the golf club head 900 includes a
 least partially within the internal cavity 842 in some imple recess 909 that allows the weight 996 to be located . Once the
 mentations   . Additionally, the body of the golf club heads of 20 weight 996 is positioned within the recess 909 and the strike
 the present disclosure can include various features such as plate 904 has been attached , the filler material 901 is injected
 weighting elements , cartridges , and / or inserts or applied through the port 907 and sealed with the plug 905 .
 bodies as used for CG placement, vibration control or                In one embodiment, the filler material 901 has a minor
 damping, or acoustic control or damping. For example, U.S. impact on the coefficient of restitution (herein “ COR ” ) as
 Pat . No. 6,811,496 , incorporated herein by reference in its 25 measured according to the United States Golf Association
 entirety , discloses the attachment of mass altering pins or (USGA ) rules set forth in the Procedure for Measuring the
 cartridge weighting elements.                                      Velocity Ratio of a Club Head for Conformance to Rule
    In one embodiment, the golf club of FIG . 24 has an 4 - le , Appendix II Revision 2 Feb. 8 , 1999 , herein incorpo
 internal cavity 942 that is partially or entirely filled with a 30 rated by reference in its entirety.
 filler material 901 .                                                 Table 1 below provides examples of the COR change
   In some implementations, the filler material 901 is made        relative to a calibration plate of multiple club heads of the
 from a non -metal , such as a thermoplastic material , thermo-    construction shown in FIG . 24 in both a filled and unfilled
 set material, and the like, in some implementations. In other     state . The calibration plate dimensions and weight are
 implementations, the internal cavity 842 is not filled with a     described in section 4.0 of the Procedure for Measuring the
 filler material 901 , but rather maintains an open , vacant, 35 Velocity Ratio of a Club Head for Conformance to Rule
 cavity within the club head .                                   4-1e .
    According to one embodiments, the filler material 901 is       Due to the slight variability between different calibration
 initially a viscous material that is injected or otherwise plates , the values described below are described in terms of
 inserted into the club head through an injection port 907 a change in COR relative to a calibration plate base value .
 located on the toe portion of the club head. The injection port 40 For example, if a calibration plate has a 0.831 COR value ,
 907 can be located anywhere on the club head 900 including Example 1 for an un - filled head has a COR value of -0.019
 the topline , sole , heel , or toe . Examples of materials that may less than 0.831 which would give Example 1 (Unfilled ) a
 be suitable for use as a filler material 901 to be placed into COR value of 0.812 . The change in COR for a given head
 a club head include , without limitation : viscoelastic elasto- relative to a calibration plate is accurate and highly repeat
 mers ; vinyl copolymers with or without inorganic fillers; 45 able .
 polyvinyl acetate with or without mineral fillers such as
 barium sulfate ; acrylics ; polyesters; polyurethanes;                                         TABLE 1
 polyethers; polyamides ; polybutadienes ; polystyrenes ; poly
 isoprenes; polyethylenes; polyolefins; styrene/ isoprene                        COR Values Relative to a Calibration Plate
 block copolymers; hydrogenated styrenic thermoplastic 50                           Unfilled COR          Filled COR          COR Change
 elastomers ; metallized polyesters ; metallized acrylics ; epox                      Relative to         Relative to         Between Filled
 ies ; epoxy and graphite composites; natural and synthetic          Example No. Calibration Plate     Calibration Plate       and Unfilled
 rubbers; piezoelectric ceramics ; thermoset and thermoplas               1         -0.019           -0.022          -0.003
 tic rubbers; foamed polymers; ionomers ; low -density fiber              2         -0.003           -0.005          -0.002
 glass ; bitumen; silicone ; and mixtures thereof. The metal- 55          3         -0.006           -0.010          -0.004
 lized polyesters and acrylics can comprise aluminum as the               4         -0.006           -0.017          -0.011
                                                                                                                     -0.002
 metal . Commercially available materials include resilient               5
                                                                          6
                                                                                    -0.026
                                                                                    -0.007
                                                                                                     -0.028
                                                                                                     -0.017          -0.01
 polymeric materials such as ScotchweldTM ( e.g. , DP - 105TM )                     -0.013           -0.019          -0.006
 and ScotchdampTM from 3M , SorbothaneTM from Sorboth                     8         -0.007           -0.007            0
 ane, Inc. , DYADTM and GPTM from Soundcoat Company 60                    9         -0.012           -0.014          -0.002
 Inc., DynamatTM from Dynamat Control of North America ,                 10
                                                                      Average
                                                                                    -0.020
                                                                                    -0.0119
                                                                                                     -0.022
                                                                                                     -0.022
                                                                                                                     -0.002
                                                                                                                     -0.002
 Inc., NoViFlexTM SylomerTM from Pole Star Maritime
 Group, LLC , IsoplastTM from The Dow Chemical Company,
 LegetolexTM from Piqua Technologies, Inc. , and HybrarTM           Table 1 illustrates that before the filler material 901 is
 from the Kuraray Co. , Ltd. In still other embodiments, the 65 introduced into the cavity 942 of golf club head 900 , an
 filler 901 material may be placed into the club head 900 and Unfilled COR drop off relative to the calibration plate (or
 sealed in place with a plug 905 , or resilient cap or other 86  first COR drop off value ) is between 0 and -0.05 , between
Case 3:24-cv-00212-AGS-VET                                      Document 38-1                        Filed 04/18/24                     PageID.542                    Page
                                                                     58 of 241

                                                                    US 10,953,293 B2
                                       21                                                                                     22
 0 and -0.03 , between -0.00001 and -0.03 , between                                     Filled and Unfilled states of between 0 and -0.1 , between 0
 -0.00001 and -0.025 , between -0.00001 and -0.02 ,                                     and -0.05 , between 0 and -0.04 , between 0 and -0.03 ,
 between -0.00001 and -0.015 , between -0.00001 and                                     between 0 and -0.02 , between 0 and -0.01 , between 0 and
 -0.01 , or between -0.00001 and -0.005 .                      -0.009 , between 0 and -0.008 , between 0 and -0.007 ,
    In one embodiment, the average COR drop off or loss 5 between 0 and -0.006 , between 0 and -0.005 , between 0 and
 relative to the calibration plate for a plurality of Unfilled -0.004 , between 0 and -0.003 , or between 0 and -0.002 .
 COR golf club head within a set of irons is between 0 and       In other embodiments, an average of a plurality of iron
 -0.05 , between 0 and -0.03 , between -0.00001 and -0.03 , golf clubs in the set has a change in COR between the Filled
 between -0.00001 and -0.025 , between -0.00001 and                                     and Unfilled states of between 0 and -0.1 , between 0 and
 -0.02 , between -0.00001 and -0.015 , or between -0.00001 10 -0.05 , between 0 and -0.04 , between 0 and -0.03 , between
 and -0.01 .                                                  O and -0.02 , between 0 and -0.01 , between 0 and -0.009 ,
    Table 1 further illustrates that after the filler material 901                      between 0 and -0.008 , between 0 and -0.007 , between 0 and
 is introduced into the cavity 942 of golf club head 900 , a -0.006 , between 0 and -0.005 , between 0 and -0.004 ,
 Filled COR drop off relative to the calibration plate (or between 0 and -0.003 , or between 0 and -0.002 .
 second COR drop off value ) is more than the Unfilled COR 15 FIG . 25 illustrates a cross - sectional view through the
 drop off relative to the calibration plate. In other words, the center face of the golf club head shown in FIG . 24. The filler
 addition of the filler material 901 in the Filled COR golf club material 901 fills the cavity 942 located above the sole slot
 heads slows the ball speed ( Vout — Velocity Out ) after 926. The recess or depression 903 engages with the thick
 rebounding from the face by a small amount relative to the ened portion of the striking plate 904 .
 rebounding ball velocity of the Unfilled COR heads .           20    In some embodiments, the filler material 901 is a two part
    In some embodiments shown in Table 1 , the COR drop off polyurethane foam that is a thermoset and is flexible after it
 or loss relative to the calibration plate for a Filled COR golf is cured . In one embodiment, the two part polyurethane
 club head is between 0 and -0.05 , between 0 and -0.03 , foam is any methylene diphenyl diisocyanate ( a class of
 between -0.00001 and -0.03 , between -0.00001 and polyurethane prepolymer ) or silicone based flexible or rigid
 -0.025 , between -0.00001 and -0.02 , between -0.00001 25 polyurethane foam .
 and -0.015 , between -0.00001 and -0.01 , or between                 Referring now to FIG . 23 , referring to one embodiment,
 -0.00001 and -0.005 .                                             a method 700 of making a golf club head, such as the golf
    In one embodiment, the average COR drop off or loss club heads described herein , includes peripherally discon
 relative to the calibration plate for a plurality of Filled COR tinuously welding an outer peripheral edge of a strike plate
 golf club head within a set of irons is between 0 and -0.05 , 30 to a body with the strike plate located between a heel
 between 0 and -0.03 , between -0.00001 and -0.03 , between portion , a sole portion, a toe portion , and a top portion of the
 -0.00001 and -0.025 , between -0.00001 and -0.02 , body at 702. Additionally, the method 700 includes filling a
 between -0.00001 and             15 , between -0.00001 and gap between the outer peripheral edge of the strike plate and
 -0.01 , or between -0.00001 and -0.005 .                          the body with a filler material at 704 .
    However, the amount of COR loss or drop off for a Filled 35 Reference throughout this specification to “ one embodi
 COR head is minimized when compared to other construc- ment,” “ an embodiment,” or ???i?m?h?³h?á?K???ETá?¥ áŠS?6? S? a>?.Ù„ec.h[³? Š¥Ù l ? Ù„[³?³?úcházch?[táŠ? ?³t?ál ?³
 tions and filler materials . The last column of Table 1                                particular feature, structure, or characteristic described in
 illustrates a COR change between the Unfilled and Filled                               connection with the embodiment is included in at least one
 golf club heads which are calculated by subtracting the embodiment of the present disclosure . Appearances of the
 Unfilled COR from the Filled COR table columns. The 40 phrases " in one embodiment, ” “ in an embodiment, ” and
 change in COR (COR change value ) between the Filled and      similar language throughout this specification may, but do
 Unfilled club heads is between 0 and -0.1 , between 0 and     not necessarily, all refer to the same embodiment. Similarly ,
 -0.05 , between 0 and -0.04 , between 0 and -0.03 , between   the use of the term “ implementation ” means an implemen
 O and -0.025 , between 0 and -0.02 , between 0 and -0.015 ,   tation having a particular feature, structure, or characteristic
 between 0 and -0.01 , between 0 and -0.009 , between 0 and 45 described in connection with one or more embodiments of
 -0.008 , between 0 and -0.007 , between 0 and -0.006 , the present disclosure , however, absent an express correla
 between 0 and -0.005 , between 0 and -0.004 , between 0 and tion to indicate otherwise, an implementation may be asso
 -0.003, or between 0 and -0.002 . Remarkably, one club ciated with one or more embodiments .
 head was able to achieve a change in COR of zero between         The schematic flow chart diagrams included herein are
 a filled and unfilled golf club head . In other words , no 50 generally set forth as logical flow chart diagrams. As such ,
 change in COR between the Filled and Unfilled club head the depicted order and labeled steps are indicative of one
 state . In some embodiments, the COR change value is embodiment of the presented method. Other steps and
 greater than -0.1 , greater than -0.05 , greater than -0.04 , methods may be conceived that are equivalent in function,
 greater than -0.03 , greater than -0.02 , greater than -0.01 , logic , or effect to one or more steps , or portions thereof, of
 greater than -0.009 , greater than -0.008 , greater than 55 the illustrated method . Additionally, the format and symbols
 -0.007 , greater than -0.006 , greater than -0.005 , greater employed are provided to explain the logical steps of the
 than -0.004 , or greater than -0.003 .                                                 method and are understood not to limit the scope of the
   In some embodiments , at least one , two, three or four iron                         method. Although various arrow types and line types may be
 golf clubs out of an iron golf club set has a change in COR                            employed in the flow chart diagrams, they are understood
 between the Filled and Unfilled states of between 0 and -0.1 , 60 not to limit the scope of the corresponding method. Indeed,
 between 0 and -0.05 , between 0 and -0.04 , between 0 and                              some arrows or other connectors may be used to indicate
 -0.03 , between 0 and -0.02 , between 0 and -0.01 , between   only the logical flow of the method . For instance , an arrow
 O and -0.009 , between 0 and -0.008 , between 0 and -0.007 ,  may indicate a waiting or monitoring period of unspecified
 between 0 and -0.006 , between 0 and -0.005 , between 0 and duration between enumerated steps of the depicted method .
 -0.004 , between 0 and -0.003 , or between 0 and -0.002 . 65 Additionally, the order in which a particular method occurs
    In yet other embodiments, at least one pair or two pair of may or may not strictly adhere to the order of the corre
 iron golf clubs in the set have a change in COR between the 87sponding steps shown.
Case 3:24-cv-00212-AGS-VET                         Document 38-1                   Filed 04/18/24             PageID.543              Page
                                                        59 of 241

                                                      US 10,953,293 B2
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    In the above description , certain terms may be used such            tus, structure , article , element, component, or hardware to
 as “ up , ” « down,” “ upper , ” “ lower , ” “ horizontal,” “ vertical," perform the specified function without further modification .
 “ left, ” “ right,” “ over, ” “ under ” and the like . These terms are For purposes of this disclosure , a system , apparatus, struc
 used, where applicable, to provide some clarity of descrip- ture, article , element, component, or hardware described as
 tion when dealing with relative relationships. But, these 5 being " configured to ” perform a particular function may
 terms are not intended to imply absolute relationships,                 additionally or alternatively be described as being " adapted
 positions , and / or orientations. For example , with respect to        to ” and / or as being “ operative to ” perform that function .
 an object, an “ upper ” surface can become a “ lower ” surface      The present subject matter may be embodied in other
 simply by turning the object over. Nevertheless, it is still the specific forms without departing from its spirit or essential
 same object. Further, the terms “ including,” “ comprising,” 10 characteristics . The described embodiments are to be con
 “ having,” and variations thereof mean “ including but not sidered in all respects only as illustrative and not restrictive .
 limited to ” unless expressly specified otherwise. An enu- All changes which come within the meaning and range of
 merated listing of items does not imply that any or all of the equivalency of the claims are to be embraced within their
 items are mutually exclusive and / or mutually inclusive , scope .
 unless expressly specified otherwise . The terms “ a , ” “ an ,” 15
 and “ the ” also refer to “ one or more” unless expressly           What is claimed is :
 specified otherwise. Further, the term “ plurality ” can be         1. A hollow body iron - type golf club head , comprising:
 defined as " at least two . ” The term “ about" in some embodi-           a body, comprising a heel portion, a first part of a sole
 ments, can be defined to mean within +/- 5 % of a given                     portion , a toe portion, a top portion , a rear wall , and a
 value .                                                            20       hosel of the golf club head ;
    Additionally, instances in this specification where one                a strike plate welded to the body, wherein :
 element is " coupled ” to another element can include direct                 the strike plate comprises a strike face of the golf club
 and indirect coupling . Direct coupling can be defined as one                  head , a second part of the sole portion of the golf
 element coupled to and in some contact with another ele                         club head, and a majority of a face - to - sole portion
 ment. Indirect coupling can be defined as coupling between 25                  transition region between the strike face and the sole
 two elements not in direct contact with each other, but                        portion ;
 having one or more additional elements between the coupled                   the strike plate , the heel portion, the sole portion , the
 elements. Further, as used herein , securing one element to                    toe portion , the top portion, and the rear wall enclose
 another element can include direct securing and indirect                        an internal cavity of the golf club head ;
 securing. Additionally, as used herein , " adjacent” does not 30             the second part of the sole portion has an internal
 necessarily denote contact. For example, one element can be                     surface that defines a portion of the internal cavity ;
 adjacent another element without being in contact with that                  the strike plate has a central portion and a peripheral
 element.                                                                       portion surrounding the central portion, wherein a
   As used herein , the phrase " at least one of " , when used                  thickness of the central portion is greater than a
 with a list of items , means different combinations of one or 35               thickness of the peripheral portion ; and
 more of the listed items may be used and only one of the                  the first part of the sole portion comprises a recess
 items in the list may be needed . The item may be a particular               formed in an internal surface of the first part of the
 object, thing, or category. In other words, “ at least one of”               sole portion ;
 means any combination of items or number of items may be               a filler material within the internal cavity ;
 used from the list , but not all of the items in the list may be 40 a tungsten weight located within the recess of the first part
 required. For example, " at least one of item A , item B , and            of the sole portion ;
 item C ” may mean item A ; item A and item B ; item B ; item           a threaded toe port formed in the toe portion of the golf
 A , item B , and item C ; or item B and item C. In some cases ,           club head, wherein the internal cavity is configured to
 “ at least one of item A , item B , and item C ” may mean , for           receive the filler material through the threaded toe port;
 example , without limitation , two of item A , one of item B , 45 a threaded plug that is threadably engaged with the
 and ten of item C ; four of item B and seven of item C ; or               threaded toe port to plug the threaded toe port;
 some other suitable combination .                                      a first COR drop off value when the internal cavity is
     Unless otherwise indicated , the terms " first," " second , "         unfilled ;
 etc. are used herein merely as labels , and are not intended to        a second COR drop off value when the internal cavity is
 impose ordinal, positional , or hierarchical requirements on 50           at least partially filled with the filler material; and
 the items to which these terms refer. Moreover, reference to ,         a COR change value being a difference between the
 e.g. , a “ second ” item does not require or preclude the                 second COR drop off value and the first COR drop off
 existence of, e.g. , a “ first ” or lower - numbered item , and /or,      value ;
 e.g. , a “ third ” or higher -numbered item .                          wherein the COR change value is between 0 and -0.01 .
     As used herein , a system , apparatus, structure , article , 55 2. The golf club head according to claim 1 , wherein the
 element, component, or hardware " configured to ” perform a filler material is a foam .
 specified function is indeed capable of performing the                 3. The golf club head according to claim 1 , wherein the
 specified function without any alteration , rather than merely filler material is a two part polyurethane based foam .
 having potential to perform the specified function after               4. The golf club head according to claim 1 , wherein the
 further modification . In other words , the system , apparatus, 60 filler material is flexible after it is cured .
 structure , article , element, component, or hardware “ config-        5. The golf club head according to claim 1 , wherein the
 ured to ” perform a specified function is specifically selected , filler material is a thermoset.
 created , implemented , utilized, programmed, and / or                 6. The golf club head according to claim 1 , wherein an
 designed for the purpose of performing the specified func- unfilled COR of the golf club head is at least 0.812 .
 tion . As used herein , “ configured to ” denotes existing char- 65 7. The golf club head according to claim 1 , wherein the
 acteristics of a system , apparatus, structure, article , element, strike plate is made of a first material and the body is made
 component, or hardware which enable the system , appara- 88          of a second material that is different than the first material.
Case 3:24-cv-00212-AGS-VET                          Document 38-1                Filed 04/18/24              PageID.544              Page
                                                         60 of 241

                                                      US 10,953,293 B2
                               25                                                                    26
   8. The golf club head according to claim 1 , wherein :                      club head, and a majority of a face - to - sole portion
   the rear wall comprises a sole bar protruding from the first               transition region between the strike face and the sole
      part of the sole portion into the internal cavity, wherein              portion ;
      the sole bar is located in a low and rearward portion of              the strike plate , the heel portion, the sole portion , the
      the golf club head and has a relatively large thickness 5               toe portion , the top portion , and the rear wall enclose
      in relation to the strike plate;                                         an internal cavity of the golf club head ;
   the rear wall further comprises a forward sole bar protru                the second part of the sole portion has an internal
      sion protruding from the sole bar forward towards the                    surface that defines a portion of the internal cavity ;
     strike plate;                                                          the strike plate has a central portion and a peripheral
   the second part of the sole portion wraps underneath the 10                 portion surrounding the central portion , wherein a
      forward sole bar protrusion protruding from the sole                     thickness of the central portion is greater than a
      bar;                                                                     thickness of the peripheral portion ; and
   the filler material contacts an underside surface of the
      forward sole bar protrusion and contacts an interior                  a filler material within the internal cavity ;
      surface of the second part of the sole portion ;            15     a threaded toe port formed in the toe portion of the golf
   a thickness of the second part of the sole portion is less               club head, wherein the internal cavity is configured to
      than the thickness of the central portion of strike plate ;           receive the filler material through the threaded toe port;
      and                                                                a threaded plug that is threadably engaged with the
   at least a portion of the second part of the sole portion is             threaded toe port to plug the threaded toe port;
      welded along the first part of the sole portion .           20     a first COR drop off value when the internal cavity is
   9. The golf club head according to claim 1 , wherein :                  unfilled ;
   the rear wall comprises a sole bar protruding from the first          a second COR drop off value when the internal cavity is
       part of the sole portion into the internal cavity, wherein           at least partially filled with the filler material; and
       the sole bar is located in a low and rearward portion of          a COR change value being a difference between the
       the golf club head and has a relatively large thickness 25           second COR drop off value and the first COR drop off
       in relation to the strike plate;                                    value , wherein the COR change value is between 0 and
    wherein the filler material extends overtop the sole bar.               -0.01 ;
    10. The golf club head according to claim 1 , wherein at             a sole bar protruding from the first part of the sole portion
 least one of the strike plate and the body are formed of a                 into the internal cavity, wherein the sole bar is located
 stainless steel .                                                30        in a low and rearward portion of the golf club head and
    11. The golf club head according to claim 1 , wherein the               has a relatively large thickness in relation to the strike
 filler material is a methylene diphenyl diisocyanate based                 plate ;
 foam .                                                                  a forward sole bar protrusion protruding from the sole bar
    12. The golf club head according to claim 1 , wherein part              forward towards the strike plate ;
 of the strike plate extends further toeward than the second 35          the second part of the sole portion wraps underneath the
 part of the sole portion.                                                  forward sole bar protrusion protruding from the sole
    13. The golf club head according to claim 1 , wherein the               bar;
 recess comprises at least a rear wall and opposing side walls ,         the filler material contacts an underside surface of the
 and wherein the tungsten weight is at least partially sur                   forward sole bar protrusion and contacts an interior
 rounded by the recess .                                           40        surface of the second part of the sole portion ;
    14. The golf club head according to claim 1 , wherein the            a  thickness   of the second part of the sole portion is less
 tungsten weight is at least partially surrounded by the filler              than the thickness of the central portion of strike plate ;
 material.                                                                   and
    15. The golf club head according to claim 1 , wherein a              at  least a portion of the second part of the sole portion is
 majority of the tungsten weight is below the threaded toe 45 18.welded        The
                                                                                      along the first part of the sole portion.
                                                                                     golf club head according to claim 17 , further
 port when the golf club head is in proper address position. comprising a tungsten               weight located within the internal
    16. The golf club head according to claim 1 , wherein the cavity .
 body is cast and the strike plate is forged.                            19. The golf club head according to claim 18 , wherein the
    17. A golf club head, comprising:
                                                                      first part of the sole portion is configured to receive the
    a body, comprising a heel portion, a first part of a sole 50 tungsten
       portion, a toe portion , a top portion, a rear wall , and a                weight.
       hosel of the golf club head;                                      20.  The  golf club head according to claim 19 , wherein the
    a strike plate welded to the body, wherein :                      tungsten weight is received with in a recess and the recess
       the strike plate comprises a strike face of the golf club comprises at least a rear wall and opposing side walls .
         head , a second part of the sole portion of the golf




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Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.545   Page
                                  61 of 241




                       Exhibit 3




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Case 3:24-cv-00212-AGS-VET                           Document 38-1 Filed 04/18/24 PageID.546 Page
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 c12)    United States Patent                                              (IO) Patent No.:             US 11,351,426 B2
         Demkowski et al.                                                  (45) Date of Patent:                     *Jun. 7, 2022

 (54)    GOLF CLUB HEAD                                               (56)                   References Cited

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 (22)    Filed:       Jan. 22, 2021

 (65)                   Prior Publication Data                        Primary Examiner - Sebastiano Passaniti
         US 2021/0236887 Al           Aug. 5, 2021                    (74) Attorney, Agent, or Firm - Kunzler Bean &
                                                                      Adamson
                  Related U.S. Application Data
 (63)    Continuation of application No. 16/800,811, filed on
                                                                      (57)                     ABSTRACT
         Feb. 25, 2020, now Pat. No. 10,953,293, which is a
                          (Continued)                                 Described herein is a golf club head that comprises a body
                                                                      and a strike plate. The body comprises a heel portion, a sole
 (51)    Int. Cl.
                                                                      portion, a toe portion, and a top portion. The strike plate
         A63B 53/04                (2015.01)
         A63B 60/54                (2015.01)                          comprises an outer peripheral edge and at least a portion of
 (52)    U.S. Cl.                                                     a strike face. Furthermore, the strike plate is welded to the
         CPC ........ A63B 53/047 (2013.01); A63B 53/0412             body via a peripheral weld between the outer peripheral
                            (2020.08); A63B 53/0433 (2020.08);        edge of the strike plate and the body. The outer peripheral
                             (Continued)                              edge of the strike plate comprises at least one welded
 ( 58)   Field of Classification Search                               portion, welded to the body via the peripheral weld, and at
         CPC .............. A63B 53/047; A63B 53/0412; A63B           least one non-welded portion, not welded to the body.
                       53/0433; A63B 53/0462; A63B 53/0466;
                     A63B 53/0475; A63B 60/54; A63B 60/00
                             (Continued)                                             19 Claims, 22 Drawing Sheets




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Case 3:24-cv-00212-AGS-VET                             Document 38-1                  Filed 04/18/24               PageID.547           Page
                                                            63 of 241

                                                          US 11,351,426 B2
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    Case 3:24-cv-00212-AGS-VET                                                Document 38-1                  Filed 04/18/24   PageID.548        Page
                                                                                   64 of 241




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Case 3:24-cv-00212-AGS-VET                                                 Document 38-1    Filed 04/18/24   PageID.549        Page
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 U.S. Patent                                                        Jun.7,2022     Sheet 2 of 22         US 11,351,426 B2


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Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.551   Page
                                  67 of 241


                                    Sheet 4 of 22         US 11,351,426 B2
U.S. Patent         Jun.7,2022




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    Case 3:24-cv-00212-AGS-VET    Document 38-1           Filed 04/18/24                      PageID.552   Page
                                       68 of 241




                                                                            US 11,351,426 B2
                                   Sheet 5 of 22
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U.S. -Patent




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      Case 3:24-cv-00212-AGS-VET   Document 38-1         Filed 04/18/24   PageID.553   Page
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                                         FIG. 6                                                      =
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Case 3:24-cv-00212-AGS-VET   Document 38-1       Filed 04/18/24     PageID.554   Page
                                  70 of 241

 U.S. Patent         Jun.7,2022        Sheet 7 of 22          US 11,351,426 B2




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                                   FIG. 7
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                                  71 of 241


U.S. Patent         Jun.7,2022      Sheet 8 of 22         US 11,351,426 B2




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Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.556     Page
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 U.S. Patent         Jun.7,2022      Sheet 9 of 22         US 11,351,426 B2




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Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24    PageID.557   Page
                                  73 of 241

 U.S. Patent         Jun.7,2022      Sheet 10 of 22          US 11,351,426 B2




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                                                          116




             96




                                    FIG. 10




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Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.558   Page
                                  74 of 241

 U.S. Patent         Jun.7,2022      Sheet 11 of 22        US 11,351,426 B2




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                     130
                     122




                                  FIG. 11




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              Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.559   Page
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                                            FIG. 15                                                                             N
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                 FIG. 16                                                 FIG. 17
                PRIOR ART                                                                                  rJJ
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                 FIG. 18                                                 FIG. 19                           =N




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                                          80 of 241




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                                      Sheet 11 of 22
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                                  82 of 241

 U.S. Patent         Jun.7,2022       Sheet 19 of 22         US 11,351,426 B2




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                                  FIG. 22




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Case 3:24-cv-00212-AGS-VET    Document 38-1       Filed 04/18/24   PageID.567   Page
                                   83 of 241

 U.S. Patent           Jun.7,2022       Sheet 20 of 22         US 11,351,426 B2




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                                         START




             Peripherally discontinuously weld an outer peripheral edge of
    702
             a strike plate to a body with the strike plate located between
             a heel portion, a sole portion, a toe portion, and a top portion
             of the body




    704
             Fill a gap between the outer peripheral edge of the strike
             plate and the body with a filler material




                                          END




                                        FIG. 23



                                         112
Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24   PageID.568   Page
                                  84 of 241

 U.S. Patent         Jun.7,2022      Sheet 21 of 22        US 11,351,426 B2




                             FIG. 24




                                      113
Case 3:24-cv-00212-AGS-VET   Document 38-1    Filed 04/18/24    PageID.569   Page
                                  85 of 241

 U.S. Patent         Jun.7,2022      Sheet 22 of 22           US 11,351,426 B2




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                               FIG. 25



                                      114
Case 3:24-cv-00212-AGS-VET                       Document 38-1               Filed 04/18/24             PageID.570             Page
                                                      86 of 241

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                    GOLF CLUB HEAD                                 to provide a golf club and golf club head that overcome at
                                                                   least some of the above-discussed shortcomings of prior art
             CROSS-REFERENCE TO RELATED                            techniques.
                         APPLICATIONS                                  Described herein is a golf club head that comprises a
                                                                 5 body. The body comprises a heel portion, a sole portion, a
    This application references U.S. Pat. No. 9,044,653, filed     toe portion, and a top portion, a filler material, and an
 Mar. 14, 2013, which claims the benefit of U.S. Provisional       internal cavity is configured to receive the filler material. A
 Patent Application No. 61/657,675, filed Jun. 8, 2012, both       first COR drop off value when the internal cavity is unfilled.
 of which are hereby incorporated by reference herein in their     A second COR drop off value when the internal cavity is
 entireties. This application also references U.S. Pat. No. 10 filled. a COR change value being a difference between the
 8,353,785, filed Apr. 19, 2010, which claims the benefit of       second COR drop off value and the first COR drop off value.
 U.S. Provisional Patent Application No. 61/214,487, filed         The COR change value is between 0 and -0.1. The preced-
 Apr. 23, 2009, both of which are hereby incorporated by           ing subject matter of this paragraph characterizes example 1
 reference herein in their entireties. This application also       of the present disclosure.
 references U.S. Pat. No. 6,811,496, filed Sep. 3, 2002, which 15      The COR change value is between O and -0.05. The
 is hereby incorporated by reference in its entirety. This         preceding subject matter of this paragraph characterizes
 application also references U.S. patent application Ser. No.      example 2 of the present disclosure, wherein example 2 also
 13/111,715, filed May 19, 2011, which is incorporated             includes the subject matter according to example 1, above.
 herein by reference in its entirety. This application further         The first COR drop off value is between O and -0.05. The
 references U.S. patent application Ser. No. 14/981,330, filed 20 preceding subject matter of this paragraph characterizes
 Dec. 28, 2015, which claims the benefit of U.S. Provisional       example 3 of the present disclosure, wherein example 3 also
 Patent Application No. 62/099,012, filed Dec. 31, 2014, and       includes the subject matter according to example 2, above.
 U.S. Provisional Patent Application No. 62/098,707, filed             The second COR drop off value is between O and -0.05.
 Dec. 31, 2014, all of which are incorporated herein by            The preceding subject matter of this paragraph characterizes
 reference in their entirety.                                   25 example 4 of the present disclosure, wherein example 4 also
                                                                   includes the subject matter according to example 3, above.
                              FIELD                                    The filler material is a two part polyurethane foam. The
                                                                   preceding subject matter of this paragraph characterizes
    This disclosure relates generally to golf clubs, and more      example 5 of the present disclosure, wherein example 5 also
 particularly to a golf club head with a strike plate that is 30 includes the subject matter according to any one of examples
 separately attached to a body of the golf club head.              1-4, above.
                                                                       The filler material is a thermoset. The preceding subject
                         BACKGROUND                                matter of this paragraph characterizes example 6 of the
                                                                   present disclosure, wherein example 6 also includes the
    The performance of golf equipment is continuously 35 subject matter according to any one of examples 1-4, above.
 advancing due to the development of innovative clubs and              The filler material is a methylene diphenyl diisocyanate.
 club designs. While all clubs in a golfer's bag are important,    The preceding subject matter of this paragraph characterizes
 both scratch and novice golfers rely on the performance and       example 7 of the present disclosure, wherein example 7 also
 feel of their irons, metal-woods, hybrids, and drivers for        includes the subject matter according to any one of examples
 many commonly encountered playing situations.                  40 1-4, above.
    Advancements in golf club head manufacturing tech-                 The filler material is flexible after it is cured. The pre-
 niques have facilitated the manufacturing of golf club heads      ceding subject matter of this paragraph characterizes
 with complex geometries. For example, separately forming          example 8 of the present disclosure, wherein example 8 also
 and attaching together a strike plate and a body, a golf club     includes the subject matter according to any one of examples
 head with a complex geometry, that might not otherwise be 45 1-4, above.
 achievable using single-piece, fully-integrated manufactur-           The outer peripheral edge of the strike plate further
 ing techniques, can be produced. Additionally, a golf club        comprises a plurality of welded portions and a plurality of
 head with a separately formed and attached strike plate can       non-welded portions. The plurality of welded portions are
 facilitate the use of strike plates and bodies made from          spaced apart from each other by the plurality of non-welded
 different materials and/or manufacturing techniques. Gen- 50 portions. The preceding subject matter of this paragraph
 erally, the strike plate is welded to the body using a periph-    characterizes example 9 of the present disclosure, wherein
 eral weld that extends continuously around the entire outer       example 9 also includes the subject matter according to
 peripheral edge of the strike plate.                              example 1, above.
    Although welding the strike plate to the body promotes             Further described herein is a golf club set, comprising at
 the ability to make golf club heads with complex geometries, 55 least one golf club head having a body. The body further
 different materials, and different manufacturing techniques,      comprises a heel portion, a sole portion, a toe portion, and
 the weld may also introduce weaknesses to the golf club           a top portion, a filler material, and an internal cavity, the
 head.                                                             internal cavity is configured to receive the filler material. A
                                                                   first COR drop off value when the internal cavity is unfilled.
                            SUMMARY                             60 A second COR drop off value when the internal cavity is
                                                                   filled. ACOR change value being a difference between the
    The subject matter of the present application has been         second COR drop off value and the first COR drop off value.
 developed in response to the present state of the art, and in     The COR change value is between O and -0.1. The preced-
 particular, in response to the shortcomings of golf clubs and     ing subject matter of this paragraph characterizes example
 associated golf club heads, that have not yet been fully 65 10 of the present disclosure.
 solved by currently available techniques. Accordingly, the            At least two golf club heads within the golf club set have
 subject matter of the present application has been developed
                                                                  115
                                                                   a COR change value between 0 and -0.1. The preceding
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.571              Page
                                                       87 of 241

                                                     US 11,351,426 B2
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 subject matter of this paragraph characterizes example 11 of        recognized in certain embodiments and/or implementations
 the present disclosure, wherein example 11 also includes the        that may not be present in all embodiments or implemen-
 subject matter according to example 10, above.                      tations. Further, in some instances, well-known structures,
     An average COR change value of at least two golf club           materials, or operations are not shown or described in detail
 heads is between 0 and -0.1. The preceding subject matter 5 to avoid obscuring aspects of the subject matter of the
 of this paragraph characterizes example 12 of the present           present disclosure. The features and advantages of the
 disclosure, wherein example 12 also includes the subject            subject matter of the present disclosure will become more
 matter according to example 10, above.                              fully apparent from the following description and appended
     The first COR drop off value is between 0 and -0.05 for         claims, or may be learned by the practice of the subject
 the at least two golf club heads. The preceding subject matter 10 matter as set forth hereinafter.
 of this paragraph characterizes example 13 of the present
 disclosure, wherein example 13 also includes the subject                   BRIEF DESCRIPTION OF THE DRAWINGS
 matter according to example 12, above.
     The second COR drop off value is between 0 and -0.05               In order that the advantages of the subject matter may be
 for the at least two golf club heads. The preceding subject 15 more readily understood, a more particular description of the
 matter of this paragraph characterizes example 14 of the            subject matter briefly described above will be rendered by
 present disclosure, wherein example 14 also includes the            reference to specific embodiments that are illustrated in the
 subject matter according to example 13, above.                      appended drawings. Understanding that these drawings
     Additionally described herein is a golf club head com-          depict only typical embodiments of the subject matter and
 prising a body. The body further comprises a heel portion, a 20 are not therefore to be considered to be limiting of its scope,
 sole portion, a toe portion, and a top portion, at least one        the subject matter will be described and explained with
 filler material, at least one port, and an internal cavity, the     additional specificity and detail through the use of the
 internal cavity is configured to receive the at least one filler    drawings, in which:
 material through the at least one port. A first COR drop off           FIG. 1 is a perspective view from a top of an iron-type
 value when the internal cavity is unfilled. A second COR 25 golf club head, according to one or more examples of the
 drop off value when the internal cavity is filled. A COR            present disclosure;
 change value being a difference between the second COR                 FIG. 2 is a front view of the golf club head of FIG. 1,
 drop off value and the first COR drop off value. The COR            according to one or more examples of the present disclosure;
 change value is greater than -0.1. The preceding subject               FIG. 3 is perspective view from a bottom of the golf club
 matter of this paragraph characterizes example 15 of the 30 head of FIG. 1, shown with a filler material removed from
 present disclosure.                                                 a sole slot, according to one or more examples of the present
     A plug at least partially covers the port. The preceding        disclosure;
 subject matter of this paragraph characterizes example 16 of           FIG. 4 is a perspective view from a bottom of the golf club
 the present disclosure, wherein example 16 also includes the        head of FIG. 1, shown with the filler material in the sole slot,
 subject matter according to example 15, above.                   35 according to one or more examples of the present disclosure;
     The COR change value is greater than -0.05. The pre-               FIG. 5 is an exploded perspective view from a top of the
 ceding subject matter of this paragraph characterizes               golf club head of FIG. 1, according to one or more examples
 example 17 of the present disclosure, wherein example 17            of the present disclosure;
 also includes the subject matter according to example 15,              FIG. 6 is a perspective view from a front of the golf club
 above.                                                           40 head of FIG. 1, shown with a strike plate removed, accord-
     The first COR drop off value is between 0 and -0.05. The        ing to one or more examples of the present disclosure;
 preceding subject matter of this paragraph characterizes               FIG. 7 is a bottom view of the golf club head of FIG. 1,
 example 18 of the present disclosure, wherein example 18            shown with the strike plate removed, according to one or
 also includes the subject matter according to example 17,           more examples of the present disclosure;
 above.                                                           45    FIG. 8 is a perspective view from a front of the strike plate
     The second COR drop off value is between 0 and -0.05.           of the golf club head of FIG. 1, according to one or more
 The preceding subject matter of this paragraph characterizes        examples of the present disclosure;
 example 19 of the present disclosure, wherein example 19               FIG. 9 is a perspective view from a back of the strike plate
 also includes the subject matter according to example 18,           of the golf club head of FIG. 1, according to one or more
 above.                                                           50 examples of the present disclosure;
     The at least one filler material is a thermoset. The pre-          FIG. 10 is cross-sectional perspective view from a heel
 ceding subject matter of this paragraph characterizes               side of the golf club head of FIG. 1, taken along the line
 example 20 of the present disclosure, wherein example 20            10-10 of FIG. 2, according to one or more examples of the
 also includes the subject matter according to example 19,           present disclosure;
 above.                                                           55    FIG. 11 is cross-sectional side elevation view from a heel
     The described features, structures, advantages, and/or          side of the golf club head of FIG. 1, taken along the line
 characteristics of the subject matter of the present disclosure     10-10 of FIG. 2, according to one or more examples of the
 may be combined in any suitable manner in one or more               present disclosure;
 embodiments and/or implementations. In the following                   FIG. 12 is a front view of an iron-type golf club head,
 description, numerous specific details are provided to impart 60 according to one or more examples of the present disclosure;
 a thorough understanding of embodiments of the subject                 FIG. 13 is an exploded perspective view from a front of
 matter of the present disclosure. One skilled in the relevant       the golf club head of FIG. 12, according to one or more
 art will recognize that the subject matter of the present           examples of the present disclosure;
 disclosure may be practiced without one or more of the                 FIG. 14 is a front view of an iron-type golf club head,
 specific features, details, components, materials, and/or 65 according to one or more examples of the present disclosure;
 methods of a particular embodiment or implementation. In               FIG. 15 is a front view of an iron-type golf club head,
 other instances, additional features and advantages may be
                                                                    116
                                                                     according to one or more examples of the present disclosure;
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.572             Page
                                                       88 of 241

                                                     US 11,351,426 B2
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    FIG. 16 is a front view of an iron-type golf club head,         non-welded and welded portions of the outer peripheral
 according to the prior art;                                        edge. As another example, the chrome plating often used to
    FIG. 17 is a front view of an iron-type golf club head,         plate a golf club head may crack or phantom lines may
 according to one or more examples of the present disclosure;       develop at the non-welded portions. Notwithstanding the
    FIG. 18 is a front view of an iron-type golf club head, 5 potential disadvantages of introducing non-welded portions
 according to one or more examples of the present disclosure;       of a strike plate, the ability to reduce stress risers along the
    FIG. 19 is a front view of an iron-type golf club head,         non-welded portions and promote the flex of the strike face
 according to one or more examples of the present disclosure;       through the use of non-welded portions, as discovered by the
    FIG. 20 is a side elevation view ofa metal-wood-type golf       inventors of the present disclosure, encourages the use of
 club head, according to one or more examples of the present 10 non-welded portions in the outer peripheral edge of a strike
 disclosure;                                                        plate.
    FIG. 21 is a cross-sectional side elevation view of the golf       Referring to FIGS. 1 and 2, one embodiment of a golf club
 club head of FIG. 19, taken along a midplane of the golf club      head 100 includes a body 102 and a strike plate 104 welded
 head, according to one or more examples of the present             to the body 102. The body 102 has a toe portion 114, a heel
 disclosure;                                                     15 portion 112, a top portion 116 (e.g., top-line portion for
    FIG. 22 is a cross-sectional side elevation view of an          iron-type golf club heads and crown portion for driver-type,
 iron-type golf club head having a hollow cavity, according         hybrid-type, and metal-wood-type golf club heads), and a
 to one or more examples of the present disclosure;                 sole portion 118 (e.g., bottom portion). The body 102
    FIG. 23 is a schematic flow chart of a method of making         additionally includes a hose! 108 extending from the heel
 a golf club head, according to one or more examples of the 20 portion 112. The hose! 108 is configured to receive and
 present disclosure;                                                engage with a shaft and grip 110 of a golf club 101. The shaft
    FIG. 24 is an exploded perspective view from a golf club        extends from the hose! 108 and the grip is secured to the
 head, according to one or more examples of the present             shaft at a location on the shaft opposite that of the golf club
 disclosure; and                                                    head 100. The strike plate 104 includes at least a portion of
    FIG. 25 is a cross-sectional view through the center face 25 a strike face 106 designed to impact a golf ball during a
 of the golf club head shown in FIG. 24, according to one or        normal golf swing. In some implementations, the strike plate
 more examples of the present disclosure.                           104 includes an entirety of the strike face 106. Generally, the
                                                                    strike plate 104 is defined as any piece of the golf club head
                  DETAILED DESCRIPTION                              100 that is welded to a body 102 of the golf club head 100
                                                                 30 and includes at least a portion of the strike face.
    The following describes embodiments of golf club heads             Generally, for many iron-type golf club heads, such as the
 in the context of an iron-type golf club and a metal-wood-         golf club head 100, the strike face 106 has a planar surface
 type golf club, but the principles, methods and designs            that is angled relative to a ground plane when the golf club
 described may be applicable in whole or in part to utility golf    head 100 is in an address position to define a loft of the golf
 clubs (also known as hybrid golf clubs), driver-type golf 35 club head 100. In other words, the strike face 106 of an
 clubs, putter-type golf clubs, and the like.                       iron-type golf club head generally does not include a curved
    The various embodiments of a golf club head described           surface. Accordingly, the strike face 106 of the strike plate
 herein utilizes a peripheral weld to secure a strike plate to a    104 of the iron-type golf club head 100 is defined as the
 body of the golf club head. Welding the strike plate to the        portion of the strike face 106 with an outwardly facing
 body of the golf club head, as opposed to integrally forming 40 planar surface. In other words, although a strike plate 104
 the strike plate and the body as a one-piece construction          may include a curved surface, such as an outer surface of a
 (such as by casting) allows the strike plate to be made from       sole wrap portion 122 of the strike plate 104, the strike face
 a different material or made by a different manufacturing          106 does not include such a curved surface. In contrast, the
 process than the body. Additionally, welding the strike plate      strike face of a metal-wood, driver, or hybrid golf club head
 to the body promotes the ability to make golf club head with 45 does have a curved surface that curves around a substantially
 unique and complex shapes and geometries. However, weld-           upright axis. Because the sole wrap portion 122 wraps
 ing together the strike plate and the body also introduces         around a substantially horizontal axis, the strike face of the
 certain consequences, such as the development of heat              strike plate of the metal-wood, driver, and hybrid golf club
 effected zones and stress risers in the weld, which ultimately     head is defined as the portion of the strike face 106 with an
 weakens the golf club head, and stiffness of the strike face 50 outwardly facing surface curved about an upright axis, as
 of the golf club head. The peripheral weld of the golf club        opposed to a horizontal axis.
 head disclosed herein introduces portions of the outer                The strike plate 104 further includes grooves 107 formed
 peripheral edge of the strike plate that are not welded to the     in the strike face 106 to promote desirable flight character-
 body, thereby increasing the strength of the golf club head        istics (e.g., backspin) of the golf ball upon being impacted
 compared to golf club heads with continuous or 360-degree 55 by the strike face 106.
 welds welding the strike plate to the body. Additionally,             Referring to FIG. 5, the strike plate 104 is formed
 introducing non-welded portions of the outer peripheral            separately from the body 102 and is separately attached to
 edge of the strike plate also promotes flex in the strike face     the body 102. The body 102 and the strike plate 104 can be
 of the golf club head, which promotes forgiveness and feel.        formed using the same type of process or different types of
    The discovered advantages of introducing non-welded 60 processes. In the illustrated embodiment, the body 102 is
 portions in the outer peripheral edge of the strike plate          formed to have a one-piece monolithic construction using a
 outweigh the potential negative consequences of such non-          first manufacturing process and the strike plate 104 is
 welded portions that would otherwise discourage the use of         formed to have a separate one-piece monolithic construction
 non-welded portions in the outer peripheral edge. For              using a second manufacturing process. However, in other
 example, non-welded portions in an outer peripheral edge of 65 embodiments, one or both of the body 102 and the strike
 a strike plate may increase the potential for rust at the          plate 104 has a multiple-piece construction with each piece
 non-welded portions and stress risers at the intersection of
                                                                   117
                                                                    being made from the same or a different material. Addition-
Case 3:24-cv-00212-AGS-VET                        Document 38-1               Filed 04/18/24             PageID.573             Page
                                                       89 of 241

                                                    US 11,351,426 B2
                               7                                                                  8
 ally, the body 102 can be formed of the same material as or        significant chromium to inhibit rust. The chromium aug-
 a different material than the strike plate 104. The body 102       ments hardenability despite the reduced nickel content,
 is made from a first material and the strike plate 104 is made     which ensures the steel can transform to martensite when
 from a second material. Separately forming and attaching           appropriately heat-treated. In another embodiment, a marag-
 together the body 102 and the strike plate 104 and making 5 ing stainless steel C455 is utilized as the strike plate 104. In
 the body 102 and the strike plate 104 from the same or             other embodiments, the strike plate 104 is a precipitation
 different materials, which allows flexibility in the types of      hardened stainless steel such as 17-4, 15-5, or 17-7.
 manufacturing processes and materials used, promotes the              The body 102 of the golf club head 100 is made from 17-4
 ability to make a golf club head 100 that achieves a wide          steel in one implementation. However another material, such
 range of performance, aesthetic, and economic results.          10 as carbon steel (e.g., 1020, 1030, 8620, or 1040 carbon
    In some implementations, the first manufacturing process        steel), chrome-molybdenum steel (e.g., 4140 Cr-Mo steel),
 is the same type of process as the second manufacturing            Ni-Cr-Mo steel (e.g., 8620 Ni-Cr-Mo steel), auste-
 process. For example, both the first and second manufac-           nitic stainless steel (e.g., 304, N50, or N60 stainless steel
 turing processes are casting processes in one implementa-          (e.g., 410 stainless steel) can be used.
 tion. As another example, both the first and second manu- 15          In addition to those noted above, some examples of metals
 facturing processes are forging processes in one                   and metal alloys that can be used to form the components of
 implementation. According to yet another example, both the         the parts described include, without limitation: titanium
 first and second manufacturing processes are machining             alloys (e.g., 3-2.5, 6-4, SP700, 15-3-3-3, 10-2-3, or other
 processes in one implementation.                                   alpha/near alpha, alpha-beta, and beta/near beta titanium
    However, in some other implementations, the first manu- 20 alloys), aluminum/aluminum alloys (e.g., 3000 series alloys,
 facturing process is a different type of process than the          5000 series alloys, 6000 series alloys, such as 6061-T6, and
 second manufacturing process. The first manufacturing pro-         7000 series alloys, such as 7075), magnesium alloys, copper
 cess is one of a casting process, a machining process, and a       alloys, and nickel alloys.
 forging process and the second manufacturing process is               In still other embodiments, the body 102 and/or the strike
 another of a casting process, a machining process, and a 25 plate 104 of the golf club head 100 are made from fiber-
 forging process in some examples. In one particular                reinforced polymeric composite materials, and are not
 example, the first manufacturing process is a casting process      required to be homogeneous. Examples of composite mate-
 and the second manufacturing process is a forging process.         rials and golf club components comprising composite mate-
 The first manufacturing process and/or the second manufac-         rials are described in U.S. patent application Ser. No.
 turing process can be a process as described in U.S. Pat. No. 30 13/111,715, filed May 19, 2011, which is incorporated
 9,044,653, which is incorporated herein in its entirety, such      herein by reference in its entirety.
 as hot press forging using a progressive series of dies and           The strike plate 104 is welded to the body 102 via a
 heat-treatment.                                                    peripheral weld 120. The peripheral weld 120 is peripherally
    Whether the first and second manufacturing processes are        discontinuous because it extends about less than all of the
 the same or different, the first material of the body 102 can 35 outer periphery of the strike plate 104 such that at least one
 be the same as or different than the second material of the        portion of the outer periphery of the strike plate 104 is not
 strike plate 104. A first material is different than a second      welded to the body 102. In other words, the peripheral weld
 material when the first material has a different composition       120 extends about only a portion of an outer peripheral edge
 than the second material. Accordingly, materials from the          133 of the strike plate 104. Accordingly, less than 360-
 same family, such as steel, but with different compositional 40 degrees of the outer peripheral edge 133 of the strike plate
 characteristics, such as different carbon constituencies, are      104 is welded to the body 102. The peripheral weld 120 can
 considered different materials. In one example, the first and      be considered a discontinuous weld because it has an ending
 second manufacturing processes are different, but the first        point that is different than its starting point.
 and second materials are the same. In contrast, according to          The portion or portions of the outer periphery of the strike
 another example, the first and second manufacturing pro- 45 plate 104 not being welded to the body 102 promotes an
 cesses are the same and the first and second materials are         increase in the flexibility of the strike plate 104 relative to
 different. According to yet another example, the first and         the body 102. As shown in FIG. 3, the entirety of the portion
 second manufacturing processes are different and the first         of the outer periphery of the strike plate 104 that defines the
 and second materials are different. In some implementations,       strike face 106 is welded to the body 102 via the peripheral
 the first and second materials are different, but come from 50 weld 120. Moreover, the portion of the outer periphery of the
 the same family of similar materials, such as steel. For           strike plate 104 not welded to the body 102 is located along
 example, the first material can be 8620 carbon steel and the       the sole wrap portion 122. More specifically, an outer
 second material can be 1025 carbon steel. The first material       peripheral edge 133, or perimeter, of the strike plate 104
 being within the same family as the second material pro-           defined along the sole wrap portion 122 of the strike plate
 motes the quality of the weld between the body 102 and the 55 104 is not welded to the body 102. In the embodiment shown
 strike plate 104.                                                  in FIG. 3, not only is the outer peripheral edge 133 of the
    The strike plate 104 can be made from maraging steel,           strike plate 104 not welded to the body 102, but the outer
 maraging stainless steel, or precipitation-hardened (PH)           peripheral edge 133 of the strike plate 104 is spaced apart
 stainless steel. In general, maraging steels have high             from the body 102 such that a gap is defined between the
 strength, toughness, and malleability. Being low in carbon, 60 outer peripheral edge 133 of the strike plate 104 and the
 they derive their strength from precipitation of inter-metallic    body 102. The gap defines a sole slot 126 of the golf club
 substances other than carbon. The principle alloying element       head 100. Generally, the sole slot 126 is a groove or channel
 is nickel (15% to nearly 30%). Other alloying elements             formed in a sole of the golf club head 100. The sole slot 126
 producing inter-metallic precipitates in these steels include      is elongate in a lengthwise direction substantially parallel to
 cobalt, molybdenum, and titanium. In one embodiment, the 65 the strike face 106 and has a length LSS (see, e.g., FIG. 3).
 maraging steel contains 18% nickel. Maraging stainless             As shown in FIGS. 1-11, in some implementations, the sole
 steels have less nickel than maraging steels but include
                                                                   118
                                                                    slot 126 is a through-slot, or a slot that is open on a sole
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.574             Page
                                                       90 of 241

                                                     US 11,351,426 B2
                               9                                                                  10
 portion side of the sole slot 126 and open on an internal           Generally, the plate interface 132 promotes attachment of
 cavity side or interior side of the sole slot 126. However, in      the strike plate 104 to the body 102 by supporting the strike
 other implementations, the sole slot 126 is not a through-          plate 104 against the body 102 and promoting the formation
 slot, but rather is closed on an internal cavity side or interior   of a peripheral weld 120 between the strike plate 104 and the
 side of the sole slot 126.                                        5 body 102. Accordingly, the plate interface 132 is formed
    The sole slot 126 can be any of various flexible boundary        along at least the portion or portions of the periphery of the
 structures (FBS) as described in U.S. Pat. No. 9,044,653,           plate opening 176 that will be welded to the strike plate 104.
 filed Mar. 14, 2013, which is incorporated by reference             In the illustrated embodiment of FIGS. 5 and 6, because the
 herein in its entirety. Additionally, or alternatively, the golf    strike plate 104 is not welded to the body 102 at the sole
 club head 100 can include one or more other FBS at any of 10 portion 118 of the body 102, the plate interface 132 does not
 various other locations on the golf club head 100.                  extend along the periphery of the plate opening 176 at the
    In some implementations, the sole slot 126 is filled with        sole portion 118 of the body 102. However, in the illustrated
 a filler material 128 (see, e.g., FIGS. 4 and 11). The filler       embodiment of FIGS. 5 and 6, because the peripheral weld
 material 128 is made from a non-metal, such as a thermo-            120 is formed between the strike plate 104 and the body 102
 plastic material, thermoset material, and the like, in some 15 continuously along the heel portion 112, the toe portion 114,
 implementations. In other implementations, the sole slot 126        and the top portion 116, the plate interface 132 is formed in
 is not filled with a filler material 128, but rather maintains an   and extends continuously along the portions of the periphery
 open, vacant, space within the sole slot 126.                       of the plate opening 176 at the heel portion 112, the toe
    According to one embodiments, the filler material 128 is         portion 114, and the top portion 116. According to other
 initially a viscous material that is injected or otherwise 20 embodiments, such as shown in FIGS. 12, 13, and 16-18,
 inserted into the sole slot 126. Examples of materials that         because the peripheral weld does not extend along one or
 may be suitable for use as a filler to be placed into a slot,       more portions of one or more of the heel portion 112, the toe
 channel, or other flexible boundary structure include, with-        portion 114, and the top portion 116, although not shown, an
 out limitation: viscoelastic elastomers; vinyl copolymers           plate interface may not be present along corresponding
 with or without inorganic fillers; polyvinyl acetate with or 25 portions of the periphery of the plate opening.
 without mineral fillers such as barium sulfate; acrylics;              Referring again to FIGS. 5 and 6, the plate interface 132
 polyesters; polyurethanes; polyethers; polyamides; polyb-           includes a rim 136 and a ledge 138. The rim 136 defines a
 utadienes; polystyrenes; polyisoprenes; polyethylenes; poly-        surface that faces an interior of the body 102 and the ledge
 olefins; styrene/isoprene block copolymers; hydrogenated            138 defines a surface that faces the front of the body 102.
 styrenic thermoplastic elastomers; metallized polyesters; 30 The rim 136 is transverse relative to the ledge 138.
 metallized acrylics; epoxies; epoxy and graphite compos-               The rim 136 is sized to be substantially flush against or
 ites; natural and synthetic rubbers; piezoelectric ceramics;        just off of the outer peripheral edge 133 of the strike plate
 thermoset and thermoplastic rubbers; foamed polymers;               104. The fit between the rim 136 of the plate interface 132
 ionomers; low-density fiber glass; bitumen; silicone; and           and the outer peripheral edge 133 of the strike plate 104
 mixtures thereof. The metallized polyesters and acrylics can 35 facilitates the butt welding together of the rim 136 of the
 comprise aluminum as the metal. Commercially available              body 102 and the outer peripheral edge 133 of the strike
 materials include resilient polymeric materials such as             plate 104 with the peripheral weld 120. In other words, the
 Scotchweld™ (e.g., DP-105™) and Scotchdamp™ from                    peripheral weld 120 is located between and welds together
 3M, Sorbothane™ from Sorbothane, Inc., DYAD™ and                    the rim 136 of the plate interface 132 and the outer periph-
 GP™ from Soundcoat Company Inc., Dynamat™ from 40 era! edge 133 of the strike plate 104. As shown in FIG. 6, the
 Dynamat Control of North America, Inc., NoViF!ex™                   rim 136 may extend beyond the plate interface 132, such as
 Sylomer™ from Pole Star Maritime Group, LLC, Isoplast™              along the sole portion 118 of the body 102, to facilitate
 from The Dow Chemical Company, Legetolex™ from Piqua                welding of the welded portions 134 of the outer peripheral
 Technologies, Inc., and Hybrar™ from the Kuraray Co., Ltd.          edge 133 located on the sole wrap portion 122.
 In some embodiments, a solid filler material may be press-fit 45       The peripheral weld 120 is formed using any of various
 or adhesively bonded into a slot, channel, or other flexible        welding techniques, such as those disclosed in U.S. Pat. No.
 boundary structure. In other embodiments, a filler material         8,353,785, which is incorporated herein by reference in its
 may poured, injected, or otherwise inserted into a slot or          entirety. Moreover, the characteristics and type (e.g., bead,
 channel and allowed to cure in place, forming a sufficiently        groove, fillet, surface, tack, plug, slot, friction, and resis-
 hardened or resilient outer surface. In still other embodi- 50 tance welds) of the peripheral weld 120 can be that same or
 ments, a filler material may be placed into a slot or channel       analogous to those described in U.S. Pat. No. 8,353,785. For
 and sealed in place with a resilient cap or other structure         example, in one implementation, the peripheral weld 120 is
 formed of a metal, metal alloy, metallic, composite, hard           formed using one or more of a tungsten inert gas (TIG) or
 plastic, resilient elastomeric, or other suitable material.         metal inert gas (MIG) welding technique. In other imple-
    Referring to FIGS. 5 and 6, the body 102 is configured to 55 mentations, the peripheral weld 120 is formed using one or
 receive the portions of an outer peripheral edge 133 of the         more of a laser welding technique or a plasma welding
 strike plate 104, to be welded to the body 102 via the              technique.
 peripheral weld 120, in seated engagement. More specifi-               The ledge 138 abuts a back surface of the strike plate 104
 cally, the body 102 includes a plate opening 17 6 defined           to support the strike plate 104 in place on the body 102.
 between the toe portion 114, the heel portion 112, the top 60 Additionally, the ledge 138, being abutted against the strike
 portion 116, and the sole portion 118 of the body 102.              plate 104, facilitates the transfer of ball-striking loads from
 Generally, the plate opening 176 receives the strike plate 104      the strike plate 104 to the body 102.
 and helps to secure the strike plate 104 to the body 102. The          Referring still to FIGS. 5 and 6, as well as FIGS. 10 and
 plate opening 176 extends from a front side of the body 102         11, the body 102 further includes a back portion 129 coupled
 to a back side of the body 102. The body 102 additionally 65 to and extending rearwardly from the sole portion 118. The
 includes a plate interface 132 formed in the body 102 along         back portion 129 is also coupled to and extends rearwardly
 at least a portion of the periphery of the plate opening 176.
                                                                   119
                                                                     from lower parts of the heel portion 112 and the toe portion
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.575             Page
                                                       91 of 241

                                                     US 11,351,426 B2
                              11                                                                  12
 114. The back portion 129 includes a sole bar 131, which is       134 of the outer peripheral edge 133 of the strike plate 104
 located in a low, rearward portion of the golf club head 100.     and the rim 136 of the body 102.
 The sole bar 131 has a relatively large thickness in relation        As shown in FIG. 10, a distance Dl between a first point
 to the strike plate and other portions of the golf club head      94 (which is the point at which the strike face 106 projects
 100, thereby accounting for a significant portion of the mass 5 onto the ground plane 96 when the golf club head 100 is in
 of the golf club head 100, and thereby shifting a center of       a proper address position on the ground plane 96) and a
 gravity (CG) of the golf club head 100 relatively lower and       second point 98 (which is the point at which a plane
 rearward. The back portion 129 also includes a lower shelf        bisecting the sole slot 126 projects onto the ground plane 96
 130 and an upper shelf 140 protruding forwardly of the sole       when the golf club head 100 is in a proper address position
 bar 131. The lower shelf 130 and the upper shelf 140 are 10
                                                                   on the ground plane 96) is between about 3.5 mm and about
 spaced rearwardly of the strike plate 104 such that a gap is
                                                                   8 mm in some implementations, and between about 4 mm
 defined between each of the lower shelf 130 and the upper
                                                                   and about 7 mm in other implementations.
 shelf 140 of the back portion 129. Defined between the
 lower shelf 130 and the upper shelf 140 is a portion of an            To effectively plug the sole slot 126, and prevent debris
 internal cavity 142, which may extend upwards to the top 15 (e.g., water, grass, dirt, etc.) from entering the internal cavity
 portion 116. In the illustrated implementation, the internal      142, the filler material 128 is located within the slot 126. The
 cavity 142 is open to the sole slot 126. The plate opening 176    filler material 128 may also help to achieve other desired
 is partially open to the back of the body 102.                    performance objectives, including desired changes to the
    Referring to FIG. 7, a slot edge 144 is formed in the sole     sound and feel of the club head by damping vibrations that
 portion 118 of the body 102. The slot edge 144 is elongate 20 occur when the club head strikes a golf ball. Because the
 and extends lengthwise along the sole portion 118 in a            filler material 128 does not fuse with either the body 102 or
 direction substantially parallel to the strike face 106. The      the strike plate 104, the filler material 128 is not considered
 slot edge 144 is open to or faces the plate opening 176.          a weld. Moreover, because the filler material 128 is consid-
 However, as shown, in some implementations, opposing              erably weaker than either the body 102 or the strike plate
 ends of the slot edge 144 may have a substantially button- 25 104, the filler material 128 is not considered a weld. Addi-
 hook shape such that opposing end portions of the slot edge       tionally, because the filler material 128 is a non-metal, it is
 144 face away from the plate opening 176.                         not considered a weld.
    Referring to FIGS. 8 and 9, the strike plate 104 has a back       According to some embodiments, a total peripheral length
 surface 154 that opposes the strike face 106. The strike plate    of the outer peripheral edge 133 of the strike plate 104 of the
 104 includes an inverted cone 152 protruding from the back 30 golf club head 100 is between about 185 mm and about 220
 surface 154. Generally, the inverted cone 152 is aligned with
                                                                   mm or between about 209 mm and about 214 mm. In some
 an ideal striking location on the strike face 106. The inverted
                                                                   embodiments, a height of the heel portion 112 of the body
 cone 152 promotes a larger sweet spot for the golf club head
                                                                   102 is between about 25 mm and about 27 mm. In certain
 100, which facilitates a reduction in loss of distance on
 mishits. The outer peripheral edge 133 extends along and 35       embodiments,     a height of the toe portion 114 of the body 102
 defines that outermost periphery of the strike plate 104. The     is between about 50 mm and about 52 mm. In yet some
 outer peripheral edge 133 of the strike plate 104 includes at     embodiments, a length of the sole portion 118 of the body
 least one welded portion 134 and at least one non-welded          102 is between about 58 mm and about 64 mm. According
 portion 150. In the illustrated embodiment of FIGS. 8 and 9,      to some embodiments, a total length of the body 102 is
 the welded portion 134 of the strike plate 104 is a continuous 40 between about 53 mm and about 65 mm. In certain embodi-
 edge that extends from one end of the non-welded portion          ments, a width of the sole portion 118 at the heel of the golf
 150, along the sole wrap portion 122, around the strike face      club head 100 is between about 10 mm and about 12 mm.
 106, and along an opposite end of the non-welded portion.             Referring now to FIGS. 12-15, respective embodiments of
 The non-welded portion 150 extends along an entire length         a golf club head 200, a golf club head 300, and a golf club
 of the sole wrap portion 122 and faces a direction that is 45 head 400 are shown. The respective golf club heads of FIGS.
 substantially perpendicular to that of the welded portion         12-15 are analogous to the golf club head 100 ofFIGS.1-11,
 134.                                                              with like numbers referring to like features. More specifi-
    Referring now to FIGS. 10 and 11, the sole wrap portion        cally, features of the golf club heads of FIGS. 12-15 that are
 122 effectively wraps around the sole portion 118 of the          analogous to features of the golf club head 100 have the
 body 102 to define a portion of the bottom of the golf club 50 same number, but in a different series (e.g., 200-series,
 head 100. Accordingly, the sole wrap portion 122 is angled        300-series, 400-series, etc.) format rather than the 100-series
 relative to the strike face 106. In the illustrated embodiment    format of the golf club head 100. Therefore, unless other-
 of FIGS. 10 and 11, the sole wrap portion 122 also effec-         wise noted, the description, including the structure, function,
 tively wraps around the lower shelf 130 of the back portion       and advantages, of the features of the golf club head 100
 129. The non-welded portion 150 of the outer peripheral 55 presented above are applicable to the analogous features of
 edge 133 of the strike plate 104 faces the slot edge 144 of       the respective golf club heads of FIGS. 12-15.
 the body 102. In one implementation, the non-welded por-              Like the golf club head 100 of FIGS. 1-11, each of the golf
 tion 150 is parallel to the slot edge 144 and has a length        club head 200, the golf club head 300, and the golf club head
 LNW (see, e.g., FIG. 3). The gap defined between the              400 includes at least one slot partially defined by a non-
 non-welded portion 150 of the outer peripheral edge 133 and 60 welded portion of a strike plate. However, unlike the golf
 the slot edge 144 defines the sole slot 126 of the golf club      club head 100 of FIGS. 1-11, the at least one slot of each of
 head 100. Accordingly, the non-welded portion 150 defines         the golf club head 200, the golf club head 300, and the golf
 a forward slot wall of the sole slot 126 and the slot edge 144    club head 400 is not a sole slot (e.g., a slot formed in the sole
 defines a rearward slot wall of the sole slot 126. There is no    portion of the golf club head). Rather, the slots of the golf
 weld between the non-welded portion 150 of the outer 65 club head 200, the golf club head 300, and the golf club head
 peripheral edge 133 of the strike plate 104 and the slot edge     400 are face slots (e.g., slots formed in or directly adjacent
 144. In contrast, there is a weld between the welded portion
                                                                   120
                                                                   the strike face of the golf club head). Additionally, although
Case 3:24-cv-00212-AGS-VET                        Document 38-1               Filed 04/18/24             PageID.576             Page
                                                       92 of 241

                                                    US 11,351,426 B2
                              13                                                                 14
 not shown, each of the face slots of the various illustrated     portion 418 of the golf club head 400 promotes flexibility
 embodiments described below can be filled with a filler          and deflection of the golf club head 400 for low off-center
 material.                                                        hits, which improves the performance of the golf club head
    For example, referring to FIGS. 12 and 13, the golf club      400.
 head 200 includes a face slot 260 at a toe portion 214 of the 5     Generally, each of the face slots of the various embodi-
 body 202 and a face slot 262 at a heel portion 212 of the        ments of a golf club head is a groove or channel formed in
 body 202. Each of the face slots 260, 262 is defined between     a portion of the face (e.g., adjacent a strike face) of the golf
 a respective non-welded portion 250 of the outer peripheral      club head. The face slots are elongate in a lengthwise
 edge 233 of the strike plate 204 and a respective slot edge      direction and each has a length LFS. Although the sole slots
 244 of the body 202. The remaining portions of the outer 10 and face slots of the present disclosure are substantially
 peripheral edge 233 of the strike plate 204 are welded           straight in the illustrated embodiments, in other embodi-
 portions welded to the body 202 via the peripheral weld 220.     ments, the sole slots and face slots can be curved or
 As shown, in one example, each of the non-welded portions        non-straight. As shown in FIGS. 12-15, in some implemen-
 250 of the outer peripheral edge 233 of the strike plate 204     tations, the face slots are through-slots, or slots that are open
 and the slot edges 244 of the body 202 define a groove 15 on a strike face side of the face slots and open on an internal
 formed into the respective outer peripheral edge 233 and the     cavity side or back side of the face slots. However, in other
 body 202. Opposing grooves of a non-welded portion 250           implementations, the face slots are not through-slots, but
 and a slot edge 244 together define a respective one of the      rather are closed on an internal cavity side or back side of the
 face slots 260, 262.                                             face slots.
    Different than the golf club head 100, the peripheral weld 20    Although FIGS. 12-15 illustrate golf club heads with
 220 is made up of two separate weld sections, as opposed to      several different configurations of face slots, it is recognized
 a single weld section as with the peripheral weld 120. Put       that golf club heads can have other configurations of face
 another way, the outer peripheral edge 233 of the strike plate   slots without departing from the essence of the present
 204 includes two welded portions separated from each other       disclosure. For example, a golf club head may have four
 by the two non-welded portions 250. The welded portions of 25 separate face slots, one at each of the heel portion, toe
 the peripheral weld 220 are located adjacent the top portion     portion, top portion, and sole portion of the golf club head.
 216 of the body 202 and the sole portion 218 of the body         Moreover, although the golf club heads illustrated in FIGS.
 202, respectively. The face slots 260, 262 at the heel portion   12-15 show a single face slot per respective heel, toe, top,
 212 and the toe portion 214, respectively, of the golf club      and sole portion of the golf club head, in other embodiments,
 head 200 promotes flexibility and deflection of the golf club 30 the golf club head includes two or more face slots at one or
 head 200 for heel-ward and toe-ward off-center hits, respec-     more of the heel, toe, top, and sole portions of the golf club
 tively, which improves the performance of the golf club head     head.
 200.                                                                Referring to FIGS. 16-19, various golf club heads are
    As another example, referring to FIG. 14, the golf club       shown with the placement of weld contours being empha-
 head 300 includes a face slot 360 at a toe portion 314 of the 35 sized by heavier or darker lines. Each of the golf club heads
 body 302, a face slot 362 at a heel portion 312 of the body      includes a strike plate that is welded to a body. Moreover, the
 302, and a face slot 364 at a top portion 316 of the body 302.   golf club heads 500B-D are analogous to the golf club head
 Each of the face slots 360, 362, 364 is defined between a        100, with like numbers referring to like features. More
 respective non-welded portion 350 of the outer peripheral        specifically, features of the golf club heads of FIGS. 17-19
 edge 333 of the strike plate 304 and a respective slot edge 40 that are analogous to features of the golf club head 100 have
 344 of the body 302. The remaining portions of the outer         the same number, but in a different series (e.g., 500-series)
 peripheral edge 333 of the strike plate 304 are welded           format rather than the 100-series format of the golf club head
 portions welded to the body 302 via the peripheral weld 320.     100. Therefore, unless otherwise noted, the description,
 Different than the golf club head 200, the peripheral weld       including the structure, function, and advantages, of the
 320 is made up of three separate weld sections, as opposed 45 features of the golf club head 100 presented above are
 to two weld sections as with the peripheral weld 220. Put        applicable to the analogous features of the respective golf
 another way, the outer peripheral edge 333 of the strike plate   club heads of FIGS. 17-19.
 304 includes three welded portions separated from each              A representation of a conventional golf club head 500A is
 other by the three non-welded portions 350. The welded           shown in FIG. 16. The golf club head 500Ahas a continuous
 portions of the peripheral weld 320 are located adjacent the 50 weld 520A or a weld that extends around 360-degrees of the
 sole portion 318 of the body 202, adjacent an intersection of    outer peripheral edge of the strike plate 504A. In contrast,
 the toe portion 314 and top portion 316, and adjacent an         the golf club head 500B shown in FIG. 17 has a peripheral
 intersection of the heel portion 312 and the top portion 316,    weld 520B or a weld that does not extend around 360-
 respectively. The face slots 360, 362, 364 at the heel portion   degrees of the outer peripheral edge 533B of the strike plate
 312, toe portion 314, and top portion 316, respectively, of 55 504B. More specifically, the peripheral weld 520B extends
 the golf club head 300 promotes flexibility and deflection of    about only a portion (e.g., a portion adjacent the top portion
 the golf club head 200 for heel-ward, toe-ward, and high         516B and a portion adjacent the sole portion 518B) of the
 off-center hits, respectively, which improves the perfor-        outer peripheral edge 533B of the strike plate 504B. Accord-
 mance of the golf club head 200.                                 ingly, the outer peripheral edge 533B includes two welded
    According to another example, referring to FIG. 15, the 60 portions 534B each adjacent a respective one of the top
 golf club head 400 includes a face slot 466 at a sole portion    portion 516B and the sole portion 518B. The remaining
 418 of the body 202. The face slot 266 is defined between        portions of the outer peripheral edge 533B of the strike plate
 a non-welded portion 450 of the outer peripheral edge 433        504B are non-welded portions 550B located adjacent the
 of the strike plate 404 and a slot edge 444 of the body 402.     heel portion 512B and toe portion 514B, respectively, of the
 The remaining portions of the outer peripheral edge 433 of 65 body 502B.
 the strike plate 404 are welded portions welded to the body         Like the golf club head 500B shown in FIG. 17, the golf
 402 via the peripheral weld 420. The face slot 466 at the sole
                                                                   121
                                                                  club head 500C of FIG. 18 has a peripheral weld 520C or a
Case 3:24-cv-00212-AGS-VET                         Document 38-1                Filed 04/18/24             PageID.577              Page
                                                        93 of 241

                                                     US 11,351,426 B2
                               15                                                                   16
 weld that does not extend around 360-degrees of the outer              Based on the foregoing, a ratio of the total length of the
 peripheral edge 533C of the strike plate 504C. However,             welded portion( s) 134 of the outer peripheral edge 133 to the
 unlike the golf club head 500B, the peripheral weld 520C of         total peripheral length of the strike plate 104 is less than one.
 the golf club head SOOC includes multiple welded portions           In some implementations, the ratio of the total length of the
 at each of the heel portion 512C, the toe portion 514C, the 5 welded portion( s) 134 of the outer peripheral edge 133 to the
 top portion 516C, and the sole portion 518C of the body             total peripheral length of the strike plate 104 is between
 502C. Accordingly, the outer peripheral edge 533C includes          about 0.40 and about 0.94. In yet certain implementations,
 at least two welded portions 534C adjacent each of the heel         the ratio of the total length of the welded portion( s) 134 of
 portion 512C, the toe portion 514C, the top portion 516C,           the outer peripheral edge 133 to the total peripheral length
 and the sole portion 518C of the body 502C. The remaining 10
                                                                     of the strike plate 104 is between about 0.45 and about 0.80.
 portions of the outer peripheral edge 533C of the strike plate
                                                                     According to further implementations, the ratio of the total
 504C are non-welded portions 550C where at least two
                                                                     length of the welded portion(s) 134 of the outer peripheral
 non-welded portions 550C are located adjacent each of the
 heel portion 512C, the toe portion 514C, the top portion            edge  133 to the total peripheral length of the strike plate 104
 516C, and the sole portion 518C of the body 502C. The 15 is between about 0.70 and about 0.75.
 peripheral weld 520C can be described to have a stich                  Referring to FIG. 17, for example, in some embodiments,
 pattern about the strike plate 504C.                                the length LW of each welded portion 534B of the outer
    Similar to the golf club head 500B of FIG. 17, the golf          peripheral edge 533B is more than the length LNW of each
 club head SOOD shown in FIG. 18 has a peripheral weld               non-welded portion 550B of the outer peripheral edge 533B.
 520D or a weld that does not extend around 360-degrees of 20 However, in other embodiments, such as shown in FIG. 19,
 the outer peripheral edge 533D of the strike plate 504D.            for example, the length LW of each welded portion 534D of
 However, the peripheral weld 520D is configured such that           the outer peripheral edge 533D is less than the length LNW
 the outer peripheral edge 533D of the strike plate 504D             of each non-welded portion 550D of the outer peripheral
 includes four welded portions 534B each at a respective one         edge 533D. As also shown in FIG. 19, for example, in
 of four corners the outer peripheral edge 533D. The remain- 25 certain embodiments, at least two (e.g., all in some imple-
 ing portions of the outer peripheral edge 533D of the strike        mentations) of the welded portions 534D of the outer
 plate 504D are non-welded portions 550D each located                peripheral edge 533D have different lengths. However, in
 adjacent a respective one of the heel portion 512D, toe             other embodiments, such as shown in FIG. 18, for example,
 portion 514D, top portion 516D, and sole portion 518D,              at least two of the welded portions 534C of the outer
 respectively, of the body 502D.                                  30 peripheral edge 533C have the same length. According to
    Although the golf club heads 500B-D are not shown to             some implementations, all of the welded portions 534C of
 have face slots like the respective golf club heads 200, 300,       the outer peripheral edge 533C have the same length.
 400 of FIGS. 12-15, it is recognized that at any one or more           Referring now to FIGS. 20 and 21, another embodiment
 of the non-welded portions of the outer peripheral edge of          of a golf club head 600 is shown. The golf club head 600 is
 the strike plate of the golf club heads 500B-D of FIGS. 35 analogous to the golf club head 100, with like numbers
 17-19, the golf club head can include a face slot that is           referring to like features. More specifically, features of the
 partially defined by a corresponding one of the non-welded          golf club head 600 of FIGS. 20 and 21 that are analogous to
 portions.                                                           features of the golf club head 100 have the same number, but
    Referring to the golf club head 100 of FIGS. 1-11 and            in a different series (e.g., 600-series) format rather than the
 17-19, but applicable to all embodiments of the golf club 40 100-series format of the golf club head 100. Therefore,
 head of the present disclosure, the outer peripheral edge 133       unless otherwise noted, the description, including the struc-
 of the strike plate 104 has a total peripheral length. The total    ture, function, and advantages, of the features of the golf
 peripheral length of the outer peripheral edge 133 is defined       club head 100 presented above are applicable to the analo-
 as the distance, circumferentially along the outer peripheral       gous features of the golf club head 600 of FIGS. 20 and 21.
 edge 133, between a starting point and an ending point at the 45       In contrast to the golf club head 100, which is an iron-type
 same location as the starting point. Similarly, the peripheral      golf club head, the golf club head 600 is a metal-wood-type
 weld 120 has a total weld length. For a peripheral weld 120         golf club head or a driver-type golf club head. Accordingly,
 that has multiple weld segments or sections, the total weld         the body 602 and strike plate 604 of the golf club head 600
 length of the peripheral weld 120 is defined as the sum of the      define an internal cavity 642 that is much larger than the
 individual weld lengths of the weld segments. Moreover, the 50 internal cavity 142. For example, the internal cavity 642
 individual length of a weld segment is equal to the individual      facilitates a displaced volume of the golf club head 600
 length LW of the welded portion 134 of the outer peripheral         between about 120 cm2 and 200 cm2 in one implementation.
 edge 133 defined by the weld segment. Accordingly, the              However, in some implementations, the golf club head 60
 total weld length of the peripheral weld 120 is equal to a total    can be configured to have a head volume between about 110
 length of the welded portion 134 of the outer peripheral edge 55 cm3 and about 600 cm 3 . In more particular implementations,
 133 of the strike plate 104. For an outer peripheral edge 133       the head volume may be between about 250 cm3 and about
 that has multiple welded portions 134, the total length of the      500 cm3 • In yet more specific implementations, the head
 welded portion 134 is defined as the sum of the individual          volume may be between about 300 cm3 and about 500 cm3 ,
 lengths LW of the welded portions 150. Correspondingly, a           between about 300 cm3 and about 360 cm3 , between about
 total length of the non-welded portion 150 of the outer 60 300 cm 3 and about 420 cm3 or between about 420 cm3 and
 peripheral edge 133 is equal to the difference between the          about 500 cm3 • The golf club head 600 may have a volume
 total peripheral length of the outer peripheral edge 133 and        between about 300 cm 3 and about 460 cm3 , and a total mass
 the total length of the welded portion 134 of the outer             between about 145 g and about 245 g. Alternatively, the golf
 peripheral edge 133. For an outer peripheral edge 133 that          club head may have a volume between about 100 cm3 and
 has multiple non-welded portions 150, the total length of the 65 about 250 cm3 , and a total mass between about 145 g and
 non-welded portion 150 is defined as the sum of the indi-           about 260 g. In some implementations where the golf club
 vidual lengths LNW of the non-welded portions 150.
                                                                    122
                                                                     head 600 is configured as a hybrid golf club head, the golf
Case 3:24-cv-00212-AGS-VET                        Document 38-1                Filed 04/18/24             PageID.578              Page
                                                       94 of 241

                                                     US 11,351,426 B2
                              17                                                                   18
 club head 600 may have a volume between about 60 cm3 and             portion). The body 802 additionally includes a hose! extend-
 about 150 cm3 , and a total mass between about 145 g and             ing from the heel portion. The hose! is configured to receive
 about 280 g.                                                         and engage with a shaft and grip of a golf club. The body
    The outer peripheral edge 633 of the strike plate 604 has         may further include a slot edge 844 formed in the sole
 a welded portion 634, welded to the body 602, and a 5 portion, and a sole slot 826 formed in the sole portion, as
 non-welded portion 650 that is not welded to the body 602.           described above. The strike plate 804 includes at least a
 Rather, the non-welded portion 650 faces and is spaced apart         portion of a strike face 806 designed to impact a golf ball
 from a slot edge 644 of the body 602 to define a sole slot 626       during a normal golf swing. In some implementations, the
 of the golf club head 600. As shown in FIG. 20, the sole slot        strike plate 804 includes an entirety of the strike face 806.
 626 can be filled with a non-metal filler material 628.           10 Generally, the strike plate 804 is defined as any piece of the
    Although the illustrated embodiments show iron-type golf          golf club head 800 that includes at least a portion of the
 club heads and metal-wood-type golf club heads, it is                strike face.
 recognized that the features, functions, and advantages asso-           The body 802 is configured to receive the portions of an
 ciated with the iron-type golf club heads and metal-wood-            outer peripheral edge 833 of the strike plate 804, to be
 type golf club heads also applies to hybrid-type golf club 15 welded to the body 802 via the peripheral weld 820. More
 heads, driver-type golf club heads, and putter-type golf club        specifically, the body 802 includes a plate opening 876
 heads.                                                               defined between the toe portion 814, the heel portion 812,
    As presented above, a ratio of the total length of the            the top portion 816, and the sole portion 818 of the body 802.
 welded portion( s) 634 of the outer peripheral edge 633 to the       As described above, the outer peripheral edge 833 of the
 total peripheral length of the strike plate 604 is less than one. 20 strike plate 804 may include at least one welded portion 834
 In some implementations, the ratio of the total length of the        and at least one non-welded portion 850.
 welded portion( s) 634 of the outer peripheral edge 633 to the          The fit between the rim 836 of the plate interface 832 and
 total peripheral length of the strike plate 604 is between           the outer peripheral edge 833 of the strike plate 804 facili-
 about 0.40 and about 0.94. In yet certain implementations,           tates the butt welding together of the rim 836 of the body 802
 the ratio of the total length of the welded portion( s) 634 of 25 and the outer peripheral edge 833 of the strike plate 804 with
 the outer peripheral edge 633 to the total peripheral length         the peripheral weld 820. As described above, the strike plate
 of the strike plate 604 is between about 0.45 and about 0.80.        804 may include a sole wrap portion 822 that effectively
 In one implementation, the ratio of the total length of the          wraps around the sole portion 818 of the body 802 to define
 welded portion( s) 634 of the outer peripheral edge 633 to the       a portion of the bottom of the golf club head 800. Addition-
 total peripheral length of the strike plate 604 is about 0.625. 30 ally or alternatively, the sole wrap portion 822 may effec-
 According to further implementations, the ratio of the total         tively wrap around the lower shelf 830 of the back portion
 length of the welded portion(s) 634 of the outer peripheral          829.
 edge 633 to the total peripheral length of the strike plate 604         As described above and as shown in FIG. 22, the back
 is between about 0.70 and about 0.75.                                portion 829 may include a sole bar 831, which is located in
    According to some embodiments of a golf club head with 35 a low, rearward portion of the golf club head 800. The sole
 a sole slot, the length LSS of the sole slot is between about        bar 831 has a relatively large thickness in relation to the
 50 mm and about 65 mm. In one implementation, the length             strike plate and other portions of the golf club head 800,
 LSS of the sole slot is between about 50 mm and about 60             thereby accounting for a significant portion of the mass of
 mm. In another implementation, the length LSS of the sole            the golf club head 800, and thereby shifting a center of
 slot is between about 55 mm and about 65 mm.                      40 gravity (CG) of the golf club head 800 relatively lower and
    In some embodiments of a golf club head with a face slot          rearward. The back portion 829 also includes a lower shelf
 at the heel of the golf club head, the length LFS of the face        830 and an upper shelf 840 protruding forwardly of the sole
 slot at the heel is between about 16 mm and about 19 mm.             bar 831. The lower shelf 830 and the upper shelf 840 are
 In some embodiments of a golf club head with a face slot at          spaced rearwardly of the strike plate 804 such that a gap is
 the toe of the golf club head, the length LFS of the face slot 45 defined between each of the lower shelf 830 and the upper
 at the toe is between about 33 mm and about 40 mm. In                shelf 840 of the back portion 829. Defined between the
 certain implementations, the length LFS of the face slot at          lower shelf 830 and the upper shelf 840 is a portion of an
 the toe is between about 33 mm and about 37 mm.                      internal cavity 842, which may extend upwards to the top
    Referring now to FIG. 22, one embodiment of a golf club           portion 816. In the illustrated implementation, the internal
 head 800 is shown. The golf club head 800 of FIG. 22 is 50 cavity 842 is open to the sole slot 826. The plate opening 876
 analogous to the golf club head 100 of FIGS. 1-11, with like         is partially open to the back of the body 802.
 numbers referring to like features. More specifically, fea-             As opposed to the golf club head 100 of FIGS. 1-11,
 tures of the golf club head 800 of FIG. 22 that are analogous        which illustrates a cavity-back or muscle-back type golf club
 to features of the golf club head 100 have the same number,          head, the golf club head 800 of FIG. 22 is a hollow-cavity-
 but in a different series (e.g., 800-series) format rather than 55 type golf club head. More specifically, while the internal
 the 100-series format of the golf club head 100. Therefore,          cavity 142 and the back surface 154 of the strike plate 104
 unless otherwise noted, the description, including the struc-        of the golf club head 100 are not enclosed, but rather are
 ture, function, and advantages, of the features of the golf          open to a rear of the golf club head 100, the internal cavity
 club head 100 presented above are applicable to the analo-           842 and the back surface 854 of the strike plate 804 of the
 gous features of the golf club head 800 of FIG. 22.               60 golf club head 800 are enclosed or closed to a rear of the golf
    As described above and as shown in FIG. 22, one embodi-           club head 800. The back portion 829 of the golf club head
 ment of a golf club head 800 includes a body 802 and a strike        800 further includes a rear wall 877 that encloses a rearward
 plate 804 which may be welded to the body 802. The body              side of the internal cavity 842. The golf club head 800
 802 has a toe portion, a heel portion, a top portion 816 (e.g.,      having a hollow internal cavity 842 provides several advan-
 top-line portion for iron-type golf club heads and crown 65 tages, such as an increased forgiveness for off-center hits on
 portion for driver-type, hybrid-type, and metal-wood-type            the strike face 806 of the strike plate 804. In some embodi-
 golf club heads), and a sole portion 818 (e.g., bottom
                                                                    123
                                                                      ments, the volume of the golf club head 800 is between
Case 3:24-cv-00212-AGS-VET                           Document 38-1                 Filed 04/18/24               PageID.579               Page
                                                          95 of 241

                                                        US 11,351,426 B2
                                19                                                                      20
 about 10 cm3 and about 120 cm3 . For example, in some               structure formed of a metal, metal alloy, metallic, composite,
 embodiments, the golf club head 800 has a volume between            hard plastic, resilient elastomeric, or other suitable material.
 about 20 cm 3 and about 110 cm3 , such as between about 30          In one embodiment, the plug 905 is a metallic plug that can
 cm3 and about 100 cm3 , such as between about 40 cm3 and            be made from steel, aluminum, titanium, or a metallic alloy.
 about 90 cm3 , such as between about 50 cm3 and about 80 5 In one embodiment, the plug 905 is an anodized aluminum
 cm3 , and such as between about 60 cm3 and about 80 cm3 .           plug that is colored a red, green, blue, gray, white, orange,
 In addition, in some embodiments, the golf club head 800            purple, black, clear, yellow, or metallic color. In one embodi-
 has an overall depth that is between about 15 mm and about          ment, the plug 905 is a different or contrasting color from the
 100 mm. For example, in some embodiments, the golf club             majority color located on the club head body 900.
 head 800 has an overall depth between about 20 mm and 10               In some embodiments, the filler material includes a slight
 about 90 mm, such as between about 30 mm and about 80               recess or depression 903 that accommodates the variable
 mm and such as between about 40 mm and about 70 mm.                 face thickness of the striking plate 904. In other words, the
     Other examples of cavity-back, muscle-back, and hollow-         recess or depression 903 located in the filler material 901
 cavity iron-type golf club heads are described in U.S. patent       mates or is keyed with a thickened portion of the striking
 application Ser. No. 14/981,330, filed Dec. 28, 2015, which 15 plate 904. In one embodiment, the thickened portion of the
 is incorporated herein by reference.                                striking plate 904 occurs at the center of the striking plate
     In some implementations, the golf club head 800 includes        904.
 weighted elements, such as a tungsten plug 896, located at             In one embodiment, the golf club head 900 includes a
 least partially within the internal cavity 842 in some imple-       recess 909 that allows the weight 996 to be located. Once the
 mentations. Additionally, the body of the golf club heads of 20 weight 996 is positioned within the recess 909 and the strike
 the present disclosure can include various features such as         plate 904 has been attached, the filler material 901 is injected
 weighting elements, cartridges, and/or inserts or applied           through the port 907 and sealed with the plug 905.
 bodies as used for CG placement, vibration control or                  In one embodiment, the filler material 901 has a minor
 damping, or acoustic control or damping. For example, U.S.          impact on the coefficient of restitution (herein "COR") as
 Pat. No. 6,811,496, incorporated herein by reference in its 25 measured according to the United States Golf Association
 entirety, discloses the attachment of mass altering pins or         (USGA) rules set forth in the Procedure for Measuring the
 cartridge weighting elements.                                       Velocity Ratio of a Club Head for Conformance to Rule
     In one embodiment, the golf club of FIG. 24 has an              4-le, Appendix II Revision 2 Feb. 8, 1999, herein incorpo-
 internal cavity 942 that is partially or entirely filled with a     rated by reference in its entirety.
 filler material 901.                                             30    Table 1 below provides examples of the COR change
     In some implementations, the filler material 901 is made        relative to a calibration plate of multiple club heads of the
 from a non-metal, such as a thermoplastic material, thermo-         construction shown in FIG. 24 in both a filled and unfilled
 set material, and the like, in some implementations. In other       state. The calibration plate dimensions and weight are
 implementations, the internal cavity 842 is not filled with a       described in section 4.0 of the Procedure for Measuring the
 filler material 901, but rather maintains an open, vacant, 35 Velocity Ratio of a Club Head for Conformance to Rule
 cavity within the club head.                                        4-le.
     According to one embodiments, the filler material 901 is           Due to the slight variability between different calibration
 initially a viscous material that is injected or otherwise          plates, the values described below are described in terms of
 inserted into the club head through an injection port 907           a change in COR relative to a calibration plate base value.
 located on the toe portion of the club head. The injection port 40 For example, if a calibration plate has a 0.831 COR value,
 907 can be located anywhere on the club head 900 including          Example 1 for an un-filled head has a COR value of -0.019
 the top line, sole, heel, or toe. Examples of materials that may    less than 0.831 which would give Example 1 (Unfilled) a
 be suitable for use as a filler material 901 to be placed into      COR value of 0.812. The change in COR for a given head
 a club head include, without limitation: viscoelastic elasto-       relative to a calibration plate is accurate and highly repeat-
 mers; vinyl copolymers with or without inorganic fillers; 45 able.
 polyvinyl acetate with or without mineral fillers such as
 barium sulfate; acrylics; polyesters; polyurethanes;                                             TABLE 1
 polyethers; polyamides; polybutadienes; polystyrenes; poly-
 isoprenes; polyethylenes; polyolefins; styrene/isoprene                           COR Values Relative to a Calibration Plate
 block copolymers; hydrogenated styrenic thermoplastic 50
                                                                                      Unfilled COR         Filled COR          COR Change
 elastomers; metallized polyesters; metallized acrylics; epox-                          Relative to        Relative to        Between Filled
 ies; epoxy and graphite composites; natural and synthetic             Example No.   Calibration Plate   Calibration Plate     and Unfilled
 rubbers; piezoelectric ceramics; thermoset and thermoplas-
                                                                                          -0.019              -0.022             -0.003
 tic rubbers; foamed polymers; ionomers; low-density fiber                   2            -0.003              -0.005             -0.002
 glass; bitumen; silicone; and mixtures thereof. The metal- 55               3            -0.006              -0.010             -0.004
 lized polyesters and acrylics can comprise aluminum as the                  4            -0.006              -0.017             -0.011
 metal. Commercially available materials include resilient                   5            -0.026              -0.028             -0.002
                                                                             6            -0.007              -0.017             -0.01
 polymeric materials such as Scotchweld™ (e.g., DP-105™)                     7            -0.013              -0.019             -0.006
 and Scotchdamp™ from 3M, Sorbothane™ from Sorboth-                          8            -0.007              -0.007               0
 ane, Inc., DYAD™ and GP™ from Soundcoat Company 60                          9            -0.012              -0.014             -0.002
 Inc., Dynamat™ from Dynamat Control of North America,                      10            -0.020              -0.022             -0.002
                                                                          Average         -0.0119             -0.022             -0.002
 Inc., NoViFiex™ Sylomer™ from Pole Star Maritime
 Group, LLC, Isoplast™ from The Dow Chemical Company,
 Legetolex™ from Piqua Technologies, Inc., and Hybrar™                  Table 1 illustrates that before the filler material 901 is
 from the Kuraray Co., Ltd. In still other embodiments, the 65 introduced into the cavity 942 of golf club head 900, an
 filler 901 material may be placed into the club head 900 and        Unfilled COR drop off relative to the calibration plate (or
 sealed in place with a plug 905, or resilient cap or other
                                                                       124
                                                                     first COR drop off value) is between O and -0.05, between
Case 3:24-cv-00212-AGS-VET                         Document 38-1                Filed 04/18/24             PageID.580              Page
                                                        96 of 241

                                                     US 11,351,426 B2
                               21                                                                   22
 0 and -0.03, between -0.00001 and -0.03, between                     Filled and Unfilled states of between 0 and -0.1, between 0
 -0.00001 and -0.025, between -0.00001 and -0.02,                     and -0.05, between 0 and -0.04, between 0 and -0.03,
 between -0.00001 and -0.015, between -0.00001 and                    between 0 and -0.02, between 0 and -0.01, between 0 and
 -0.01, or between -0.00001 and -0.005.                               -0.009, between 0 and -0.008, between 0 and -0.007,
    In one embodiment, the average COR drop off or loss 5 between 0 and -0.006, between 0 and -0.005, between 0 and
 relative to the calibration plate for a plurality of Unfilled        -0.004, between 0 and -0.003, or between 0 and -0.002.
 COR golf club head within a set of irons is between 0 and               In other embodiments, an average of a plurality of iron
 -0.05, between 0 and -0.03, between -0.00001 and -0.03,              golf clubs in the set has a change in COR between the Filled
 between -0.00001 and -0.025, between -0.00001 and                    and Unfilled states of between 0 and -0.1, between 0 and
 -0.02, between -0.00001 and -0.015, or between -0.00001 10 -0.05, between 0 and -0.04, between 0 and -0.03, between
 and -0.01.                                                           0 and -0.02, between 0 and -0.01, between 0 and -0.009,
    Table 1 further illustrates that after the filler material 901    between 0 and -0.008, between 0 and-0.007, between 0 and
 is introduced into the cavity 942 of golf club head 900, a           -0.006, between 0 and -0.005, between 0 and -0.004,
 Filled COR drop off relative to the calibration plate (or            between 0 and -0.003, or between 0 and -0.002.
 second COR drop off value) is more than the Unfilled COR 15             FIG. 25 illustrates a cross-sectional view through the
 drop off relative to the calibration plate. In other words, the      center face of the golf club head shown in FIG. 24. The filler
 addition of the filler material 901 in the Filled COR golf club      material 901 fills the cavity 942 located above the sole slot
 heads slows the ball speed (Vout-Velocity Out) after                 926. The recess or depression 903 engages with the thick-
 rebounding from the face by a small amount relative to the           ened portion of the striking plate 904.
 rebounding ball velocity of the Unfilled COR heads.               20    In some embodiments, the filler material 901 is a two part
    In some embodiments shown in Table 1, the COR drop off            polyurethane foam that is a thermoset and is flexible after it
 or loss relative to the calibration plate for a Filled COR golf      is cured. In one embodiment, the two part polyurethane
 club head is between 0 and -0.05, between 0 and -0.03,               foam is any methylene diphenyl diisocyanate (a class of
 between -0.00001 and -0.03, between -0.00001 and                     polyurethane prepolymer) or silicone based flexible or rigid
 -0.025, between -0.00001 and -0.02, between -0.00001 25 polyurethane foam.
 and -0.015, between -0.00001 and -0.01, or between                      Referring now to FIG. 23, referring to one embodiment,
 -0.00001 and -0.005.                                                 a method 700 of making a golf club head, such as the golf
    In one embodiment, the average COR drop off or loss               club heads described herein, includes peripherally discon-
 relative to the calibration plate for a plurality of Filled COR      tinuously welding an outer peripheral edge of a strike plate
 golf club head within a set of irons is between 0 and -0.05, 30 to a body with the strike plate located between a heel
 between 0 and -0.03, between -0.00001 and -0.03, between             portion, a sole portion, a toe portion, and a top portion of the
 -0.00001 and -0.025, between -0.00001 and -0.02,                     body at 702. Additionally, the method 700 includes filling a
 between -0.00001 and -0.015, between -0.00001 and                    gap between the outer peripheral edge of the strike plate and
 -0.01, or between -0.00001 and -0.005.                               the body with a filler material at 704.
    However, the amount of COR loss or drop off for a Filled 35          Reference throughout this specification to "one embodi-
 COR head is minimized when compared to other construc-               ment," "an embodiment," or similar language means that a
 tions and filler materials. The last colunm of Table 1               particular feature, structure, or characteristic described in
 illustrates a COR change between the Unfilled and Filled             connection with the embodiment is included in at least one
 golf club heads which are calculated by subtracting the              embodiment of the present disclosure. Appearances of the
 Unfilled COR from the Filled COR table colunms. The 40 phrases "in one embodiment," "in an embodiment," and
 change in COR (COR change value) between the Filled and              similar language throughout this specification may, but do
 Unfilled club heads is between 0 and -0.1, between 0 and             not necessarily, all refer to the same embodiment. Similarly,
 -0.05, between 0 and -0.04, between 0 and -0.03, between             the use of the term "implementation" means an implemen-
 0 and -0.025, between 0 and -0.02, between 0 and -0.015,             tation having a particular feature, structure, or characteristic
 between 0 and -0.01, between 0 and -0.009, between 0 and 45 described in connection with one or more embodiments of
 -0.008, between 0 and -0.007, between 0 and -0.006,                  the present disclosure, however, absent an express correla-
 between 0 and -0.005, between 0 and -0.004, between 0 and            tion to indicate otherwise, an implementation may be asso-
 -0.003, or between 0 and -0.002. Remarkably, one club                ciated with one or more embodiments.
 head was able to achieve a change in COR of zero between                The schematic flow chart diagrams included herein are
 a filled and unfilled golf club head. In other words, no 50 generally set forth as logical flow chart diagrams. As such,
 change in COR between the Filled and Unfilled club head              the depicted order and labeled steps are indicative of one
 state. In some embodiments, the COR change value is                  embodiment of the presented method. Other steps and
 greater than -0.1, greater than -0.05, greater than -0.04,           methods may be conceived that are equivalent in function,
 greater than -0.03, greater than -0.02, greater than -0.01,          logic, or effect to one or more steps, or portions thereof, of
 greater than -0.009, greater than -0.008, greater than 55 the illustrated method. Additionally, the format and symbols
 -0.007, greater than -0.006, greater than -0.005, greater            employed are provided to explain the logical steps of the
 than -0.004, or greater than -0.003.                                 method and are understood not to limit the scope of the
    In some embodiments, at least one, two, three or four iron        method. Although various arrow types and line types may be
 golf clubs out of an iron golf club set has a change in COR          employed in the flow chart diagrams, they are understood
 between the Filled and Unfilled states of between 0 and -0.1, 60 not to limit the scope of the corresponding method. Indeed,
 between 0 and -0.05, between 0 and -0.04, between 0 and              some arrows or other connectors may be used to indicate
 -0.03, between 0 and -0.02, between 0 and -0.01, between             only the logical flow of the method. For instance, an arrow
 0 and -0.009, between 0 and -0.008, between 0 and -0.007,            may indicate a waiting or monitoring period of unspecified
 between 0 and -0.006, between 0 and -0.005, between 0 and            duration between enumerated steps of the depicted method.
 -0.004, between 0 and -0.003, or between 0 and -0.002. 65 Additionally, the order in which a particular method occurs
    In yet other embodiments, at least one pair or two pair of        may or may not strictly adhere to the order of the corre-
 iron golf clubs in the set have a change in COR between the
                                                                    125
                                                                      sponding steps shown.
Case 3:24-cv-00212-AGS-VET                         Document 38-1                Filed 04/18/24             PageID.581              Page
                                                        97 of 241

                                                     US 11,351,426 B2
                               23                                                                   24
   In the above description, certain terms may be used such       tus, structure, article, element, component, or hardware to
 as "up," "down," "upper," "lower," "horizontal," "vertical,"     perform the specified function without further modification.
 "left," "right," "over," "under" and the like. These terms are   For purposes of this disclosure, a system, apparatus, struc-
 used, where applicable, to provide some clarity of descrip-      ture, article, element, component, or hardware described as
 tion when dealing with relative relationships. But, these 5 being "configured to" perform a particular function may
 terms are not intended to imply absolute relationships,          additionally or alternatively be described as being "adapted
 positions, and/or orientations. For example, with respect to     to" and/or as being "operative to" perform that function.
 an object, an "upper" surface can become a "lower" surface          The present subject matter may be embodied in other
 simply by turning the object over. Nevertheless, it is still the specific forms without departing from its spirit or essential
 same object. Further, the terms "including," "comprising," 10
                                                                  characteristics. The described embodiments are to be con-
 "having," and variations thereof mean "including but not
                                                                  sidered in all respects only as illustrative and not restrictive.
 limited to" unless expressly specified otherwise. An enu-
                                                                  All changes which come within the meaning and range of
 merated listing of items does not imply that any or all of the
 items are mutually exclusive and/or mutually inclusive,          equivalency of the claims are to be embraced within their
 unless expressly specified otherwise. The terms "a," "an," 15 scope.
 and "the" also refer to "one or more" unless expressly
 specified otherwise. Further, the term "plurality" can be               What is claimed is:
 defined as "at least two." The term "about" in some embodi-             1. A hollow body iron-type golf club head, comprising:
 ments, can be defined to mean within +/-5% of a given                   a body, comprising a heel portion, a first part of a sole
 value.                                                           20        portion, a toe portion, a top portion, a rear wall, and a
    Additionally, instances in this specification where one                 hose! of the golf club head;
 element is "coupled" to another element can include direct              a strike plate welded to the body, wherein:
 and indirect coupling. Direct coupling can be defined as one               the strike plate comprises a strike face of the golf club
 element coupled to and in some contact with another ele-                      head, a second part of the sole portion of the golf
 ment. Indirect coupling can be defined as coupling between 25                 club head, and a majority of a face-to-sole portion
 two elements not in direct contact with each other, but                       transition region between the strike face and the sole
 having one or more additional elements between the coupled                    portion;
 elements. Further, as used herein, securing one element to                 the strike plate, the heel portion, the sole portion, the
 another element can include direct securing and indirect                      toe portion, the top portion, and the rear wall enclose
 securing. Additionally, as used herein, "adjacent" does not 30                an internal cavity of the golf club head;
 necessarily denote contact. For example, one element can be                the second part of the sole portion has an internal
 adjacent another element without being in contact with that                   surface that defines a portion of the internal cavity;
 element.                                                                   the strike plate has a thickness that varies; and
    As used herein, the phrase "at least one of', when used                 the first part of the sole portion comprises a recess
 with a list of items, means different combinations of one or 35               formed in an internal surface of the first part of the
 more of the listed items may be used and only one of the                      sole portion;
 items in the list may be needed. The item may be a particular           a filler material within the internal cavity;
 object, thing, or category. In other words, "at least one of'           a tungsten weight located within the recess of the first part
 means any combination of items or number of items may be                   of the sole portion;
 used from the list, but not all of the items in the list may be 40      an injection port formed in the golf club head, wherein the
 required. For example, "at least one of item A, item B, and                internal cavity is configured to receive the filler mate-
 item C" may mean item A; item A and item B; item B; item                   rial through the injection port;
 A, item B, and item C; or item B and item C. In some cases,             a plug that is engaged with the injection port to plug the
 "at least one of item A, item B, and item C" may mean, for                 injection port;
 example, without limitation, two of item A, one of item B, 45           a first COR drop off value when the internal cavity is
 and ten of item C; four of item B and seven of item C; or                  unfilled;
 some other suitable combination.                                        a second COR drop off value when the internal cavity is
    Unless otherwise indicated, the terms "first," "second,"                at least partially filled with the filler material; and
 etc. are used herein merely as labels, and are not intended to          a COR change value being a difference between the
 impose ordinal, positional, or hierarchical requirements on 50             second COR drop off value and the first COR drop off
 the items to which these terms refer. Moreover, reference to,              value;
 e.g., a "second" item does not require or preclude the                 wherein the COR change value is between 0 and -0.01.
 existence of, e.g., a "first" or lower-numbered item, and/or,           2. The golf club head according to claim 1, wherein the
 e.g., a "third" or higher-numbered item.                            filler material is a foam.
    As used herein, a system, apparatus, structure, article, 55          3. The golf club head according to claim 1, wherein the
 element, component, or hardware "configured to" perform a           filler material is a two-part polyurethane based foam.
 specified function is indeed capable of performing the                  4. The golf club head according to claim 1, wherein the
 specified function without any alteration, rather than merely       filler material is a thermoset.
 having potential to perform the specified function after               5. The golf club head according to claim 1, wherein the
 further modification. In other words, the system, apparatus, 60 strike plate is made of a first material and the body is made
 structure, article, element, component, or hardware "config-        of a second material that is different than the first material.
 ured to" perform a specified function is specifically selected,         6. The golf club head according to claim 1, wherein:
 created, implemented, utilized, progranimed, and/or                    the rear wall comprises a sole bar protruding from the first
 designed for the purpose of performing the specified func-                 part of the sole portion into the internal cavity, wherein
 tion. As used herein, "configured to" denotes existing char- 65            the sole bar is located in a low and rearward portion of
 acteristics of a system, apparatus, structure, article, element,           the golf club head and has a relatively large thickness
 component, or hardware which enable the system, appara-
                                                                    126     in relation to the strike plate;
Case 3:24-cv-00212-AGS-VET                         Document 38-1                 Filed 04/18/24              PageID.582              Page
                                                        98 of 241

                                                      US 11,351,426 B2
                               25                                                                    26
     the rear wall further comprises a forward sole bar protru-          wherein:
        sion protruding from the sole bar forward towards the                the COR change value is between 0 and -0.01;
        strike plate;                                                        the rear wall comprises a sole bar protruding from the
     the second part of the sole portion wraps underneath the                   first part of the sole portion into the internal cavity,
        forward sole bar protrusion protruding from the sole 5                  wherein the sole bar is located in a low and rearward
        bar;                                                                    portion of the golf club head and has a relatively
     the filler material contacts an underside surface of the                   large thickness in relation to the strike plate; and
        forward sole bar protrusion and contacts an interior                 the filler material extends overtop the sole bar.
        surface of the second part of the sole portion;                   14. The golf club head according to claim 13, wherein a
     a thickness of the second part of the sole portion is less 10
                                                                      thickness of the second part of the sole portion is less than
        than a thickness of a central portion of the strike plate;
                                                                      a thickness of a central portion of the strike plate.
        and
                                                                          15. The golf club head according to claim 13, wherein the
     at least a portion of the second part of the sole portion is
        welded along the first part of the sole portion.              filler  material is initially a viscous material that is injected
     7. The golf club head according to claim 1, wherein:          15
                                                                      into the internal cavity of the golf club head through the
     the rear wall comprises a sole bar protruding from the first     injection port.
        pail of the sole portion into the internal cavity, wherein        16. The golf club head according to claim 13, wherein part
        the sole bar is located in a low and rearward portion of      of  the strike plate extends further toeward than the second
        the golf club head and has a relatively large thickness       part of the sole portion.
        in relation to the strike plate; and                       20     17. A hollow body iron-type golf club head, comprising:
     the filler material extends overtop the sole bar.                    a body, comprising a heel portion, a first part of a sole
     8. The golf club head according to claim 1, wherein the                 portion, a toe portion, a top portion, a rear wall, and a
 filler material is a methylene diphenyl diisocyanate based                  hose! of the golf club head;
 foam.                                                                    a strike plate welded to the body, wherein:
     9. The golf club head according to claim 1, wherein part 25             the strike plate comprises a strike face of the golf club
 of the strike plate extends further toeward than the second                    head, a second part of the sole portion of the golf
 part of the sole portion.                                                      club head, and a majority of a face-to-sole portion
     10. The golf club head according to claim 1, wherein the                   transition region between the strike face and the sole
 recess comprises at least a rear wall and opposing side walls,                 portion;
 and wherein the tungsten weight is at least partially sur- 30               the strike plate, the heel portion, the sole portion, the
 rounded by the recess.                                                         toe portion, the top portion, and the rear wall enclose
     11. The golf club head according to claim 1, wherein the                   an internal cavity of the golf club head;
 tungsten weight is at least partially surrounded by the filler              the second part of the sole portion has an internal
 material.                                                                      surface that defines a portion of the internal cavity;
     12. The golf club head according to claim 1, wherein the 35             the strike plate has a thickness that varies; and
 body is cast and the strike plate is forged.                                the first part of the sole portion comprises a recess
     13. A hollow body iron-type golf club head, comprising:                    formed in an internal surface of the first part of the
     a body, comprising a heel portion, a first part of a sole                  sole portion;
        portion, a toe portion, a top portion, a rear wall, and a         an elastomer material within the internal cavity; and
        hose! of the golf club head;                               40     a tungsten weight located within the recess of the first part
     a strike plate welded to the body, wherein:                             of the sole portion;
        the strike plate comprises a strike face of the golf club        wherein the elastomer material contacts an interior sur-
           head, a second part of the sole portion of the golf               face of the strike plate, contacts the tungsten weight,
           club head, and a majority of a face-to-sole portion               and is interposed between the tungsten weight and the
           transition region between the strike face and the sole 45         interior surface of the strike plate such that no portion
           portion;                                                          of the tungsten weight contacts the interior surface of
        the strike plate, the heel portion, the sole portion, the            the strike plate.
           toe portion, the top portion, and the rear wall enclose        18. The golf club head of claim 17, wherein:
           an internal cavity of the golf club head;                     the internal cavity comprises a thickness that is perpen-
        the second part of the sole portion has an internal 50               dicular to the strike face;
           surface that defines a portion of the internal cavity;        the thickness of the interval cavity varies in a direction
           and                                                               extending from the top portion to the sole portion;
        the strike plate has a thickness that varies;                    the internal cavity is thickest at a first location;
     a filler material within the internal cavity;                       the strike plate is thickest at a second location; and
     an injection port formed in the golf club head, wherein the 55       a line, perpendicular to the strike face, passes through
        internal cavity is configured to receive the filler mate-            both the first location and the second location.
        rial through the injection port;                                  19. The golf club head of claim 17, wherein:
     a plug that is engaged with the injection port to plug the          the internal cavity comprises a thickness that is perpen-
        injection port;                                                      dicular to the strike face;
     a first COR drop off value when the internal cavity is 60           the thickness of the interval cavity varies in a direction
        unfilled;                                                            extending from the top portion to the sole portion;
     a second COR drop off value when the internal cavity is             the thickness of the internal cavity increases, in the
        at least partially filled with the filler material; and              direction extending from the top portion to the sole
     a tungsten weight located within the internal cavity;                   portion, to a first location;
     a COR change value being a difference between the 65                the thickness of the internal cavity decreases, in the
        second COR drop off value and the first COR drop off                 direction extending from the top portion to the sole
        valve;
                                                                     127     portion, away from the first location;
Case 3:24-cv-00212-AGS-VET                    Document 38-1         Filed 04/18/24   PageID.583   Page
                                                   99 of 241

                                                 US 11,351,426 B2
                            27                                                  28
   the strike plate is thickest at a second location; and
   a line, perpendicular to the strike face, passes through
     both the first location and the second location.

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Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.584   Page
                                 100 of 241




                       Exhibit 4




                                      129
Case 3:24-cv-00212-AGS-VET                        Document 38-1 Filed 04/18/24 PageID.585                                                              Page
                                                      101 of 241
                                                                       US011420097B2


 ( 12) United States Patent                                                                 ( 10 ) Patent No.:               US 11,420,097 B2
      Demkowski et al .                                                                     (45) Date of Patent :                       *Aug. 23 , 2022
 ( 54 ) GOLF CLUB HEAD                                                               ( 58 ) Field of Classification Search
                                                                                            CPC                    A63B 53/047 ; A63B 53/0475
 ( 71 ) Applicant: Taylor Made Golf Company, Inc ,                                                 USPC                                      473 /324-350
                    Carlsbad , CA (US )                                                            See application file for complete search history.
 ( 72 ) Inventors : Paul M. Demkowski , San Diego , CA                               ( 56 )                          References Cited
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 ( * ) Notice:      Subject to any disclaimer, the term of this                               4,728,105 A             3/1988 Kobayashi
                    patent is extended or adjusted under 35                                                             ( Continued )
                    U.S.C. 154 ( b ) by 0 days.
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                    This patent is subject to a terminal dis
                    claimer .                                                        JP                       H05-091732      12/1993
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 ( 21 ) Appl. No .: 17/106,575                                                                                         (Continued )
 ( 22) Filed :      Nov. 30 , 2020                                                                               OTHER PUBLICATIONS
 (65 )              Prior Publication Data                                           Japanese Office Action concerning Japanese Patent Application No.
        US 2021/0162275 A1 Jun . 3 , 2021                                            2017-234079 dated Sep. 28 , 2021 .
                                                                                     Primary Examiner — Alvin A Hunter
               Related U.S. Application Data                                         (74 ) Attorney, Agent, or Firm Kunzler Bean &
                                                                                     Adamson
 ( 63 ) Continuation of application No. 16/ 720,678 , filed on
        Dec. 19 , 2019 , now Pat. No. 10,881,925 , which is a                        ( 57 )                            ABSTRACT
        continuation of application No. 15 /394,549 , filed on                       Described herein is a golf club head that comprises a body
        Dec. 29 , 2016 , now Pat . No. 10,543,409 .                                  and aa strike plate . The body comprises a heel portion , a sole
 ( 51 ) Int . Ci .
                                                                                     portion, a toe portion, and a top portion. The strike plate
        A63B 53/04             ( 2015.01 )
                                                                                     comprises an outer peripheral edge and at least a portion of
                                                                                     a strike face . Furthermore , the strike plate is welded to the
       A63B 60/52                ( 2015.01 )                                         body via a peripheral weld between the outer peripheral
 ( 52) U.S. CI .                                                                     edge of the strike plate and the body. The outer peripheral
        CPC          A63B 53/047 ( 2013.01 ) ; A63B 53/0466                          edge of the strike plate comprises at least one welded
                    (2013.01 ) ; A63B 60/52 (2015.10 ) ; A63B                        portion , welded to the body via the peripheral weld, and at
                 53/042 ( 2020.08 ) ; A63B 53/0408 ( 2020.08 ) ;                     least one non -welded portion, not welded to the body.
                    A63B 53/0416 (2020.08 ) ; A63B 53/0433
                         (2020.08 ) ; A63B 53/0475 (2013.01 )                                        19 Claims , 20 Drawing Sheets
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Case 3:24-cv-00212-AGS-VET                             Document 38-1 Filed 04/18/24                            PageID.586           Page
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Case 3:24-cv-00212-AGS-VET           Document 38-1 Filed 04/18/24        PageID.587          Page
                                         103 of 241

 U.S. Patent            Aug. 23 , 2022           Sheet 1 of 20         US 11,420,097 B2



   101                                     108                   112




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Case 3:24-cv-00212-AGS-VET            Document 38-1 Filed 04/18/24         PageID.588         Page
                                          104 of 241

 U.S. Patent               Aug. 23, 2022      Sheet 2 of 20          US 11,420,097 B2


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Case 3:24-cv-00212-AGS-VET         Document 38-1 Filed 04/18/24              PageID.589            Page
                                       105 of 241

 U.S. Patent         Aug. 23 , 2022              Sheet 3 of 20         US 11,420,097 B2




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Case 3:24-cv-00212-AGS-VET          Document 38-1 Filed 04/18/24                      PageID.590    Page
                                        106 of 241

 U.S. Patent        Aug. 23 , 2022               Sheet 4 of 20                 US 11,420,097 B2




                                               108

                                                                  120
     100
                                                                        128

                                                                                122
                                                     IM                                       4
                                                                                              .
                                                                                              FIG


                                                                              118
                       102




                      120
                             106                                         126
                                   114
                                                                 120
                                         104

                                                     135
Case 3:24-cv-00212-AGS-VET    Document 38-1 Filed 04/18/24                     PageID.591      Page
                                  107 of 241

 U.S. Patent         Aug. 23 , 2022            Sheet 5 of 20                 US 11,420,097 B2



                                                                     -100
                      -132
                                      176
                                        102
                                                      129
   114
                                                            -116
                                                                      -140

   138



         134   136                                     1



                       118 130          142                                                 -108
                                        -133      1                           112
                                                               1




  106
         104

                                                               150
                                      122                    134




                                       FIG . 5



                                                 136
Case 3:24-cv-00212-AGS-VET            Document 38-1 Filed 04/18/24      PageID.592            Page
                                          108 of 241

 U.S. Patent              Aug. 23 , 2022          Sheet 6 of 20   US 11,420,097 B2



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  100
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                          140

                    116
                                                                                      129
              102                                                                           FIG
                                                                                            6
                                                                                            .

        176                                                                           144

                                                                                130

                                                                                  131

                                                                          142
                                                                  136

                                132         114             138

                                                   137
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24                PageID.593   Page
                                 109 of 241

 U.S. Patent        Aug. 23 , 2022        Sheet 7 of 20            US 11,420,097 B2



              108




                                                          -102



                                                                 -144

                    LNW

                                                                   118

                             1304                                   LSS




                                     FIG . 7
                                               138
Case 3:24-cv-00212-AGS-VET    Document 38-1 Filed 04/18/24             PageID.594      Page
                                  110 of 241

 U.S. Patent         Aug. 23 , 2022          Sheet 8 of 20      US 11,420,097 B2




                                 134
                                                     134
               133                                           134 150

        134
                                                                                 .
                                                                                 FIG
                                                                                 8
                                                                           122
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              106
                                       104




                                              139
Case 3:24-cv-00212-AGS-VET    Document 38-1 Filed 04/18/24        PageID.595        Page
                                  111 of 241

 U.S. Patent         Aug. 23 , 2022     Sheet 9 of 20           US 11,420,097 B2




                      154
                                                        -152


                                                                      150
                                                                              FIG
                                                                              9
                                                                              .
     134
             133
                      104
                                                                            122
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                                                                      134
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                                            140
Case 3:24-cv-00212-AGS-VET        Document 38-1 Filed 04/18/24                  PageID.596   Page
                                      112 of 241

 U.S. Patent         Aug. 23 , 2022             Sheet 10 of 20               US 11,420,097 B2




                                                    102                100


                                             134                          116
                                           133
                                          136                      120
                                                                 138
                                          132                         -176
                                                                     154
                                    104
                                                                 152
                                  106
                              140
                                                                   -129
                            142
                     130
                      122
             962_94   150                  -144            131
                     126                   -98
                                            FIG . 10
                            D1




                                                  141
Case 3:24-cv-00212-AGS-VET        Document 38-1 Filed 04/18/24               PageID.597   Page
                                      113 of 241

 U.S. Patent         Aug. 23 , 2022             Sheet 11 of 20             US 11,420,097 B2




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                                          116               -102
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                                         134                       120
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                                        132                       176
                                       138
                                                            154
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                                                            -152
                             106

                           107

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                                              142
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                     130
                     122                              118          131
                           150                  144
                                              -126
                                       128
                                          FIG . 11




                                                    142
Case 3:24-cv-00212-AGS-VET                   Document 38-1 Filed 04/18/24               PageID.598           Page
                                                 114 of 241

 U.S. Patent                    Aug. 23 , 2022             Sheet 12 of 20         US 11,420,097 B2


                                                   -208
                                                                      -LFS -212
   200                                                                            250

                                                                                           262
                                             244

                                                                                                 222
                                 206
                                                                                                       12
                                                                                                       .
                                                                                                       FIG

                          216

                    220
             202
                                                             -
                                                                                         -218

                   204
                                                                                  260
                                       233           244
                                                            LFS 214. 224
                                                            143
Case 3:24-cv-00212-AGS-VET                       Document 38-1 Filed 04/18/24        PageID.599        Page
                                                     115 of 241

 U.S. Patent                         Aug. 23 , 2022         Sheet 13 of 20         US ll ,420,097 B2




                                                                             250
        208

  200                                           212                                     207


                                    244                                                       222
                                          206                                                        FIG
                                                                                                     13
                                                                                                     .

                              204
                        233

                234
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          202
                                                                                              218

                      232

                                                244   214
                                                             144
Case 3:24-cv-00212-AGS-VET                       Document 38-1 Filed 04/18/24                       PageID.600    Page
                                                     116 of 241

 U.S. Patent                    Aug. 23 , 2022               Sheet 14 of 20                      US 11,420,097 B2


                                                      308
                                                                              -312
                                                                                     350
     300
                                                     344
                                                                                                   362
                                               320                                                    320
                                               364
                                    -LFS 350
                                                                                                            14
                                                                                                            .
                                                                                                            FIG
                               344                                                                  322
                        306

                  316
           302

                                                                                             318
                 320                                                                       320
                              304
                                         344 333                        350   360
                                                            314
                                                                  145
Case 3:24-cv-00212-AGS-VET                 Document 38-1 Filed 04/18/24                       PageID.601    Page
                                               117 of 241

 U.S. Patent                      Aug. 23 , 2022    Sheet 15 of 20                      US 11,420,097 B2


                                             -408
      400
                                                                           -412

                                                                                              420


                                                                                          LFS
                                                                                                      15
                                                                                                      .
                                                                                                      FIG
                          -406                                                                  444

                   -416
            402                                                                               450

                                                                                                433
                                                                                        466
             420                                                                  418
                                                                           420
                                 404                                 420
                                              414
                                                     146
Case 3:24-cv-00212-AGS-VET                                   Document 38-1 Filed 04/18/24                                                PageID.602                  Page
                                                                 118 of 241

 U.S. Patent                             Aug. 23 , 2022                       Sheet 16 of 20                                       US 11,420,097 B2

                                         512B 5 0B                                                                                            512D
  50 B                                                                             50 D
                                                                                                                            5 0D                            534D
          520B 534B                                                                                          -5 0D -534D
  506B                                                                                               506D
                                                                  17
                                                                  .
                                                                  FIG                                                              LNW            *
                                                                                                                                                                   19
                                                                                                                                                                   .
                                                                                                                                                                   FIG

      -516B                 LW
                                                                                                   -516D                                               5 0D
                                 LNW                                                      502D                              LW
  502B                                                     518B                                                                                             518D
                                             534B                                                534D                                      5 3 4 D
               504B          5 0B 514B                                                                      504D                 514D 5 0D
                                  53 B
  -50 A                                                                              50 C
                                                                                                                    -5 0C
                                                                                                            516C                                       -518C
              506A                                                FIG
                                                                  16
                                                                  .     APRIOTR                      5340                                LNW 14                    18
                                                                                                                                                                   .
                                                                                                                                                                   FIG

                                                                                              506C                                 LW
                                                                                                                                                        534C
   502A                                                                                     502C                                                     5 0C
                     504A                           520A                                                       504C 53 C
                                                                                  147
Case 3:24-cv-00212-AGS-VET       Document 38-1 Filed 04/18/24          PageID.603   Page
                                     119 of 241

 U.S. Patent            Aug. 23 , 2022    Sheet 17 of 20     US 11,420,097 B2




       600


                  602
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                                                                             FIG
         608



                                               620               628


                                                           626
                           604           606




                                           148
Case 3:24-cv-00212-AGS-VET                  Document 38-1 Filed 04/18/24           PageID.604   Page
                                                120 of 241

 U.S. Patent                Aug. 23 , 2022          Sheet 18 of 20               US 11,420,097 B2




         600

                           602
                                       LI




                                                                                       21
                                                                                       .
                                                                                       FIG
                                                     642
                     633

               634                                                           644
                                             654

                                                                           626
                                                                     650
                                 604               606



                                                         149
Case 3:24-cv-00212-AGS-VET            Document 38-1 Filed 04/18/24         PageID.605   Page
                                          121 of 241

 U.S. Patent         Aug. 23 , 2022             Sheet 19 of 20           US 11,420,097 B2




                                                    802            800
                                                                   816

                                              820
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                                                                  876
                                      836
                                                                 -854
                                                                  -833
                                804


                          806
                                                                   896

                    830
                   822
                      850                                  -829
                                                     831
                                              818
                     826                    844

                                            FIG . 22




                                                    150
Case 3:24-cv-00212-AGS-VET     Document 38-1 Filed 04/18/24         PageID.606     Page
                                   122 of 241

 U.S. Patent          Aug. 23 , 2022     Sheet 20 of 20         US 11,420,097 B2



                                                                        700


                                          START




    702
             Peripherally discontinuously weld an outer peripheral edge of
             a strike plate to a body with the strike plate located between
             a heel portion , a sole portion , a toe portion , and a top portion
             of the body




    704
             Fill a gap between the outer peripheral edge of the strike
             plate and the body with a filler material




                                            END




                                         FIG . 23


                                           151
Case 3:24-cv-00212-AGS-VET                         Document 38-1 Filed 04/18/24                            PageID.607              Page
                                                       123 of 241

                                                     US 11,420,097 B2
                                1                                                                    2
                    GOLF CLUB HEAD                                   to provide a golf club and golf club head that overcome at
                                                                     least some of the above - discussed shortcomings of prior art
             CROSS - REFERENCE TO RELATED                            techniques.
                         APPLICATIONS                                   Described herein is a golf club head that comprises a body
                                                                   5 and a strike plate . The body comprises a heel portion , a sole
    This application references U.S. Pat . No. 9,044,653 , filed portion, a toe portion, and a top portion . The strike plate
 Mar. 14 , 2013 , which claims the benefit of U.S. Provisional comprises an outer peripheral edge and at least a portion of
 Patent Application No. 61 / 657,675 , filed Jun . 8 , 2012 , both a strike face. Furthermore , the strike plate is welded to the
 of which are hereby incorporated by reference herein in their body via a peripheral weld between the outer peripheral
 entireties. This application also references U.S. Pat. No. 10 edge        of the strike plate and the body. The outer peripheral
                                                                     edge of the strike plate comprises at least one welded
 8,353,785 , filed Apr. 19 , 2010 , which claims the benefit of portion     , welded to the body via the peripheral weld, and at
 U.S. Provisional Patent Application No. 61 /214,487 , filed
 Apr. 23 , 2009 , both of which are hereby incorporated by preceding least one non- welded portion, not welded to the body. The
 reference herein in their entireties. This application also                      subject matter of this paragraph characterizes
 references U.S. Pat . No. 6,811,496 , filed Sep. 3, 2002 , which 15 example 1 of the present disclosure.
 is hereby incorporated by reference in its entirety. This soleTheportion    strike plate is located between the heel portion, the
                                                                                  , the toe portion , and the top portion of the body.
 application also references U.S. patent application Ser. No.
 13 / 111,715 , filed May 19 , 2011 , which is incorporated          The  preceding   subject matter of this paragraph characterizes
 herein by reference in its entirety. This application further example 2 of the present disclosure, wherein example 2 also
 references U.S. patent application Ser. No. 14 /981,330 ,filed 20 includes the subject matter according to example 1 , above .
 Dec. 28 , 2015 , which claims the benefit of U.S. Provisional          A ratio of the total length of the at least one welded
 Patent Application No. 62 /099,012 , filed Dec. 31 , 2014 , and portion      of the outer peripheral edge to the total peripheral
                                                                     length of the outer peripheral edge of the strike plate is
 U.S. Provisional Patent Application No. 62 /098,707 , filed between
 Dec. 31 , 2014 , all of which are incorporated herein by 25 paragraph0.40           and 0.94 . The preceding subject matter of this
                                                                                 characterizes example 3 of the present disclosure ,
 reference in their entirety.
                                                                     wherein example 3 also includes the subject matter accord
                              FIELD                                  ing to any one of examples 1-2 , above .
                                                                        The ratio of the total length of the at least one welded
    This disclosure relates generally to golf clubs , and more portion of the outer peripheral edge to the total peripheral
 particularly to a golf club head with a strike plate that is 30 length of the outer peripheral edge of the strike plate is
 separately attached to a body of the golf club head .               between 0.45 and 0.80 . The preceding subject matter of this
                                                                     paragraph characterizes example 4 of the present disclosure,
                         BACKGROUND                                  wherein example 4 also includes the subject matter accord
                                                                     ing to example 3 , above .
    The performance of golf equipment is continuously 35 The strike plate comprises a sole wrap portion angled
 advancing due to the development of innovative clubs and relative to the strike face. The at least one non -welded
 club designs. While all clubs in a golfer's bag are important, portion of the outer peripheral edge extends along the sole
 both scratch and novice golfers rely on the performance and wrap portion of the strike plate . The preceding subject
 feel of their irons, metal - woods , hybrids, and drivers for matter of this paragraph characterizes example 5 of the
 many commonly encountered playing situations .                   40 present disclosure, wherein example 5 also includes the
    Advancements in golf club head manufacturing tech- subject matter according to any one of examples 1-4 , above .
 niques have facilitated the manufacturing of golf club heads           The sole portion of the body comprises a slot edge. The
 with complex geometries. For example , separately forming at least one non -welded portion of the outer peripheral edge
 and attaching together a strike plate and a body, a golf club of the strike plate is spaced apart from the slot edge . The golf
 head with a complex geometry, that might not otherwise be 45 club head comprises a sole slot defined between the slot edge
 achievable using single - piece , fully - integrated manufactur- of the sole portion of the body and the at least one non
 ing techniques, can be produced. Additionally, a golf club welded portion of the outer peripheral edge of the strike
 head with a separately formed and attached strike plate can plate . The preceding subject matter of this paragraph char
 facilitate the use of strike plates and bodies made from acterizes example 6 of the present disclosure , wherein
 different materials and / or manufacturing techniques. Gen- 50 example 6 also includes the subject matter according to
 erally, the strike plate is welded to the body using a periph- example 5 , above.
 eral weld that extends continuously around the entire outer            The golf club head further comprises a filler material
 peripheral edge of the strike plate .                               located within the sole slot .
    Although welding the strike plate to the body promotes              The preceding subject matter of this paragraph character
 the ability to make golf club heads with complex geometries, 55 izes example 7 of the present disclosure, wherein example 7
 different materials, and different manufacturing techniques,    also includes the subject matter according to example 6 ,
 the weld may also introduce weaknesses to the golf club         above .
 head .                                                             The at least one non -welded portion of the outer periph
                                                                 eral edge of the strike plate is spaced apart from the body.
                          SUMMARY                             60 The golf club head comprises a gap defined between the at
                                                                 least one non -welded portion of the outer peripheral edge of
    The subject matter of the present application has been the strike plate and the body. The preceding subject matter
 developed in response to the present state of the art, and in of this paragraph characterizes example 8 of the present
 particular, in response to the shortcomings of golf clubs and disclosure, wherein example 8 also includes the subject
 associated golf club heads , that have not yet been fully 65 matter according to any one of examples 1-7 , above.
 solved by currently available techniques. Accordingly, the         The outer peripheral edge of the strike plate further
 subject matter of the present application has been developed 152
                                                               comprises a plurality of welded portions and a plurality of
Case 3:24-cv-00212-AGS-VET                        Document 38-1 Filed 04/18/24                            PageID.608             Page
                                                      124 of 241

                                                     US 11,420,097 B2
                               3                                                                   4
 non -welded portions. The plurality of welded portions are           sure, wherein example 16 also includes the subject matter
 spaced apart from each other by the plurality of non -welded         according to any one of examples 1-15 , above .
 portions . The preceding subject matter of this paragraph               The golf club head is an iron -type golf club head . The
 characterizes example 9 of the present disclosure , wherein          preceding subject matter of this paragraph characterizes
 example 9 also includes the subject matter according to any 5 example 17 of the present disclosure, wherein example 17
 one of examples 1-8 , above.                                         also includes the subject matter according to any one of
    Each of the plurality of welded portions of the outer examples 1-16, above.
 peripheral edge of the strike plate has the same length. The            The golf club head is a metal -wood - type golf club head .
 preceding subject matter of this paragraph characterizes             The  preceding subject matter of this paragraph characterizes
 example 10 of the present disclosure, wherein example 10 10 example            18 of the present disclosure, wherein example 18
 also includes the subject matter according to example 9 , examples 1-16the
                                                                      also  includes       subject matter according to any one of
                                                                                      , above.
 above .
    Each of the plurality of welded portions of the outer head           Also disclosed herein is a golf club comprising a golf club
                                                                           , a shaft, and a grip . The golf club head comprises a
 peripheral  edge of  the strike plate has a different length .The 15 body   and a strike plate .The body comprises a heel portion,
 preceding subject matter of this paragraph characterizes a sole portion , a toe portion, a top portion , and a hosel ,
 example 11 of the present disclosure , wherein example 11
 also includes the subject matter according to example 9 , extending  an  outer
                                                                                 from the heel portion. The strike plate comprises
                                                                                peripheral   edge and at least a portion of a strike
 above .                                                              face. The outer peripheral edge of the strike plate is welded
    At least two of the at least one non -welded portion of the 20 to the body via a peripheral weld . The peripheral weld has
 plurality of non- welded portions is directly adjacent the heel a starting point and an ending point, the ending point being
 portion of the body, the at least one non- welded portion of different than the starting point. The shaft is engaged with
 the plurality of non -welded portions is directly adjacent the and extends from the hosel of the golf club head . The grip
 toe portion of the body, the at least one non -welded portion is secured to the shaft at a location on the shaft opposite that
 of the plurality of non -welded portions is directly adjacent 25 of the golf club head . The preceding subject matter of this
 the top portion of the body, and the at least one non -welded paragraph characterizes example 19 of the present disclo
 portion of the plurality of non -welded portions is directly sure .
 adjacent the sole portion of the body. The preceding subject            Additionally disclosed herein is a golf club head com
 matter of this paragraph characterizes example 12 of the prising a body and aa strike plate . The body comprises a heel
 present disclosure , wherein example 12 also includes the 30 portion , a sole portion, a toe portion , and a top portion . The
 subject matter according to any one of examples 9-11 , strike plate comprises an outer peripheral edge and at least
 above .                                                              a portion of a strike face . Furthermore, the strike plate is
    At least three of the least one non -welded portion of the welded to the body via a peripheral weld between the outer
 plurality of non- welded portions is directly adjacent the heel peripheral edge of the strike plate and the body. A ratio of a
 portion of the body, the at least one non- welded portion of 35 total weld length of the peripheral weld to a total peripheral
 the plurality of non -welded portions is directly adjacent the length of the outer peripheral edge of the strike plate is less
 toe portion of the body, the at least one non -welded portion than one . The preceding subject matter of this paragraph
 of the plurality of non -welded portions is directly adjacent characterizes example 20 of the present disclosure .
 the top portion of the body, and the at least one non -welded           The described features , structures, advantages, and / or
 portion of the plurality of non -welded portions is directly 40 characteristics of the subject matter of the present disclosure
 adjacent the sole portion of the body. The preceding subject may be combined in any suitable manner in one or more
 matter of this paragraph characterizes example 13 of the embodiments and / or implementations. In the following
 present disclosure , wherein example 13 also includes the description, numerous specific details are provided to impart
 subject matter according to example 12 , above .                     a thorough understanding of embodiments of the subject
    The at least one non -welded portion of the plurality of 45 matter of the present disclosure. One skilled in the relevant
 non -welded portions is directly adjacent the heel portion of art will recognize that the subject matter of the present
 the body. The at least one non -welded portion of the plurality disclosure may be practiced without one or more of the
 of non -welded portions is directly adjacent the toe portion of specific features, details, components, materials, and /or
 the body. The at least one non -welded portion of the plurality methods of a particular embodiment or implementation . In
 of non -welded portions is directly adjacent the top portion of 50 other instances , additional features and advantages may be
 the body. The at least one non -welded portion of the plurality recognized in certain embodiments and / or implementations
 of non -welded portions is directly adjacent the sole portion that may not be present in all embodiments or implemen
 of the body. The preceding subject matter of this paragraph tations . Further, in some instances, well- known structures,
 characterizes example 14 of the present disclosure , wherein materials , or operations are not shown or described in detail
 example 14 also includes the subject matter according to 55 to avoid obscuring aspects of the subject matter of the
 example 13 , above.                                                present disclosure. The features and advantages of the
   The body is made from aa first material. The strike plate is      subject matter of the present disclosure will become more
 made from a second material. The first material is different  fully apparent from the following description and appended
 than the second material. The preceding subject matter of     claims , or may be learned by the practice of the subject
 this paragraph characterizes example 15 of the present 60 matter as set forth hereinafter.
 disclosure, wherein example 15 also includes the subject
 matter according to any one of examples 1-14 , above .               BRIEF DESCRIPTION OF THE DRAWINGS
    The body further comprises a plate interface. The strike
 plate is in seated engagement with the plate interface . The     In order that the advantages of the subject matter may be
 peripheral weld is between the plate interface of the body 65 more readily understood , a more particular description of the
 and the strike plate . The preceding subject matter of this subject matter briefly described above will be rendered by
 paragraph characterizes example 16 of the present disclo- 153 reference to specific embodiments that are illustrated in the
Case 3:24-cv-00212-AGS-VET                          Document 38-1 Filed 04/18/24                              PageID.609              Page
                                                        125 of 241

                                                       US 11,420,097 B2
                                5                                                                      6
 appended drawings. Understanding that these drawings                     FIG . 22 is a cross - sectional side elevation view of an
 depict only typical embodiments of the subject matter and iron - type golf club head having a hollow cavity, according
 are not therefore to be considered to be limiting of its scope , to one or more examples of the present disclosure ; and
 the subject matter will be described and explained with                  FIG . 23 is a schematic flow chart of a method of making
 additional specificity and detail through the use of the 5 a golf club head , according to one or more examples of the
 drawings, in which :                                                  present disclosure.
    FIG . 1 is a perspective view from a top of an iron - type                           DETAILED DESCRIPTION
 golf club head , according to one or more examples of the
 present disclosure;
    FIG . 2 is aa front view of the golf club head of FIG . 1 , in The         following describes embodiments of golf club heads
                                                                    10

 according to one or more examples of the present disclosure ; type golf clubof
                                                                          the context      an iron -type golf club and a metal-wood
    FIG . 3 is perspective view from aa bottom of the golf club described maybe, but           the principles , methods and designs
 head of FIG . 1 , shown with a filler material removed from clubs ( also known as hybridin golf
                                                                                           applicable    whole or in part to utility golf
                                                                                                              clubs ) , driver -type golf
 a sole slot, according to one or more examples of the present 15 clubs, putter- type golf clubs, and the like.
 disclosure;                                                              The various embodiments of a golf club head described
    FIG . 4 is a perspective view from a bottom of the golf club herein        utilizes a peripheral weld to secure a strike plate to a
 head of FIG . 1 , shown with the filler material in the sole slot , body of the golf club head . Welding the strike plate to the
 according to one or more examples of the present disclosure ; body of the golf club head, as opposed to integrally forming
    FIG . 5 is an exploded perspective view from a top of the 20 the strike plate and the body as a one -piece construction
 golf club head of FIG . 1 , according to one or more examples ( such as by casting) allows the strike plate to be made from
 of the present disclosure ;                                           a different material or made by a different manufacturing
    FIG . 6 is a perspective view from a front of the golf club process than the body. Additionally, welding the strike plate
 head of FIG . 1 , shown with a strike plate removed, accord- to the body promotes the ability to make golf club head with
 ing to one or more examples of the present disclosure ; 25 unique and complex shapes and geometries. However, weld
    FIG . 7 is aa bottom view of the golf club head of FIG . 1 , ing together the strike plate and the body also introduces
 shown with the strike plate removed , according to one or certain consequences, such as the development of heat
 more examples of the present disclosure ;                             effected zones and stress risers in the weld , which ultimately
    FIG . 8 is a perspective view from aa front of the strike plate weakens the golf club head , and stiffness of the strike face
 of the golf club head of FIG . 1 , according to one or more 30 of the golf club head . The peripheral weld of the golf club
 examples of the present disclosure ;                                  head disclosed herein introduces portions of the outer
    FIG.9 is a perspective view from aa back of the strike plate peripheral edge of the strike plate that are not welded to the
 of the golf club head of FIG . 1 , according to one or more body, thereby increasing the strength of the golf club head
 examples of the present disclosure ;                                  compared to golf club heads with continuous or 360 -degree
    FIG . 10 is cross - sectional perspective view from a heel 35 welds welding the strike plate to the body. Additionally,
 side of the golf club head of FIG . 1 , taken along the line introducing non -welded portions of the outer peripheral
 10-10 of FIG . 2 , according to one or more examples of the edge of the strike plate also promotes flex in the strike face
 present disclosure;                                                   of the golf club head, which promotes forgiveness and feel.
   FIG . 11 is cross - sectional side elevation view from a heel          The discovered advantages of introducing non -welded
 side of the golf club head of FIG . 1 , taken along the line 40 portions in the outer peripheral edge of the strike plate
 10-10 of FIG . 2 , according to one or more examples of the outweigh the potential negative consequences of such non
 present disclosure;                                             welded portions that would otherwise discourage the use of
    FIG . 12 is a front view of an iron - type golf club head , non - welded portions in the outer peripheral edge . For
 according to one or more examples of the present disclosure ; example , non -welded portions in an outer peripheral edge of
    FIG . 13 is an exploded perspective view from a front of 45 a strike plate may increase the potential for rust at the
 the golf club head of FIG . 12 , according to one or more non - welded portions and stress risers at the intersection of
 examples of the present disclosure ;                             non - welded and welded portions of the outer peripheral
    FIG . 14 is a front view of an iron - type golf club head , edge. As another example , the chrome plating often used to
 according to one or more examples of the present disclosure; plate a golf club head may crack or phantom lines may
    FIG . 15 is a front view of an iron -type golf club head , 50 develop at the non - welded portions. Notwithstanding the
 according to one or more examples of the present disclosure; potential disadvantages of introducing non -welded portions
    FIG . 16 is a front view of an iron - type golf club head , of aa strike plate , the ability to reduce stress risers along the
 according to the prior art;                                      non -welded portions and promote the flex of the strike face
    FIG . 17 is a front view of an iron -type golf club head , through the use of non- welded portions, as discovered by the
 according to one or (j more examples of the present disclo- 55 inventors of the present disclosure , encourages the use of
 sure ;                                                           non - welded portions in the outer peripheral edge of a strike
    FIG . 18 is a front view of an iron - type golf club head , plate.
 according to one or more examples of the present disclosure ;      Referring to FIGS . 1 and 2 , one embodiment of a golf club
    FIG . 19 is a front view of an iron -type golf club head , head 100 includes a body 102 and a strike plate 104 welded
 according to one or more examples of the present disclosure; 60 to the body 102. The body 102 has aa toe portion 114 , a heel
    FIG . 20 is aa side elevation view of a metal-wood - type golf portion 112 , a top portion 116 ( e.g. , top - line portion for
 club head , according to one or more examples of the present iron - type golf club heads and crown portion for driver -type,
 disclosure ;                                                       hybrid - type, and metal - wood - type golf club heads), and a
    FIG . 21 is a cross -sectional side elevation view of the golf sole portion 118 ( e.g. , bottom portion ). The body 102
 club head of FIG . 19 , taken along a midplane of the golf club 65 additionally includes a hosel 108 extending from the heel
 head , according to one or more examples of the present portion 112. The hosel 108 is configured to receive and
 disclosure;                                             154
                                                          engage with aa shaft and grip 110 of a golf club 101. The shaft
Case 3:24-cv-00212-AGS-VET                        Document 38-1 Filed 04/18/24                            PageID.610              Page
                                                      126 of 241

                                                     US 11,420,097 B2
                               7                                                                    8
 extends from the hosel 108 and the grip is secured to the second manufacturing process. The first manufacturing pro
 shaft at a location on the shaft opposite that of the golf club cess is one of a casting process , a machining process, and a
 head 100. The strike plate 104 includes at least a portion of forging process and the second manufacturing process is
 a strike face 106 designed to impact a golf ball during a another of a casting process , a machining process , and a
 normal golf swing . In some implementations, the strike plate 5 forging process in some examples. In one particular
 104 include an entirety of the strike face 106. Generally, the example , the first manufacturing process is a casting process
 strike plate 104 is defined as any piece of the golf club head and the second manufacturing process is a forging process .
 100 that is welded to a body 102 of the golf club head 100 The first manufacturing process and / or the second manufac
 and includes at least a portion of the strike face .
    Generally, for many iron - type golf club heads , such as the 10 turing process can be a process as described in U.S. Pat. No.
 golf club head 100 , the strike face 106 has a planar surface as hot press, which
                                                                     9,044,653          is incorporated herein in its entirety, such
                                                                                  forging   using a progressive series of dies and
 that is angled relative to a ground plane when the golf club heat- treatment.
 head 100 is in an address position to define a loft of the golf        Whether the first and second manufacturing processes are
 club head 100. In other words, the strike face 106 of an
 iron -type golf club head generally does not include a curved 15 the
                                                       a              same or different, the first material of the body 102 can
                                                                  be the same as or different than the second material of the
 surface. Accordingly, the strike face 106 of the strike plate
 104 of the iron - type golf club head 100 is defined as the strike plate 104. A first material is different than a second
 portion of the strike face 106 with an outwardly facing material when the first material has a different composition
 planar surface . In other words, although a strike plate 104 than the second material. Accordingly, materials from the
 may include a curved surface, such as an outer surface of a 20 same family, such as steel , but with different compositional
 sole wrap portion 122 of the strike plate 104 , the strike face characteristics, such as different carbon constituencies , are
 106 does not include such a curved surface . In contrast, the considered different materials . In one example, the first and
 strike face of a metal- wood , driver, or hybrid golf club head second manufacturing processes are different, but the first
 does have a curved surface that curves around a substantially and second materials are the same . In contrast, according to
 upright axis . Because the sole wrap portion 122 wraps 25 another example, the first and second manufacturing pro
 around a substantially horizontal axis , the strike face of the cesses are the same and the first and second materials are
 strike plate of the metal - wood , driver, and hybrid golf club different. According to yet another example , the first and
 head is defined as the portion of the strike face 106 with an second manufacturing processes are different and the first
 outwardly facing surface curved about an upright axis , as and second materials are different. In some implementations,
 opposed to a horizontal axis .                                 30 the first and second materials are different, but come from
    The strike plate 104 further includes grooves 107 formed the same family of similar materials , such as steel . For
 in the strike face 106 to promote desirable flight character- example, the first material can be 8620 carbon steel and the
 istics ( e.g. , backspin) of the golf ball upon being impacted second material can be 1025 carbon steel . The first material
 by the strike face 106 .                                          being within the same family as the second material pro
    Referring to FIG . 5 , the strike plate 104 is formed 35 motes the quality of the weld between the body 102 and the
 separately from the body 102 and is separately attached to strike plate 104 .
 the body 102. The body 102 and the strike plate 104 can be           The strike plate 104 can be made from maraging steel ,
 formed using the same type of process or different types of maraging stainless steel , or precipitation -hardened ( PH )
 processes. In the illustrated embodiment, the body 102 is stainless steel . In general, maraging steels have high
 formed to have a one - piece monolithic construction using a 40 strength , toughness, and malleability. Being low in carbon ,
 first manufacturing process and the strike plate 104 is they derive their strength from precipitation of inter -metallic
 formed to have a separate one -piece monolithic construction substances other than carbon . The principle alloying element
 using a second manufacturing process . However, in other is nickel ( 15 % to nearly 30 % ) . Other alloying elements
 embodiments , one or both of the body 102 and the strike producing inter -metallic precipitates in these steels include
 plate 104 has a multiple -piece construction with each piece 45 cobalt , molybdenum , and titanium . In one embodiment, the
 being made from the same or a different material. Addition- maraging steel contains 18 % nickel . Maraging stainless
 ally, the body 102 can be formed of the same material as or steels have less nickel than maraging steels but include
 a different material than the strike plate 104. The body 102 significant chromium to inhibit rust. The chromium aug
 is made from a first material and the strike plate 104 is made ments hardenability despite the reduced nickel content,
 from a second material. Separately forming and attaching 50 which ensures the steel can transform to martensite when
 together the body 102 and the strike plate 104 and making appropriately heat- treated . In another embodiment, a marag
 the body 102 and the strike plate 104 from the same or ing stainless steel C455 is utilized as the strike plate 104. In
 different materials , which allows flexibility in the types of other embodiments , the strike plate 104 is a precipitation
 manufacturing processes and materials used, promotes the hardened stainless steel such as 17-4 , 15-5 , or 17-7 .
 ability to make a golf club head 100 that achieves a wide 55 The body 102 of the golf club head 100 is made from 17-4
 range of performance, aesthetic , and economic results .          steel in one implementation. However another material, such
    In some implementations, the first manufacturing process as carbon steel (e.g. , 1020 , 1030 , 8620 , or 1040 carbon
 is the same type of process as the second manufacturing steel ) , chrome-molybdenum steel (e.g. , 4140 Cr - Mo steel ) ,
 process. For example, both the first and second manufac- Ni - Cr - Mo steel ( e.g. , 8620 Ni - Cr - Mo steel ) , auste
 turing processes are casting processes in one implementa- 60 nitic stainless steel (e.g. , 304 , N50 , or N60 stainless steel
 tion . As another example , both the first and second manu- (e.g. , 410 stainless steel ) can be used .
 facturing processes are forging processes in one                     In addition to those noted above , some examples of metals
 implementation. According to yet another example, both the and metal alloys that can be used to form the components of
 first and second manufacturing processes are machining the parts described include , without limitation : titanium
 processes in one implementation .                              65 alloys (e.g. , 3-2.5 , 6-4 , SP700 , 15-3-3-3 , 10-2-3 , or other
    However, in some other implementations, the first manu- alpha/near alpha, alpha- beta , and beta /near beta titanium
 facturing process is a different type of process than the 155     alloys ) , aluminum / aluminum alloys (e.g. , 3000 series alloys ,
Case 3:24-cv-00212-AGS-VET                        Document 38-1 Filed 04/18/24                            PageID.611             Page
                                                      127 of 241

                                                     US 11,420,097 B2
                               9                                                                   10
 5000 series alloys , 6000 series alloys , such as 6061 - T6 , and inserted into the sole slot 126. Examples of materials that
 7000 series alloys , such as 7075 ) , magnesium alloys , copper may be suitable for use as a filler to be placed into a slot ,
 alloys , and nickel alloys .                                           channel, or other flexible boundary structure include , with
    In still other embodiments, the body 102 and / or the strike out limitation : viscoelastic elastomers ; vinyl copolymers
 plate 104 of the golf club head 100 are made from fiber- 5 with or without inorganic fillers; polyvinyl acetate with or
 reinforced polymeric composite materials, and are not without mineral fillers such as barium sulfate ; acrylics;
 required to be homogeneous. Examples of composite mate- polyesters ; polyurethanes; polyethers; polyamides ; polyb
 rials and golf club components comprising composite mate- utadienes; polystyrenes ; polyisoprenes; polyethylenes; poly
 rials are described in U.S. patent application Ser. No. olefins ; styrene / isoprene block copolymers; hydrogenated
 13 / 111,715 , filed May 19 , 2011 , which is incorporated 10 styrenic thermoplastic elastomers ; metallized polyesters ;
 herein by reference in its entirety.                                   metallized acrylics; epoxies ; epoxy and graphite compos
    The strike plate 104 is welded to the body 102 via a ites ; natural and synthetic rubbers ; piezoelectric ceramics;
 peripheral weld 120. The peripheral weld 120 is peripherally thermoset and thermoplastic rubbers ; foamed polymers ;
 discontinuous because it extends about less than all of the ionomers; low - density fiber glass ; bitumen ; silicone ; and
 outer periphery of the strike plate 104 such that at least one 15 mixtures thereof. The metallized polyesters and acrylics can
 portion of the outer periphery of the strike plate 104 is not comprise aluminum as the metal. Commercially available
 welded to the body 102. In other words , the peripheral weld materials include resilient polymeric materials such as
 120 extends about only a portion of an outer peripheral edge ScotchweldTM (e.g. , DP - 105TM ) and ScotchdampTM from
 133 of the strike plate 104. Accordingly, less than 360- 3M , SorbothaneTM from Sorbothane, Inc., DYADTM and
 degrees of the outer peripheral edge 133 of the strike plate 20 GPTM from Soundcoat Company Inc. , DynamatTM from
 104 is welded to the body 102. The peripheral weld 120 can Dynamat Control of North America, Inc. , NoViFlexTM
 be considered aa discontinuous weld because it has an ending SylomerTM from Pole Star Maritime Group , LLC , IsoplastTM
 point that is different than it's starting point.                      from The Dow Chemical Company, LegetolexTM from Piqua
    The portion or portions of the outer periphery of the strike Technologies, Inc., and HybrarTM from the Kuraray Co. , Ltd.
 plate 104 not being welded to the body 102 promotes an 25 In some embodiments, a solid filler material may bepress- fit
 increase in the flexibility of the strike plate 104 relative to or adhesively bonded into a slot , channel, or other flexible
 the body 102. As shown in FIG . 3 , the entirety of the portion boundary structure. In other embodiments, a filler material
 of the outer periphery of the strike plate 104 that defines the may poured, injected , or otherwise inserted into a slot or
 strike face 106 is welded to the body 102 via the peripheral channel and allowed to cure in place , forming a sufficiently
 weld 120. Moreover, the portion of the outer periphery of the 30 hardened or resilient outer surface . In still other embodi
 strike plate 104 not welded to the body 102 is located along ments, a filler material may be placed into a slot or channel
 the sole wrap portion 122. More specifically, an outer and sealed in place with a resilient cap or other structure
 peripheral edge 133 , or perimeter, of the strike plate 104 formed of a metal , metal alloy, metallic , composite, hard
 defined along the sole wrap portion 122 of the strike plate plastic , resilient elastomeric, or other suitable material.
 104 is not welded to the body 102. In the embodiment shown 35 Referring to FIGS . 5 and 6 , the body 102 is configured to
 in FIG . 3 , not only is the outer peripheral edge 133 of the receive the portions of an outer peripheral edge 133 of the
 strike plate 104 not welded to the body 102 , but the outer strike plate 104 , to be welded to the body 102 via the
 peripheral edge 133 of the strike plate 104 is spaced apart peripheral weld 120 , in seated engagement. More specifi
 from the body 102 such that a gap is defined between the cally, the body 102 includes a plate opening 176 defined
 outer peripheral edge 133 of the strike plate 104 and the 40 between the toe portion 114 , the heel portion 112 , the top
 body 102. The gap defines a sole slot 126 of the golf club portion 116 , and the sole portion 118 of the body 102 .
 head 100. Generally , the sole slot 126 is a groove or channel Generally, the plate N opening 176 receives the strike plate
 formed in aa sole of the golf club head 100. The sole slot 126 104 and helps to secure the strike plate 104 to the body 102 .
 is elongate in a lengthwise direction substantially parallel to The plate opening 176 extends from a front side of the body
 the strike face 106 and has a length LSS ( see , e.g. , FIG . 3 ) . 45 102 to a back side of the body 102. The body 102 addition
 As shown in FIGS . 1-11 , in some implementations, the sole ally includes a plate interface 132 formed in the body 102
 slot 126 is a through - slot, or a slot that is open on a sole along at least a portion of the periphery of the plate opening
 portion side of the sole slot 126 and open on an internal 176. Generally, the plate interface 132 promotes attachment
 cavity side or interior side of the sole slot 126. However, in of the strike plate 104 to the body 102 by supporting the
 other implementations, the sole slot 126 is not a through- 50 strike plate 104 against the body 102 and promoting the
 slot , but rather is closed on an internal cavity side or interior formation of a peripheral weld 120 between the strike plate
 side of the sole slot 126 .                                            104 and the body 102. Accordingly, the plate interface 132
    The sole slot 126 can be any of various flexible boundary is formed along at least the portion or portions of the
 structures (FBS ) as described in U.S. Pat. No. 9,044,653 ,         periphery of the plate opening 176 that will be welded to the
 filed Mar. 14 , 2013 , which is incorporated by reference 55 strike plate 104. In the illustrated embodiment of FIGS . 5
 herein in its entirety . Additionally, or alternatively, the golf and 6 , because the strike plate 104 is not welded to the body
 club head 100 can include one or more other FBS at any of 102 at the sole portion 118 of the body 102 , the plate
 various other locations on the golf club head 100 .               interface 132 does not extend along the periphery of the
    In some implementations, the sole slot 126 is filled with plate opening 176 at the sole portion 118 of the body 102 .
 a filler material 128 ( see , e.g. , FIGS . 4 and 11 ) . The filler 60 However, in the illustrated embodiment of FIGS . 5 and 6 ,
 material 128 is made from a non -metal, such as a thermo- because the peripheral weld 120 is formed between the
 plastic material, thermoset material, and the like, in some strike plate 104 and the body 102 continuously along the
 implementations. In other implementations, the sole slot 126 heel portion 112 , the toe portion 114 , and the top portion 116 ,
 is not filled with a filler material 128 , but rather maintains an the plate interface 132 is formed in and extends continuously
 open , vacant, space within the sole slot 126 .                     65 along the portions of the periphery of the plate opening 176
    According to one embodiments, the filler material 128 is at the heel portion 112 , the toe portion 114 , and the top
 initially a viscous material that is injected or otherwise 156         portion 116. According to other embodiments , such as
Case 3:24-cv-00212-AGS-VET                         Document 38-1 Filed 04/18/24                         PageID.612             Page
                                                       128 of 241

                                                      US 11,420,097 B2
                               11                                                                  12
 shown in FIGS . 12 , 13 , and 16-18 , because the peripheral         Referring to FIG . 7 , a slot edge 144 is formed in the sole
 weld does not extend along one or more portions of one or          portion 118 of the body 102. The slot edge 144 is elongate
 more of the heel portion 112 , the toe portion 114 , and the top   and extends lengthwise along the sole portion 118 in a
 portion 116 , although not shown, an plate interface may not   direction substantially parallel to the strike face 106. The
 be present along corresponding portions of the periphery of 5 slot edge 144 is open to or faces the plate opening 176 .
 the plate opening.                                             However, as shown, in some implementations, opposing
    Referring again to FIGS . 5 and 6 , the plate interface 132 ends of the slot edge 144 may have a substantially button
                                       2

 includes a rim 136 and a ledge 138. The rim 136 defines a hook 144
                                                                      shape such that opposing end portions of the slot edge
                                                                     face away from the plate opening 176 .
 surface that faces an interior of the body 102 and the ledge 10 Referring   to FIGS . 8 and 9 , the strike plate 104 has a back
 138 defines a surface that faces the front of the body 102 . surface 154 that                    2

                                                                                  opposes the strike face 106. The strike plate
 The rim 136 is transverse relative to the ledge 138 .
    The rim 136 is sized to be substantially flush against or 104    includes an inverted cone 152 protruding from the back
                                                                surface 154. Generally, the inverted cone 152 is aligned with
 just off of the outer peripheral edge 133 of the strike plate an  ideal striking location on the strike face 106. The inverted
 104. The fit between the rim 136 of the plate interface 132 15 cone 152 promotes a larger sweet spot for the golf club head
 and the outer peripheral edge 133 of the strike plate 104          100 , which facilitates a reduction in loss of distance on
 facilitates the butt welding together of the rim 136 of the mishits . The outer peripheral edge 133 extends along and
 body 102 and the outer peripheral edge 133 of the strike defines that outermost periphery of the strike plate 104. The
 plate 104 with the peripheral weld 120. In other words , the outer peripheral edge 133 of the strike plate 104 includes at
 peripheral weld 120 is located between and welds together 20 least one welded portion 134 and at least one non -welded
 the rim 136 of the plate interface 132 and the outer periph- portion 150. In the (j illustrated embodiment of FIGS . 8 and
 eral edge 133 of the strike plate 104. As shown in FIG . 6 , the 9 , the welded portion 134 of the strike plate 104 is a
 rim 136 may extend beyond the plate interface 132 , such as continuous edge that extends from one end of the non
 along the sole portion 118 of the body 102 , to facilitate welded portion 150 , along the sole wrap portion 122 , around
 welding of the welded portions 134 of the outer peripheral 25 the strike face 106 , and along an opposite end of the
 edge 133 located on the sole wrap portion 122 .                     non -welded portion . The non- welded portion 150 extends
    The peripheral weld 120 is formed using any of various along an entire length of the sole wrap portion 122 and faces
 welding techniques , such as those disclosed in U.S. Pat. No. a direction that is substantially perpendicular to that of the
 8,353,785 , which is incorporated herein by reference in its welded portion 134 .
 entirety. Moreover, the characteristics and type (e.g. , bead , 30 Referring now to FIGS . 10 and 11 , the sole wrap portion
 groove , fillet, surface, tack , plug , slot, friction , and resis- 122 effectively wraps around the sole portion 118 of the
 tance welds ) of the peripheral weld 120 can be that same or body 102 to define a portion of the bottom of the golf club
 analogous to those described in U.S. Pat . No. 8,353,785 . For head 100. Accordingly , the sole wrap portion 122 is angled
 example, in one implementation , the peripheral weld 120 is relative to the strike face 106. In the illustrated embodiment
 formed using one or more of a tungsten inert gas (TIG) or 35 of FIGS . 10 and 11 , the sole wrap portion 122 also effec
 metal inert gas (MIG) welding technique. In other imple- tively wraps around the lower shelf 130 of the back portion
 mentations, the peripheral weld 120 is formed using one or 129. The non - welded portion 150 of the outer peripheral
 more of a laser welding technique or a plasma welding edge 133 of the strike plate 104 faces the slot edge 144 of
 technique.                                                          the body 102. In one implementation, the non -welded por
    The ledge 138 abuts aa back surface of the strike plate 104 40 tion 150 is parallel to the slot edge 144 and has a length
 to support the strike plate 104 in place on the body 102 . LNW ( see , e.g. , FIG . 3 ) . The gap defined between the
 Additionally, the ledge 138 , being abutted against the strike non - welded portion 150 of the outer peripheral edge 133 and
 plate 104 , facilitates the transfer of ball- striking loads from the slot edge 144 defines the sole slot 126 of the golf club
 the strike plate 104 to the body 102 .                              head 100. Accordingly, the non -welded portion 150 defines
    Referring still to FIGS . 5 and 6 , as well as FIGS . 10 and 45 a forward slot wall of the sole slot 126 and the slot edge 144
 11 , the body 102 further includes a back portion 129 coupled defines aa rearward slot wall of the sole slot 126. There is no
 to and extending rearwardly from the sole portion 118. The weld between the non- welded portion 150 of the outer
 back portion 129 is also coupled to and extends rearwardly peripheral edge 133 of the strike plate 104 and the slot edge
 from lower parts of the heel portion 112 and the toe portion 144. In contrast, there is a weld between the welded portion
 114. The back portion 129 includes aa sole bar 131 , which is 50 134 of the outer peripheral edge 133 of the strike plate 104
 located in a low, rearward portion of the golf club head 100 . and the rim 136 of the body 102 .
 The sole bar 131 has a relatively large thickness in relation         As shown in FIG . 10 , a distance D1 between a first point
 to the strike plate and other portions of the golf club head 94 (which is the point at which the strike face 106 projects
 100 , thereby accounting for a significant portion of the mass onto the ground plane 96 when the golf club head 100 is in
 of the golf club head 100 , and thereby shifting a center of 55 a proper address position on the ground plane 96 ) and a
 gravity (CG) of the golf club head 100 relatively lower and second point 98 (which is the point at which a plane
 rearward . The back portion 129 also includes a lower shelf bisecting the sole slot 126 projects onto the ground plane 96
 130 and an upper shelf 140 protruding forwardly of the sole when the golf club head 100 is in a proper address position
 bar 131. The lower shelf 130 and the upper shelf 140 are on the ground plane 96 ) is between about 3.5 mm and about
 spaced rearwardly of the strike plate 104 such that a gap is 60 8 mm in some implementations, and between about 4 mm
 defined between each of the lower shelf 130 and the upper and about 7 mm in other implementations .
 shelf 140 of the back portion 129. Defined between the            To effectively plug the sole slot 126 , and prevent debris
 lower shelf 130 and the upper shelf 140 is a portion of an (e.g. , water, grass , dirt, etc. ) from entering the internal cavity
 internal cavity 142 , which may extend upwards to the top 142 , the filler material 128 is located within the slot 126. The
 portion 116. In the illustrated implementation, the internal 65 filler material 128 may also help to achieve other desired
 cavity 142 is open to the sole slot 126. The plate opening 176 performance objectives , including desired changes to the
 is partially open to the back of the body 102 .                157
                                                                 sound and feel of the club head by damping vibrations that
Case 3:24-cv-00212-AGS-VET                         Document 38-1 Filed 04/18/24                            PageID.613              Page
                                                       129 of 241

                                                      US 11,420,097 B2
                               13                                                                   14
 occur when the club head strikes a golf ball . Because the             Different than the golf club head 100 , the peripheral weld
 filler material 128 does not fuse with either the body 102 or        220 is made up of two separate weld sections , as opposed to
 the strike plate 104 , the filler material 128 is not considered     a single weld section as with the peripheral weld 120. Put
 a weld . Moreover, because the filler material 128 is consid-        another way, the outer peripheral edge 233 of the strike plate
 erably weaker than either the body 102 or the strike plate 5 204 includes two welded portions separated from each other
 104 , the filler material 128 is not considered a weld . Addi by the two non -welded portions 250. The welded portions of
 tionally, because the filler material 128 is a non -metal, it is the peripheral weld 220 are located adjacent the top portion
 not considered a weld .                                          216 of the body 202 and the sole portion 218 of the body
                                                                      202 , respectively. The face slots 260 , 262 at the heel portion
 of According   to some embodiments, a total peripheral length
    the outer peripheral edge 133 of the strike plate 104 ofthe 10 212
                                                                   headand
                                                                        200 the toe portion
                                                                             promotes        214, and
                                                                                       flexibility respectively
                                                                                                    9

                                                                                                       deflection, ofofthe
                                                                                                                        the golf
                                                                                                                            golf club
                                                                                                                                 club
 golf club head 100 is between about 185 mm and about 220             head 200 for heel -ward and toe -ward off -center hits , respec
 mm or between about 209 mm and about 214 mm . In some
 embodiments, a height of the heel portion 112 of the body tively
                                                              200 .
                                                                    , which improves the performance of the golf club head
 102 is between about 25 mm and about 27 mm . In certain 15 As another example, referring to FIG . 14 , the golf club
 embodiments, a height of the toe portion 114 of the body 102 head 300 includes a face slot 360 at a toe portion 314 of the
 is between about 50 mm and about 52 mm . In yet some body 302 , a face slot 362 at a heel portion 312 of the body
 embodiments, a length of the sole portion 118 of the body 302 , and a face slot 364 at a top portion 316 of the body 302 .
 102 is between about 58 mm and about 64 mm . According Each of the face slots 360 , 362 , 364 is defined between a
 tobetween
      some about
           embodiments , a total length of the body 102 is 20 respective non -welded portion 350 of the outer peripheral
                 53 mm and about 65 mm . In certain embodi- edge 333 of the strike plate 304 and a respective slot edge
 ments, a width of the sole portion 118 at the heel of the golf       344 of the body 302. The remaining portions of the outer
 club head 100 is between about 10 mm and about 12 mm .           peripheral edge 333 of the strike plate 304 are welded
   Referring now to FIGS . 12-15 , respective embodiments of      portions welded to the body 302 via the peripheral weld 320 .
 a golf club head 200 , a golf club head 300 , and a golf club 25 Different than the golf club head 200 , the peripheral weld
                                               2

 head 400 are shown . The respective golf club heads of FIGS . 320 is made up of three separate weld sections , as opposed
 12-15 are analogous to the golf club head 100 of FIGS . 1-11 , to two weld sections as with the peripheral weld 220. Put
 with like numbers referring to like features . More specifi- anotherway, the outer peripheral edge 333 of the strike plate
 cally , features of the golf club heads of FIGS . 12-15 that are 304 includes three welded portions separated from each
 analogous to features of the golf club head 100 have the 30 other by the three non- welded portions 350. The welded
 same number, but in a different series (e.g. , 200 -series, portions of the peripheral weld 320 are located adjacent the
 300 - series, 400 - series, etc. ) format rather than the 100 - series sole portion 318 of the body 202 , adjacent an intersection of
 format of the golf club head 100. Therefore , unless other- the toe portion 314 and top portion 316 , and adjacent an
 wise noted , the description, including the structure , function , intersection of the heel portion 312 and the top portion 316 ,
 and advantages, of the features of the golf club head 100 35 respectively. The face slots 360 , 362 , 364 at the heel portion
 presented above are applicable to the analogous features of 312 , toe portion 314 , and top portion 316 , respectively, of
 the respective golf club heads of FIGS . 12-15 .                       the golf club head 300 promotes flexibility and deflection of
    Like the golf club head 100 of FIGS . 1-11 , each of the golf the golf club head 200 for heel -ward, toe -ward , and high
 club head 200 , the golf club head 300 , and the golf club head off - center hits , respectively, which improves the perfor
 400 includes at least one slot partially defined by a non- 40 mance of the golf club head 200 .
 welded portion of aa strike plate . However, unlike the golf              According to another example, referring to FIG . 15 , the
 club head 100 of FIGS . 1-11 , the at least one slot of each of golf club head 400 includes a face slot 466 at aa sole portion
 the golf club head 200 , the golf club head 300 , and the golf 418 of the body 202. The face slot 266 is defined between
 club head 400 is not a sole slot (e.g. , a slot formed in the sole a non -welded portion 450 of the outer peripheral edge 433
 portion of the golf club head) . Rather, the slots of the golf 45 of the strike plate 404 and aa slot edge 444 of the body 402 .
 club head 200 , the golf club head 300 , and the golf club head The remaining portions of the outer peripheral edge 433 of
 400 are face slots ( e.g. , slots formed in or directly adjacent the strike plate 404 are welded portions welded to the body
 the strike face of the golf club head) . Additionally, although      402 via the peripheral weld 420. The face slot 466 at the sole
 not shown , each of the face slots of the various illustrated portion 418 of the golf club head 400 promotes flexibility
 embodiments described below can be filled with a filler 50 and deflection of the golf club head 400 for low off - center
 material.                                                     hits , which improves the performance of the golf club head
   For example, referring to FIGS . 12 and 13 , the golf club 400 .
 head 200 includes a face slot 260 at a toe portion 214 of the    Generally, each of the face slots of the various embodi
 body 202 and a face slot 262 at a heel portion 212 of the ments of a golf club head is a groove or channel formed in
 body 202. Each of the face slots 260 , 262 is defined between 55 a portion of the face (e.g. , adjacent a strike face ) of the golf
 a respective non- welded portion 250 of the outer peripheral club head . The face slots are elongate in a lengthwise
 edge 233 of the strike plate 204 and a respective slot edge direction and each has a length LFS . Although the sole slots
 244 of the body 202. The remaining portions of the outer and face slots of the present disclosure are substantially
 peripheral edge 233 of the strike plate 204 are welded straight in the illustrated embodiments, in other embodi
 portions welded to the body 202 via the peripheral weld 220. 60 ments , the sole slots and face slots can be curved or
 As shown, in one example, each of the non -welded portions non - straight. As shown in FIGS . 12-15 , in some implemen
 250 of the outer peripheral edge 233 of the strike plate 204 tations , the face slots are through - slots, or slots that is open
 and the slot edges 244 of the body 202 define a groove on a strike face side of the face slots and open on an internal
 formed into the respective outer peripheral edge 233 and the cavity side or back side of the face slots . However, in other
 body 202. Opposing grooves of a non -welded portion 250 65 implementations, the face slots are not through -slots, but
 and a slot edge 244 together define a respective one of the rather are closed on an internal cavity side or back side of the
 face slots 260 , 262 .                                          158
                                                                  face slots .
Case 3:24-cv-00212-AGS-VET                        Document 38-1 Filed 04/18/24                           PageID.614             Page
                                                      130 of 241

                                                    US 11,420,097 B2
                              15                                                                  16
    Although FIGS . 12-15 illustrate golf club heads with 520D or a weld that does not extend around 360 -degrees of
 several different configurations of face slots , it is recognized the outer peripheral edge 533D of the strike plate 504D .
 that golf club heads can have other configurations of face However, the peripheral weld 520D is configured such that
 slots without departing from the essence of the present the outer peripheral edge 533D of the strike plate 504D
 disclosure . For example, a golf club head may have four 5 includes four welded portions 534B each at a respective one
 separate face slots , one at each of the heel portion , toe of four corners the outer peripheral edge 533D . The remain
 portion, top portion, and sole portion of the golf club head . ing portions of the outer peripheral edge 533D of the strike
 Moreover, although the golf club heads illustrated in FIGS . plate 504D are non -welded portions 550D each located
 12-15 show a single face slot per respective heel , toe , top , adjacent a respective one of the heel portion 512D , toe
 and sole portion of the golf club head , in other embodiments, 10 portion 514D , top portion 516D , and sole portion 518D ,
 the golf club head includes two or more face slots at one or respectively, of the body 502D .
 more of the heel , toe , top , and sole portions of the golf club   Although the golf club heads 500B - D are not shown to
 head .                                                            have face slots like the respective golf club heads 200 , 300 ,
    Referring to FIGS . 16-19 , various golf club heads are 400 of FIGS . 12-15 , it is recognized that at any one or more
 shown with the placement of weld contours being empha- 15 of the non- welded portions of the outer peripheral edge of
 sized by heavier or darker lines . Each of the golf club heads the strike plate of the golf club heads 500B - D of FIGS .
 includes a strike plate that is welded to a body. Moreover, the 17-19 , the golf club head can include a face slot that is
 golf club heads 500B - D are analogous to the golf club head partially defined by a corresponding one of the non -welded
 100 , with like numbers referring to like features . More portions.
 specifically, features of the golf club heads of FIGS . 17-19 20 Referring to the golf club head 100 of FIGS . 1-11 and
 that are analogous to features of the golf club head 100 have 17-19 , but applicable to all embodiments of the golf club
 the same number, but in a different series ( e.g. , 500 - series) head of the present disclosure , the outer peripheral edge 133
 format rather than the 100 - series format of the golf club head of the strike plate 104 has a total peripheral length. The total
 100. Therefore , unless otherwise noted, the description, peripheral length of the outer peripheral edge 133 is defined
 including the structure, function , and advantages, of the 25 as the distance , circumferentially along the outer peripheral
 features of the golf club head 100 presented above are edge 133 , between a starting point and an ending point at the
 applicable to the analogous features of the respective golf same location as the starting point. Similarly, the peripheral
 club heads of FIGS . 17-19 .                                      weld 120 has a total weld length . For a peripheral weld 120
    A representation of a conventional golf club head 500A is that has multiple weld segments or sections , the total weld
 shown in FIG . 16. The golf club head 500A has aa continuous 30 length of the peripheral weld 120 is defined as the sum of the
 weld 520A or a weld that extends around 360 -degrees of the individual weld lengths of the weld segments. Moreover, the
 outer peripheral edge of the strike plate 504A . In contrast, individual length of a weld segment is equal to the individual
 the golf club head 500B shown in FIG . 17 has a peripheral length LW of the welded portion 134 of the outer peripheral
 weld 520B or a weld that does not extend around 360- edge 133 defined by the weld segment. Accordingly, the
 degrees of the outer peripheral edge 533B of the strike plate 35 total weld length of the peripheral weld 120 is equal to a total
 504B . More specifically, the peripheral weld 520B extends length of the welded portion 134 of the outer peripheral edge
 about only a portion ( e.g. , a portion adjacent the top portion 133 of the strike plate 104. For an outer peripheral edge 133
 516B and a portion adjacent the sole portion 518B ) of the that has multiple welded portions 134 , the total length of the
 outer peripheral edge 533B of the strike plate 504B . Accord- welded portion 134 is defined as the sum of the individual
 ingly, the outer peripheral edge 533B includes two welded 40 lengths LW of the welded portions 150. Correspondingly, a
 portions 534B each adjacent a respective one of the top total length of the non -welded portion 150 of the outer
 portion 516B and the sole portion 518B . The remaining peripheral edge 133 is equal to the difference between the
 portions of the outer peripheral edge 533B of the strike plate total peripheral length of the outer peripheral edge 133 and
 504B are non - welded portions 550B located adjacent the the total length of the welded portion 134 of the outer
 heel portion 512B and toe portion 514B , respectively, of the 45 peripheral edge 133. For an outer peripheral edge 133 that
 body 502B .                                                        has multiple non -welded portions 150 , the total length of the
    Like the golf club head 500B shown in FIG . 17 , the golf non - welded portion 150 is defined as the sum of the indi
 club head 500C of FIG . 18 has a peripheral weld 520C or a vidual lengths LNW of the non- welded portions 150 .
 weld that does not extend around 360 - degrees of the outer           Based on the foregoing, a ratio of the total length of the
 peripheral edge 533C of the strike plate 504C . However, 50 welded portion ( s) 134 of the outer peripheral edge 133 to the
 unlike the golf club head 500B , the peripheral weld 520C of total peripheral length of the strike plate 104 is less than one .
 the golf club head 500C includes multiple welded portions In some implementations, the ratio of the total length of the
 at each of the heel portion 512C , the toe portion 514C , the welded portion ( s) 134 of the outer peripheral edge 133 to the
 top portion 516C , and the sole portion 518C of the body total peripheral length of the strike plate 104 is between
 502C . Accordingly, the outer peripheral edge 533C includes 55 about 0.40 and about 0.94 . In yet certain implementations,
 at least two welded portions 534C adjacent each of the heel the ratio of the total length of the welded portion ( s) 134 of
 portion 512C , the toe portion 514C , the top portion 516C , the outer peripheral edge 133 to the total peripheral length
 and the sole portion 518C of the body 502C . The remaining of the strike plate 104 is between about 0.45 and about 0.80 .
 portions of the outer peripheral edge 533C of the strike plate According to further implementations, the ratio of the total
 504C are non -welded portions 550C where at least two 60 length of the welded portion ( s) 134 of the outer peripheral
 non -welded portions 550C are located adjacent each of the edge 133 to the total peripheral length of the strike plate 104
 heel portion 512C , the toe portion 514C , the top portion is between about 0.70 and about 0.75 .
 516C , and the sole portion 518C of the body 502C . The               Referring to FIG . 17 , for example, in some embodiments,
 peripheral weld 520C can be described to have a stich the length LW of each welded portion 534B of the outer
 pattern about the strike plate 504C .                           65 peripheral edge 533B is more than the length LNW of each
    Similar to the golf club head 500B of FIG . 17 , the golf non - welded portion 550B of the outer peripheral edge 533B .
 club head 500D shown in FIG . 18 has a peripheral weld 159   However, in other embodiments , such as shown in FIG . 19 ,
Case 3:24-cv-00212-AGS-VET                         Document 38-1 Filed 04/18/24                              PageID.615             Page
                                                       131 of 241

                                                      US 11,420,097 B2
                               17                                                                       18
 for example, the length LW of each welded portion 534D of            In some implementations, the ratio of the total length of the
 the outer peripheral edge 533D is less than the length LNW welded portion ( s) 634 of the outer peripheral edge 633 to the
 of each non -welded portion 550D of the outer peripheral total peripheral length of the strike plate 604 is between
 edge 533D . As also shown in FIG . 19 , for example, in about 0.40 and about 0.94 . In yet certain implementations,
 certain embodiments, at least two ( e.g. , all in some imple- 5 the ratio of the total length of the welded portion( s ) 634 of
 mentations) of the welded portions 534D of the outer the outer peripheral edge 633 to the total peripheral length
 peripheral edge 533D have different lengths. However, in of the strike plate 604 is between about 0.45 and about 0.80 .
 other embodiments, such as shown in FIG . 18 , for example, In one implementation, the ratio of the total length of the
 at least two of the welded portions 534C of the outer welded portion ( s) 634 of the outer peripheral edge 633 to the
 peripheral   edge 533C ,have
 some implementations        all ofthethesame lengthportions
                                          welded      . According to 10 total peripheral length of the strike plate 604 is about 0.625.
                                                             534C of
 the outer peripheral edge 533C have the same length .                  According to further implementations, the ratio of the total
    Referring now to FIGS . 20 and 21 , another embodiment length of the welded portion ( s) 634 of the outer peripheral
 of a golf club head 600 is shown . The golf club head 600 is edge 633 to the total peripheral length of the strike plate 604
 analogous to the golf club head 100 , with like numbers 15 is between about 0.70 and about 0.75.a
 referring to like features. More specifically, features of the a sole     According to some embodiments of a golf club head with
 golf club head 600 of FIGS . 20 and 21 that are analogous to                  slot , the length LSS of the sole slot is between about
 features of the golf club head 100 have the same number, but LSS       50 mm and about 65 mm . In one implementation, the length
 in aa different series (e.g. , 600 -series) format rather than the           of the sole slot is between about 50 mm and about 60
 100 -series format of the golf club head 100. Therefore, 20 mm . In another implementation, the length LSS of the sole
 unless otherwise noted , the description, including the struc        slot is between about 55 mm and about 65 mm .
 ture, function, and advantages, of the features of the golf              In some embodiments of a golf club head with aa face slot
 club head 100 presented above are applicable to the analo- at the heel of the golf club head , the length LFS of the face
 gous features of the golf club head 600 of FIGS . 20 and 21 . slot at the heel is between about 16 mm and about 19 mm .
    In contrast to the golf club head 100 , which is an iron - type 25 In some embodiments of a golf club head with aa face slot at
 golf club head , the golf club head 600 is a metal -wood -type the toe of the golf club head , the length LFS of the face slot
 golf club head or a driver - type golf club head . Accordingly, at the toe is between about 33 mm and about 40 mm . In
 the body 602 and strike plate 604 of the golf club head 600 certain implementations, the length LFS of the face slot at
 define an internal cavity 642 that is much larger than the           the toe is between about 33 mm and about 37 mm .
 internal cavity 142. For example , the internal cavity 642 30 Referring now to FIG . 22 , one embodiment of a golf club
                                                                                                    9

 facilitates a displaced volume of the golf club head 600             head 800 is shown . The golf club head 800 of FIG . 22 is
 between about 120 cm² and 200 cm² in one implementation.             analogous to the golf club head 100 of FIGS . 1-11 , with like
   owever, in some implementations, the golf club head 60             numbers referring to like features. More specifically, fea
 can be configured to have aa head volume between about 110           tures of the golf club head 800 of FIG . 22 that are analogous
 cmº and about 600 cm° . In more particular implementations, 35 to features of the golf club head 100 have the same number,
 the head volume may be between about 250 cm and about but in a different series ( e.g. , 800 - series ) format rather than
 500 cm” . In yet more specific implementations, the head the 100 - series format of the golf club head 100. Therefore,
 volume may be between about 300 cm and about 500 cm , unless otherwise noted , the description, including the struc
 N between about 300 cm and about 360 cm , between about ture, function , and advantages , of the features of the golf
 300 cm and about 420 cm or between about 420acm and 40 club head 100 presented above are applicable to the analo
 about 500 cm° . The golf club head 600 may have a volume gous features of the golf club head 800 of FIG . 22 .
 between about 300 cm and about 460 cm ", and a total mass
                                              9                    As opposed to the golf club head 100 of FIGS . 1-11 ,
 between about 145 g and about 245 g.. Alternatively, the golf which illustrates a cavity -back or muscle - back type golf club
                                                           3
 club head may have a volume between about 100 cm and head , the golf club head 800 of FIG . 22 is a hollow -cavity
 about 250 cm" , and a total mass between about 145 g and 45 type golf club head . More specifically , while the internal
 about 260 g . In some implementations where the golf club cavity 142 and the back surface 154 of the strike plate 104
 head 600 is configured as a hybrid golf club head , the golf of the golf club head 100 are not enclosed, but rather are
 club head 600 may have a volume between about 60 cm and open to a rear of the golf club head 100 , the internal cavity
 about 150 cm" , and a total mass between about 145 g and 842 and the back surface 854 of the strike plate 804 of the
 about 280 g.                                                 50 golf club head 800 are enclosed or closed to a rear of the golf
    The outer peripheral edge 633 of the strike plate 604 has club head 800. The back portion 829 of the golf club head
 a welded portion 634 , welded to the body 602 , and a 800 further includes a rear wall 833 that encloses a rearward
 non -welded portion 650 that is not welded to the body 602 . side of the internal cavity 842. The golf club head 800
 Rather, the non- welded portion 650 faces and is spaced apart having a hollow internal cavity 842 provides several advan
 from aa slot edge 644 of the body 602 to define a sole slot 626 55 tages , such as an increased forgiveness for off - center hits on
 of the golf club head 600. As shown in FIG . 20 , the sole slot the strike face 806 of the strike plate 804. In some embodi
 626 can be filled with a non- metal filler material 628 .          ments, the volume of the golf club head 800 is between
    Although the illustrated embodiments show iron -type golf about 10 cm and about 120 cm° . For example, in some
                                                                                                             .




 club heads and metal -wood - type golf club heads , it is embodiments, the golf club head 800 has a volume between
 recognized that the features, functions, and advantages asso- 60 about 20 cm and about 110 cm" , such as between about 30
 ciated with the iron - type golf club heads and metal-wood- cm and about 100 cm" , such as between about 40 cm and
 type golf club heads also applies to hybrid - type golf club about 90 cm " , such as between about 50 cm² and about 80
 heads, driver -type golf club heads, and putter -type golf club cm , and such as between about 60 cm and about 80 cm .
 heads .                                                             In addition , in some embodiments, the golf club head 800
    As presented above , a ratio of the total length of the 65 has an overall depth that is between about 15 mm and about
 welded portion ( s) 634 of the outer peripheral edge 633 to the 100 mm . For example, in some embodiments , the golf club
 total peripheral length of the strike plate 604 is less than one . 160
                                                                     head 800 has an overall depth between about 20 mm and
Case 3:24-cv-00212-AGS-VET                         Document 38-1 Filed 04/18/24                            PageID.616              Page
                                                       132 of 241

                                                     US 11,420,097 B2
                               19                                                                  20
 about 90 mm , such as between about 30 mm and about 80             simply by turning the object over . Nevertheless, it is still the
 mm and such as between about 40 mm and about 70 mm .               same object. Further, the terms “ including , " " comprising , "
    Other examples of cavity -back, muscle -back , and hollow- “ having ,” and variations thereof mean “ including but not
 cavity iron - type golf club heads are described in U.S. patent limited to ” unless expressly specified otherwise. An enu
 application Ser. No. 14 / 981,330 , filed Dec. 28 , 2015 , which 5 merated listing of items does not imply that any or all of the
 is incorporated herein by reference .                              items are mutually exclusive and / or mutually inclusive ,
    In some implementations, the golf club head 800 includes unless expressly specified otherwise . The terms “ a , ” “ an , " <


 weighted elements, such as a tungsten plug 896 , located at and “ the ” also refer to “ one or more ” unless expressly
 least partially within the internal cavity 842 in some imple- specified otherwise . Further, the term “ plurality ” can be
 mentations. Additionally, the body of the golf club heads of 10 defined as “ at least two . ” The term “ about ” in some embodi
 the present disclosure can include various features such as ments, can be defined to mean within +/- 5 % of a given
 weighting elements , cartridges, and / or inserts or applied value .
 bodies as used for CG placement, vibration control or                Additionally, instances in this specification where one
 damping, or acoustic control or damping. For example, U.S. element is " coupled ” to another element can include direct
 Pat . No. 6,811,496 , incorporated herein by reference in its 15 and indirect coupling . Direct coupling can be defined as one
 entirety, discloses the attachment of mass altering pins or element coupled to and in some contact with another ele
 cartridge weighting elements .                                     ment. Indirect coupling can be defined as coupling between
    Referring now to FIG . 23 , referring to one embodiment, two elements not in direct contact with each other, but
 a method 700 of making a golf club head , such as the golf having one or more additional elements between the coupled
 club heads described herein , includes peripherally discon- 20 elements . Further, as used herein , securing one element to
 tinuously welding an outer peripheral edge of a strike plate another element can include direct securing and indirect
 to a body with the strike plate located between a heel securing. Additionally, as used herein , " adjacent " does not
 portion, a sole portion, a toe portion , and a top portion of the necessarily denote contact. For example, one element can be
 body at 702. Additionally, the method 700 includes filling a adjacent another element without being in contact with that
 gap between the outer peripheral edge of the strike plate and 25 element.
 the body with a filler material at 704 .                          As used herein , the phrase “ at least one of ” , when used
    Reference throughout this specification to " one embodi- with a list of N items, means different combinations of one
 ment , ” “ an embodiment,” or similar language means that a or more of the listed items may be used and only one of the
 particular feature , structure , or characteristic described in items in the list may be needed . The item may be a particular
 connection with the embodiment is included in at least one 30 object, thing, or category. In other words, “ at least one of "
 embodiment of the present disclosure. Appearances of the means any combination of items or number of items may be
 phrases " in one embodiment, " " in an embodiment, " and used from the list , but not all of the items in the list may be
 similar language throughout this specification may , but do         required . For example, " at least one of item A , item B , and
 not necessarily, all refer to the same embodiment. Similarly, item C ” may mean item A ; item A and item B ; item B ; item
 the use of the term “ implementation ” means an implemen- 35 A , item B , and item C ; or item B and item C. In some cases ,
 tation having a particular feature, structure , or characteristic “ at least one of item A , item B , and item C ” may mean, for
 described in connection with one or more embodiments of example , without limitation , two of item A , one of item B ,
 the present disclosure, however, absent an express correla- and ten of item C ; four of item B and seven of item C ; or
 tion to indicate otherwise, an implementation may be asso- some other suitable combination .
 ciated with one or more embodiments .                            40   Unless otherwise indicated , the terms " first," " second , "
     The schematic flow chart diagrams included herein are etc. are used herein merely as labels, and are not intended to
 generally set forth as logical flow chart diagrams. As such , impose ordinal, positional , or hierarchical requirements on
 the depicted order and labeled steps are indicative of one the items to which these terms refer. Moreover, reference to ,
 embodiment of the presented method . Other steps and e.g. , a “ second ” item does not require or preclude the
 methods may be conceived that are equivalent in function , 45 existence of, e.g. , a “ first” or lower -numbered item , and /or,
 logic , or effect to one or more steps, or portions thereof, of e.g. , a “ third ” or higher -numbered item .
 the illustrated method. Additionally, the format and symbols               As used herein , a system , apparatus, structure, article,
 employed are provided to explain the logical steps of the element, component, or hardware “ configured to ” perform a
 method and are understood not to limit the scope of the specified function is indeed capable of performing the
 method. Although various arrow types and line types may be 50 specified function without any alteration , rather than merely
 employed in the flow chart diagrams, they are understood having potential to perform the specified function after
 not to limit the scope of the corresponding method . Indeed , further modification . In other words , the system , apparatus,
 some arrows or other connectors may be used to indicate structure, article, element, component, or hardware “ config
 only the logical flow of the method. For instance , an arrow ured to " perform a specified function is specifically selected ,
 may indicate a waiting or monitoring period of unspecified 55 created, implemented, utilized, programmed , and/or
 duration between enumerated steps of the depicted method . designed for the purpose of performing the specified func
 Additionally, the order in which a particular method occurs tion . As used herein , “ configured to ” denotes existing char
 may or may not strictly adhere to the order of the corre- acteristics of a system , apparatus, structure , article, element,
 sponding steps shown.                                                    component, or hardware which enable the system , appara
     In the above description, certain terms may be used such 60 tus, structure , article , element, component, or hardware to
 as “ up ” “ down,” “ upper , ” “ lower , ” “ horizontal," " vertical , ” perform the specified function without further modification.
                           >


 " left , " " right," " over," " under ” and the like . These terms are For purposes of this disclosure , a system , apparatus, struc
 used , where applicable , to provide some clarity of descrip- ture, article, element, component, or hardware described as
 tion when dealing with relative relationships. But, these being “ configured to ” perform a particular function may
 terms are not intended to imply absolute relationships, 65 additionally or alternatively be described as being N
 positions , and / or orientations. For example, with respect to " adapted to " and /or as being " operative to " perform that
 an object, an “ upper” surface can become aa “ lower ” surface 161       function .
Case 3:24-cv-00212-AGS-VET                        Document 38-1 Filed 04/18/24                                PageID.617               Page
                                                      133 of 241

                                                     US 11,420,097 B2
                               21                                                                     22
    The present subject matter may be embodied in other                   9. The iron - type golf club head according to claim 1 ,
 specific forms without departing from its spirit or essential wherein part of the strike plate extends further toeward than
 characteristics. The described embodiments are to be con- the second part of the sole portion.
 sidered in all respects only as illustrative and not restrictive .       10. The iron - type golf club head according to claim 1 ,
 All changes which come within the meaning and range of 5 wherein the lower forward sole bar protrusion defines a
 equivalency of the claims are to be embraced within their lower shelf and the sole bar further comprises an upper
 scope .                                                               forward sole bar protrusion protruding from the sole bar
    What is claimed is :
    1. An iron - type golf club head having an internal cavity, forwardforward
                                                                                 towards the strike plate , and wherein the upper
                                                                                sole  bar protrusion defines an upper shelf, wherein
 comprising:                                                        10
                                                                       the recess is located in between the lower shelf and the upper
   a body, comprising a heel portion, a first part of a sole shelf.
     portion , a toe portion , a top portion , and aa hosel of the     11. The iron - type golf club head according to claim 10 ,
     golf club head ;                                               wherein  the weight is at least partially received within the
   a strike plate welded to the body, wherein :                     recess .
     the strike plate comprises a strike face of the golf club 15
        head , a second part of the sole portion of the golf wherein   12. The iron -type golf club head according to claim 1 ,
        club head , and a majority of a face - to - sole transition          at least one of the body and the strike plate are
        region between the strike face and the sole portion ; forged .
      the second part of the sole portion has an internal                13. A golf club head having an internal cavity, compris
         surface that defines a portion of the internal cavity; 20 ing :
      the strike plate has a central portion and a peripheral        a body, comprising a heel portion, a first part of a sole
        portion surrounding the central portion; and                     portion , a toe portion, a top portion, and a hosel of the
                                                                                                                          a

      a thickness of the central portion is greater than a                  golf club head ;
         thickness of the peripheral portion ;                           a strike plate welded to the body, wherein :
   a sole bar protruding from the first part of the sole portion 25         the strike plate comprises a strike face of the golf club
      into the internal cavity, wherein the sole bar is located               head , a second part of the sole portion of the golf
      in aa low and rearward portion of the golf club head and                 club head , and a majority of a face - to - sole transition
      has a relatively large thickness in relation to the strike              region between the strike face and the sole portion ;
      plate ;                                                               the second part of the sole portion has an internal
   a lower forward sole bar protrusion protruding from the 30                  surface that defines a portion of the internal cavity ;
      sole bar forward towards the strike plate, wherein the                   and
      second part of the sole portion wraps underneath the                  the strike plate has a central portion and a peripheral
     lower forward sole bar protrusion protruding from the                    portion surrounding the central portion ; and
      sole bar ; and
   an elastomer material that contacts an underside surface 35              a thickness of the central portion is greater than a
      of the lower forward sole bar protrusion, wherein the                    thickness of the peripheral portion;
      elastomer material contacts a back surface of the strike           a thickened portion protruding from the first part of the
      plate and the elastomer material contacts an interior                 sole portion into the internal cavity, wherein the thick
      surface of the second part of the sole portion ;                      ened portion is located in a low portion of the golf club
   wherein :                                                      40        head and rearward of the second part of the sole
      a thickness of the second part of the sole portion is less            portion, and the thickened portion has a relatively large
         than the thickness of the central portion of strike                thickness in relation to the strike plate and has a
         plate;                                                             thickness greater than the central portion of the strike
      at least a portion of the second part of the sole portion            plate ;
         is welded along the first part of the sole portion ; and 45     an elastomer material that contacts a back surface of the
      the first part of the sole portion further comprises a                strike plate and contacts an interior surface of the
         recess having at least a rear wall and opposing side               second part of the sole portion ; and
         walls , and wherein a weight is at least partially              a lower shelf, protruding from the sole bar forward
          surrounded by the recess .                                        towards the strike plate , and an upper shelf, protruding
    2. The iron - type golf club head according to claim 1 , 50             from the sole bar forward towards the strike plate;
 wherein the elastomer material is a foam .                              wherein :
    3. The iron - type golf club head according to claim 1 ,                a thickness of the second part of the sole portion is less
 wherein the elastomer material is polyurethane.                               than the thickness of the central portion of strike
    4. The iron - type golf club head according to claim 1 ,                   plate; and
 wherein the elastomer material is a thermoplastic.            55           at least a portion of the second part of the sole portion
    5. The iron -type golf club head according to claim 1 ,                    is welded along the first part of the sole portion.
 wherein the elastomer material is a thermoset.                          14. The golf club head according to claim 13 , further
    6. The iron - type golf club head according to claim 1 , comprising a recess located between the lower shelf and the
 wherein the elastomer material is initially a viscous material upper shelf.
 that is injected.                                             60 15. The golf club head according to claim 14 , wherein at
    7. The iron -type golf club head according to claim 1 , least a portion of the elastomer material is located forward
 wherein the strike plate is made of a first material and the          of the recess .
 body is made of a second material that is different than the      16. The golf club head according to claim 15 , further
 first material.                                                comprising a weight positioned between the lower shelf and
    8. The iron - type golf club head according to claim 1 , 65 the upper shelf .
 wherein at least one of the strike plate and the body are         17. An iron - type golf club head having an internal cavity,
 formed of aa stainless steel .                                162
                                                                comprising:
Case 3:24-cv-00212-AGS-VET                       Document 38-1 Filed 04/18/24                            PageID.618             Page
                                                     134 of 241

                                                    US 11,420,097 B2
                             23                                                                  24
   a body, comprising a heel portion, a first part of a sole          wherein :
     portion , a toe portion, a top portion , and aa hosel of the       a thickness of the second part of the sole portion is less
     golf club head;                                                       than the thickness of the central portion of strike
   a strike plate welded to the body, wherein :                            plate ;
     the strike plate comprises a strike face of the golf club 5        at least a portion of the second part of the sole portion
        head , a second part of the sole portion of the golf               is welded along the first part of the sole portion ; and
        club head, and a majority of a face - to - sole transition
        region between the strike face and the sole portion ;           at least a portion of the elastomer material is located
     the second part of the sole portion has an internal                   forward of the one or more lower sole bar recesses .
         surface that defines a portion of the internal cavity ; 10 18. The iron -type golf club head according to claim 17 ,
      the strike plate has a central portion and a peripheral wherein at least one of the body and the strike plate are
         portion surrounding the central portion ; and             forged.
      a thickness of the central portion is greater than a           19. The iron -type golf club head according to claim 17 ,
         thickness of the peripheral portion;                      wherein  :
   a sole bar protruding from the first part of the sole portion
      into the internal cavity, wherein the sole bar is located 15 the one or more lower sole bar recesses comprises a toe
      in a low and rearward portion of the golf club head and           recess and a heel recess;
      has a relatively large thickness in relation to the strike     at least a portion of the toe recess is located toeward of a
      plate ;                                                           geometric center of the strike face; and
   one or more lower sole bar recesses; and
   an elastomer material that contacts a back surface of the 20 at least a portion of the heel recess is located heelward of
      strike plate and contacts an interior surface of the              the geometric center of the strike face .
      second part of the sole portion ;                                                           *   *    *




                                                                     163
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.619   Page
                                 135 of 241




                       Exhibit 5




                                      164
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.620   Page
                                 136 of 241




                                      165
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.621   Page
                                 137 of 241




                                      166
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.622   Page
                                 138 of 241




                                      167
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.623   Page
                                 139 of 241




                                      168
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.624   Page
                                 140 of 241




                                      169
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.625   Page
                                 141 of 241




                                      170
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.626   Page
                                 142 of 241




                                      171
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.627   Page
                                 143 of 241




                                      172
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.628   Page
                                 144 of 241




                                      173
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.629   Page
                                 145 of 241




                                      174
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.630   Page
                                 146 of 241




                                      175
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.631   Page
                                 147 of 241




                                      176
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.632   Page
                                 148 of 241




                                      177
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.633   Page
                                 149 of 241




                                      178
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.634   Page
                                 150 of 241




                                      179
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.635   Page
                                 151 of 241




                                      180
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.636   Page
                                 152 of 241




                                      181
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.637   Page
                                 153 of 241




                                      182
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.638   Page
                                 154 of 241




                                      183
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.639   Page
                                 155 of 241




                                      184
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.640   Page
                                 156 of 241




                                      185
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.641   Page
                                 157 of 241




                                      186
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.642   Page
                                 158 of 241




                                      187
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.643   Page
                                 159 of 241




                                      188
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.644   Page
                                 160 of 241




                                      189
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.645   Page
                                 161 of 241




                                      190
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.646   Page
                                 162 of 241




                       Exhibit 6




                                      191
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.647   Page
                                 163 of 241




                                      192
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.648   Page
                                 164 of 241




                                      193
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.649   Page
                                 165 of 241




                                      194
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.650   Page
                                 166 of 241




                       Exhibit 7




                                      195
                      Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.651 Page
                                                167 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS

     Taylor Made provides the following claim chart demonstrating that the accused Kirkland Signature™ irons (the “accused products”)
     meet each and every limitation, either literally or under the doctrine of equivalents, of at least claim 1 of the U.S. Patent No. RE47,653
     (“the ’653 patent”) and thus infringes at least claim 1 pursuant to 35 U.S.C. § 271(a). Taylor Made reserves the right to modify and/or
     supplement the claim chart herein where appropriate as discovery progresses.



            ’653 Patent Claims                                               The Accused Kirkland Signature™ Irons
1. A hollow iron-type golf club head             Assuming arguendo the preamble is limiting, the accused products are iron-type golf club
comprising:                                      heads. See https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                 handed.product.4000236767.html (last visited January 29, 2024) (describing the accused
                                                 products as “players irons” and including “4-9 Iron and Pitching Wedge”).

                                                 Moreover, the accused products are hollow as evidenced by the diagram provided by Costco
                                                 and as evidenced by cross section images of the accused products.




                                                 Id. (annotated).



                                                                         2
     Exhibit 6                                                            196
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.652 Page
                                                 168 of 241
             INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS




                                                   To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                   Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                   products perform substantially the same function in substantially the same way to effect
                                                   substantially the same result, or are only insubstantially different.

a heel portion, a sole portion, a toe portion, a   The accused products have a heel portion, sole portion, toe portion, top-line portion, front
top-line portion, a front portion, a rear          portion, and rear portion, as shown in the images below. The accused products have a
portion, and a striking face having an             striking face having an unsupported face surface area of approximately 2,958 mm2, which is
unsupported surface area within a range of         within a range of between about 300mm2 to about 4,000 mm2.
about 300 mm2 to about 4,000 mm2;




                                                                           3
     Exhibit 6                                                              197
             Case 3:24-cv-00212-AGS-VET
                                      Document 38-1 Filed 04/18/24 PageID.653 Page
                                          169 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS




                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).




                                                      4
Exhibit 6                                              198
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.654 Page
                                                 170 of 241
             INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS




                                                    Id. (annotated)

                                                    To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                    Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                    products perform substantially the same function in substantially the same way to effect
                                                    substantially the same result, or are only insubstantially different.

a back wall in the rear portion enclosing a         The accused products have a back wall in the fear portion that encloses a substantial portion
substantial portion of the rear portion to create   of the rear portion to create a substantially enclosed cavity. Further, the substantially
a substantially enclosed cavity, the enclosed       enclosed cavity of the accused products is defined by at least the rear surface of the striking
cavity being defined by at least a rear surface     face, an inner back wall surface, and the sole portion.
of the striking face, an inner back wall
surface, and the sole portion;                      These features are illustrated in the exploded diagram of the accused product below. When
                                                    the club is in its natural “unexploded state” the cavity is substantially enclosed by the
                                                    aforementioned features.



                                                                            5
     Exhibit 6                                                               199
                       Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.655 Page
                                                171 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS




                                                 Id. (annotated).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

a filler material located within the enclosed    The accused products have a filler material located within the enclosed cavity. On
cavity, the filler material occupying about      information and belief, the filler material of the accused products occupies about 50% to
50% to about 99% of the total club head          99% of the total club head cavity volume. The accused products further have an aperture in
cavity volume in the enclosed cavity, the golf


                                                                         6
     Exhibit 6                                                            200
                       Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.656 Page
                                                172 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS


club head defining an aperture into the          the golf club head that connects to the enclosed cavity, allowing the enclosed cavity to be
enclosed cavity, the aperture being configured filled with the filter material.
to allow the cavity to be filled with the filler
material;




                                                 Id. (annotated)




                                                                         7
     Exhibit 6                                                           201
                     Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.657 Page
                                                173 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS




                                           Costco’s website describes the filler material as a “urethane insert” that is “injected.”
                                           https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                           handed.product.4000236767.html (last visited January 29, 2024).

                                           To the extent the accused products are found not to literally infringe this limitation, Taylor
                                           Made reserves the right to demonstrate the presence of an equivalent because the accused
                                           products perform substantially the same function in substantially the same way to effect
                                           substantially the same result, or are only insubstantially different.

wherein the enclosed cavity has a volume   The enclosed cavity of the accused products has a volume of approximately 17.8 cubic
between about 10 cc and 20 cc;             centimeters, which is between about 10 cc and 20 cc.

                                           To the extent the accused products are found not to literally infringe this limitation, Taylor
                                           Made reserves the right to demonstrate the presence of an equivalent because the accused
                                           products perform substantially the same function in substantially the same way to effect
                                           substantially the same result, or are only insubstantially different.


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     Exhibit 6                                                      202
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.658 Page
                                                 174 of 241
             INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. RE47,653 FOR KIRKLAND SIGNATURE™ IRONS


wherein the striking face thickness is less than The accused products have a maximum striking face thickness of approximately 2.5, which
3 mm; and                                        is less than 3 mm.




                                                   To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                   Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                   products perform substantially the same function in substantially the same way to effect
                                                   substantially the same result, or are only insubstantially different.

wherein a coefficient of restitution of the club   The accused products have a coefficient of restitution of the club head greater than about 0.8.
head is greater than about 0.8.                    On information and belief, testing and further discovery will show that the coefficient of
                                                   restitution of the accused club heads is greater than about 0.8.

                                                   Alternatively, on information and belief, the accused product golf club heads have a
                                                   coefficient of restitution value that is insubstantially different from a coefficient of restitution
                                                   value greater than about 0.8 and the accused products perform substantially the same
                                                   function, in substantially the same way, to effect substantially the same result as the claimed
                                                   golf club head having a coefficient of restitution value greater than about 0.8.



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     Exhibit 6                                                              203
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.659   Page
                                 175 of 241




                       Exhibit 8




                                      204
                      Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.660 Page
                                                176 of 241
           INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS

     Taylor Made provides the following claim chart demonstrating that the accused Kirkland Signature™ irons (“the accused products”)
     meet each and every limitation, either literally or under the doctrine of equivalents, of at least claim 1 of the U.S. Patent No.
     10,953,293 (“the ’293 patent”) and thus infringes at least claim 1 pursuant to 35 U.S.C. § 271(a). Taylor Made reserves the right to
     modify and/or supplement the claim chart herein where appropriate as this action progresses.



            ’293 Patent Claims                                             The Accused Kirkland Signature™ Irons
1. A hollow body iron-type golf club head,      Assuming arguendo the preamble is limiting, the accused products are iron-type golf club
comprising:                                     heads. See https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                handed.product.4000236767.html (last visited January 29, 2024) (describing the accused
                                                products as “players irons” and including “4-9 Iron and Pitching Wedge”).

                                                Moreover, the accused products are hollow bodied as evidenced by the diagram provided by
                                                Costco and as evidenced by cross section images of the accused products




                                                Id. (annotated).




                                                                       2
     Exhibit 7                                                          205
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.661 Page
                                                 177 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                                   To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                   Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                   products perform substantially the same function in substantially the same way to effect
                                                   substantially the same result, or are only insubstantially different.

a body, comprising a heel portion, a first part    The accused products have a body comprising a heel portion, a first part of a sole portion, a
of a sole portion, a toe portion, a top portion,   toe portion, a top portion, a rear wall, and a hosel of the golf club head, as shown in the
a rear wall, and a hosel of the golf club head;    images below.




                                                                           3
     Exhibit 7                                                              206
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.662 Page
                                                 178 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                              https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                              handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                              To the extent the accused products are found not to literally infringe this limitation, Taylor
                                              Made reserves the right to demonstrate the presence of an equivalent because the accused
                                              products perform substantially the same function in substantially the same way to effect
                                              substantially the same result, or are only insubstantially different.

a strike plate welded to the body, wherein:   The accused products have a strike plate. On information and belief, the strike plate of the
                                              accused products is welded to the body. This is evidenced by the presence of a weld bead, as
                                              indicated in the figure below.




                                                                      4
     Exhibit 7                                                         207
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.663 Page
                                                 179 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

the strike plate comprises a strike face of the   The accused products have a strike plate that is comprised of a strike face, a second part of
golf club head, a second part of the sole         the sole portion, and a majority of the face-to-sole transition region between the strike face
portion of the golf club head, and a majority     and the sole portion. These features are shown in the cross-sectional view of the accused
of a face-to-sole portion transition region       product below.
between the strike face and the sole portion;




                                                                          5
     Exhibit 7                                                             208
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.664 Page
                                                 180 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

the strike plate, the heel portion, the sole      As shown in the figure below, the strike plate, heel portion, sole portion, toe portion, top
portion, the toe portion, the top portion, and    portion, and rear wall of the accused products enclose an internal cavity of the accused
the rear wall enclose an internal cavity of the   products. The figure below shows an exploded view of the accused products. The internal
golf club head;                                   cavity is enclosed by the specified features when the club is in its normal “unexploded” state.




                                                                          6
     Exhibit 7                                                             209
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.665 Page
                                                 181 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                                 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                 handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

the second part of the sole portion has an       As shown below, the second part of the sole portion has an internal surface that defines a
internal surface that defines a portion of the   portion of the internal cavity.
internal cavity;




                                                                         7
     Exhibit 7                                                            210
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.666 Page
                                                 182 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                               To the extent the accused products are found not to literally infringe this limitation, Taylor
                                               Made reserves the right to demonstrate the presence of an equivalent because the accused
                                               products perform substantially the same function in substantially the same way to effect
                                               substantially the same result, or are only insubstantially different.

the strike plate has a central portion and a   The accused products have a strike plate that has a central portion (shown with a red
peripheral portion surrounding the central     annotation in the figure below) and a peripheral portion (shown with a blue annotation in the
portion, wherein a thickness of the central    figure below) that surrounds the central portion.
portion is greater than a thickness of the
peripheral portion; and



                                                                       8
     Exhibit 7                                                          211
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.667 Page
                                           183 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                The central portion of the strike plate of the accused products has a thickness that is greater
                                than a thickness of the peripheral portion. As shown below, the strike plate on the pictured
                                accused product is approximately 2.5 mm thick in a central portion and only approximately
                                2.1 mm thick in a peripheral portion.




                                                        9
Exhibit 7                                                212
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.668 Page
                                                 184 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

the first part of the sole portion comprises a   The accused products have a first part of the sole portion that comprises a recess formed in
recess formed in an internal surface of the      the internal surface of the first part of the sole portion, as shown below in the annotated
first part of the sole portion;                  cross-sectional picture of the accused products.




                                                                        10
     Exhibit 7                                                            213
                        Case 3:24-cv-00212-AGS-VET
                                              Document 38-1 Filed 04/18/24 PageID.669 Page
                                                  185 of 241
             INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                products perform substantially the same function in substantially the same way to effect
                                                substantially the same result, or are only insubstantially different.

a filler material within the internal cavity;   The internal cavity of the accused products has a filler material within it, as shown in the
                                                figures below.




                                                                       11
     Exhibit 7                                                           214
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.670 Page
                                           186 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).




                                                     12
Exhibit 7                                              215
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.671 Page
                                                 187 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS


                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

a tungsten weight located within the recess of   The accused products have a weight shown in the in the figures below, located within the
the first part of the sole portion;              recess of the first part of the sole portion. Costco’s web listing of the accused products states
                                                 that the irons have “an internal tungsten weight.” See https://www.costco.com/kirkland-
                                                 signature-7-piece-players-iron-set%2C-right-handed.product.4000236767.html (last visited
                                                 January 29, 2024). Thus, the accused products have a tungsten weight located within the
                                                 recess of the first part of the sole portion.




                                                                         13
     Exhibit 7                                                            216
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.672 Page
                                           188 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS




                                               14
Exhibit 7                                       217
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.673 Page
                                                 189 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS


                                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                products perform substantially the same function in substantially the same way to effect
                                                substantially the same result, or are only insubstantially different.

a threaded toe port formed in the toe portion   The accused products have a threaded toe port formed in the toe portion of the golf club
of the golf club head, wherein the internal     head. The internal cavity is connected to the exterior via the toe port and thus the internal
cavity is configured to receive the filler      cavity is configured to receive the filler material through the threaded toe port.
material through the threaded toe port;




                                                Id. (annotated).

                                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                products perform substantially the same function in substantially the same way to effect
                                                substantially the same result, or are only insubstantially different.

a threaded plug that is threadably engaged      The accused products have a threaded plug, shown in the diagram below, that is threadably
with the threaded toe port to plug the threaded engaged with the threaded toe port to plug the threaded toe port. The diagram below is an
toe port;

                                                                       15
     Exhibit 7                                                           218
                         Case 3:24-cv-00212-AGS-VET
                                              Document 38-1 Filed 04/18/24 PageID.674 Page
                                                  190 of 241
             INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS


                                                    exploded view. When the club is in its natural “unexploded” state, the plug is threaded into
                                                    the toe port to plug the port.




                                                    Id. (annotated).

                                                    To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                    Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                    products perform substantially the same function in substantially the same way to effect
                                                    substantially the same result, or are only insubstantially different.

a first COR drop off value when the internal        When tested, the accused products have a first COR drop off value when the internal cavity
cavity is unfilled;                                 is unfilled.

                                                    To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                    Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                    products perform substantially the same function in substantially the same way to effect
                                                    substantially the same result, or are only insubstantially different.

a second COR drop off value when the                When tested, the accused products have a second COR drop off value when the internal
internal cavity is at least partially filled with   cavity is at least partially filled with the filler material.
the filler material; and


                                                                           16
      Exhibit 7                                                              219
                     Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.675 Page
                                                191 of 241
           INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 10,953,293 FOR KIRKLAND SIGNATURE™ IRONS


                                            To the extent the accused products are found not to literally infringe this limitation, Taylor
                                            Made reserves the right to demonstrate the presence of an equivalent because the accused
                                            products perform substantially the same function in substantially the same way to effect
                                            substantially the same result, or are only insubstantially different.

a COR change value being a difference       When tested, the accused products have a COR change value that is the difference between
between the second COR drop off value and   the second COR drop off value and the first COR drop off value.
the first COR drop off value;
                                            To the extent the accused products are found not to literally infringe this limitation, Taylor
                                            Made reserves the right to demonstrate the presence of an equivalent because the accused
                                            products perform substantially the same function in substantially the same way to effect
                                            substantially the same result, or are only insubstantially different.

wherein the COR change value is between 0   When tested, the accused products have a COR change value between 0 and −0.01.
and −0.01.
                                            To the extent the accused products are found not to literally infringe this limitation, Taylor
                                            Made reserves the right to demonstrate the presence of an equivalent because the accused
                                            products perform substantially the same function in substantially the same way to effect
                                            substantially the same result, or are only insubstantially different.




                                                                   17
     Exhibit 7                                                       220
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.676   Page
                                 192 of 241




                       Exhibit 9




                                      221
                      Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.677 Page
                                                193 of 241
           INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS

     Taylor Made provides the following claim chart demonstrating that the accused Kirkland Signature™ irons (the “accused products”)
     meet each and every limitation, either literally or under the doctrine of equivalents, of at least claim 17 of the U.S. Patent No.
     11,351,426 (“the ’426 patent”) and thus infringes at least claim 17 pursuant to 35 U.S.C. § 271(a). Taylor Made reserves the right to
     modify and/or supplement the claim chart herein where appropriate as discovery progresses.



            ’426 Patent Claims                                              The Accused Kirkland Signature™ Irons
17. A hollow body iron-type golf club head      Assuming arguendo the preamble is limiting, the accused products are iron-type golf club
comprising:                                     heads. See https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                handed.product.4000236767.html (last visited January 29, 2024) (describing the accused
                                                products as “players irons” and including “4-9 Iron and Pitching Wedge”).

                                                Moreover, the accused products are hollow bodied as evidenced by the diagram provided by
                                                Costco and as evidenced by cross section images of the accused products




                                                Id. (annotated).



                                                                        2
     Exhibit 8                                                          222
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.678 Page
                                                 194 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                   To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                   Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                   products perform substantially the same function in substantially the same way to effect
                                                   substantially the same result, or are only insubstantially different.

a body, comprising a heel portion, a first part    The accused products have a body comprising a heel portion, a first part of a sole portion, a
of a sole portion, a toe portion, a top portion,   toe portion, a top portion, a rear wall, and a hosel of the golf club head, as shown in the
a rear wall, and a hosel of the golf club head;    images below.




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     Exhibit 8                                                              223
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.679 Page
                                                 195 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                              https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                              handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                              To the extent the accused products are found not to literally infringe this limitation, Taylor
                                              Made reserves the right to demonstrate the presence of an equivalent because the accused
                                              products perform substantially the same function in substantially the same way to effect
                                              substantially the same result, or are only insubstantially different.

a strike plate welded to the body, wherein:   The accused products have a strike plate. On information and belief, the strike plate of the
                                              accused products is welded to the body. This is evidenced by the presence of a weld bead, as
                                              indicated in the figure below.




                                                                      4
     Exhibit 8                                                         224
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.680 Page
                                                 196 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

the strike plate comprises a strike face of the   The accused products have a strike plate that is comprised of a strike face, a second part of
golf club head, a second part of the sole         the sole portion, and a majority of the face-to-sole transition region between the strike face
portion of the golf club head, and a majority     and the sole portion. These features are shown in the cross-sectional view of the accused
of a face-to-sole portion transition region       product below.
between the strike face and the sole portion;




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     Exhibit 8                                                             225
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.681 Page
                                                 197 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                  To the extent the accused products are found not to literally infringe this limitation; Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

the strike plate, the heel portion, the sole      As shown in the figure below, the strike plate, heel portion, sole portion, toe portion, top
portion, the toe portion, the top portion, and    portion, and rear wall of the accused products enclose an internal cavity of the accused
the rear wall enclose an internal cavity of the   products. The figure below shows an exploded view of the accused products. The internal
golf club head;                                   cavity is enclosed by the specified features when the club is in its normal “unexploded” state.




                                                                          6
     Exhibit 8                                                             226
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.682 Page
                                                 198 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                 handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

the second part of the sole portion has an       As shown below, the second part of the sole portion has an internal surface that defines a
internal surface that defines a portion of the   portion of the internal cavity.
internal cavity;




                                                                         7
     Exhibit 8                                                            227
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.683 Page
                                                 199 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

the strike plate has a thickness that varies; and The strike plate of the accused products has a thickness that varies. As shown below, the
                                                  strike plate on the pictured accused product varies in thickness from at least 2.5 mm to 2.1
                                                  mm.




                                                                         8
     Exhibit 8                                                            228
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.684 Page
                                                 200 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

the first part of the sole portion comprises a   The accused products have a first part of the sole portion that comprises a recess formed in
recess formed in an internal surface of the      the internal surface of the first part of the sole portion, as shown below in the annotated
first part of the sole portion;                  cross-sectional picture of the accused products.




                                                                         9
     Exhibit 8                                                            229
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.685 Page
                                                 201 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                            To the extent the accused products are found not to literally infringe this limitation, Taylor
                                            Made reserves the right to demonstrate the presence of an equivalent because the accused
                                            products perform substantially the same function in substantially the same way to effect
                                            substantially the same result, or are only insubstantially different.

an elastomer material within the internal   The internal cavity of the accused products has an elastomer material within it, as shown in
cavity; and                                 the figures below.




                                                                   10
     Exhibit 8                                                       230
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.686 Page
                                           202 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).




                                                     11
Exhibit 8                                              231
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.687 Page
                                                 203 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

a tungsten weight located within the recess of   The accused products have a weight shown in the in the figures below, located within the
the first part of the sole portion;              recess of the first part of the sole portion. Costco’s web listing of the accused products states
                                                 that the irons have “an internal tungsten weight.” See https://www.costco.com/kirkland-
                                                 signature-7-piece-players-iron-set%2C-right-handed.product.4000236767.html (last visited
                                                 January 29, 2024). Thus, the accused products have a tungsten weight located within the
                                                 recess of the first part of the sole portion.




                                                                         12
     Exhibit 8                                                            232
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.688 Page
                                           204 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                               13
Exhibit 8                                       233
                        Case 3:24-cv-00212-AGS-VET
                                              Document 38-1 Filed 04/18/24 PageID.689 Page
                                                  205 of 241
             INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                                     https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                     handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                     To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                     Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                     products perform substantially the same function in substantially the same way to effect
                                                     substantially the same result, or are only insubstantially different.

wherein the elastomer material contacts an           As the figure below illustrates, the accused products have an elastomer material that contacts
interior surface of the strike plate, contacts the   both the interior surface of the strike plate and the tungsten weight and is interposed between
tungsten weight, and is interposed between           them such that no portion of the tungsten weight contacts the interior surface of the strike
the tungsten weight and the interior surface of      plate.
the strike plate such that no portion of the
tungsten weight contacts the interior surface
of the strike plate.

                                                                            14
     Exhibit 8                                                                234
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.690 Page
                                           206 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,351,426 FOR KIRKLAND SIGNATURE™ IRONS




                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                products perform substantially the same function in substantially the same way to effect
                                substantially the same result, or are only insubstantially different.




                                                       15
Exhibit 8                                                235
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.691   Page
                                 207 of 241




                       Exhibit 10




                                      236
                      Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.692 Page
                                                 208 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS

     Taylor Made provides the following claim chart demonstrating that the accused Kirkland Signature™ irons (the “accused products”)
     meet each and every limitation, either literally or under the doctrine of equivalents, of at least claim 13 of the U.S. Patent No.
     11,420,097 (“the ’097 patent”) and thus infringes at least claim 13 pursuant to 35 U.S.C. § 271(a). Taylor Made reserves the right to
     modify and/or supplement the claim chart herein where appropriate as this action progresses.



             ’097 Patent Claims                                             The Accused Kirkland Signature™ Irons
13. A golf club head having an internal         Assuming arguendo the preamble is limiting, the accused products are iron-type golf club
cavity, comprising:                             heads. See https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                handed.product.4000236767.html (last visited January 29, 2024) (describing the accused
                                                products as “players irons” and including “4-9 Iron and Pitching Wedge”).

                                                Moreover, the accused products have an internal cavity as evidenced by the diagram
                                                provided by Costco and as evidenced by cross section images of the accused products




                                                Id. (annotated).



                                                                        2
     Exhibit 9                                                          237
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.693 Page
                                                 209 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                   To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                   Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                   products perform substantially the same function in substantially the same way to effect
                                                   substantially the same result, or are only insubstantially different.

a body, comprising a heel portion, a first part    The accused products have a body comprising a heel portion, a first part of a sole portion, a
of a sole portion, a toe portion, a top portion,   toe portion, a top portion, and a hosel of the golf club head, as shown in the images below.
and a hosel of the golf club head;




                                                                           3
     Exhibit 9                                                              238
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.694 Page
                                           210 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                Id. (annotated).




                                                   4
Exhibit 9                                          239
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.695 Page
                                                 211 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS


                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

a strike plate welded to the body, wherein:       The accused products have a strike plate. On information and belief, the strike plate of the
                                                  accused products is welded to the body, as evidenced by the weld bead visible in the cross
                                                  sectional photograph of the accused products below.




                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

the strike plate comprises a strike face of the   The accused products have a strike plate that is comprised of a strike face, a second part of
golf club head, a second part of the sole         the sole portion, and a majority of the face-to-sole transition region between the strike face
portion of the golf club head, and a majority


                                                                          5
     Exhibit 9                                                             240
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.696 Page
                                                 212 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS


of a face-to-sole transition region between the   and the sole portion. These features are shown in the cross-sectional view of the accused
strike face and the sole portion;                 product below.




                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

the second part of the sole portion has an        As shown below, the second part of the sole portion has an internal surface that defines a
internal surface that defines a portion of the    portion of the internal cavity.
internal cavity; and



                                                                          6
     Exhibit 9                                                             241
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.697 Page
                                                 213 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                               To the extent the accused products are found not to literally infringe this limitation, Taylor
                                               Made reserves the right to demonstrate the presence of an equivalent because the accused
                                               products perform substantially the same function in substantially the same way to effect
                                               substantially the same result, or are only insubstantially different.

the strike plate has a central portion and a   The accused products have a strike plate that has a central portion (shown with a red
peripheral portion surrounding the central     annotation in the figure below) and a peripheral portion (shown with a blue annotation in the
portion; and                                   figure below) that surrounds the central portion.




                                                                       7
     Exhibit 9                                                          242
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.698 Page
                                                 214 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                products perform substantially the same function in substantially the same way to effect
                                                substantially the same result, or are only insubstantially different.

a thickness of the central portion is greater   The central portion of the strike plate of the accused products has a thickness that is greater
than a thickness of the peripheral portion;     than a thickness of the peripheral portion. As shown below, the strike plate on the pictured
                                                accused product is approximately 2.5 mm thick in a central portion and only approximately
                                                2.1 mm thick in a peripheral portion.



                                                                        8
     Exhibit 9                                                           243
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.699 Page
                                                 215 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

a thickened portion protruding from the first    The accused products have a thickened portion that protrudes from the first part of the sole
part of the sole portion into the internal       portion into the internal cavity, as shown in the figure below. Further, the thickened portion
cavity, wherein the thickened portion is         is located in a low portion of the golf club head and is rearward of the second part of the sole
located in a low portion of the golf club head   portion. The thickened portion also has a relatively large thickness when compared to the
and rearward of the second part of the sole      strike plate and its thickness is greater than the thickness of the central portion of the strike
portion, and the thickened portion has a         plate.
relatively large thickness in relation to the
strike plate and has a thickness greater than
the central portion of the strike plate;


                                                                         9
     Exhibit 9                                                            244
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.700 Page
                                                 216 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

an elastomer material that contacts a back        The accused products have an elastomer material that contacts a back surface of the strike
surface of the strike plate and contacts an       plate and contacts an interior surface of the second part of the sole portion, as shown in the
interior surface of the second part of the sole   figures below.
portion; and




                                                                         10
     Exhibit 9                                                             245
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.701 Page
                                           217 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                handed.product.4000236767.html (last visited January 29, 2024) (annotated).




                                                     11
Exhibit 9                                              246
                      Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.702 Page
                                                 218 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation; Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

a lower shelf, protruding from the sole bar      The accused products have a sole bar with a lower shelf protruding from the sole bar forward
forward towards the strike plate, and an upper   towards the strike plate. The accused products also have an upper shelf protruding from the
shelf, protruding from the sole bar forward      sole bar forward toward the strike plate.
towards the strike plate;




                                                                        12
     Exhibit 9                                                            247
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.703 Page
                                                 219 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

wherein a thickness of the second part of the    A thickness of the second part of the sole portion of the accused products is less than the
sole portion is less than the thickness of the   thickness of the central portion of the strike plate. Based on measurements of the accused
central portion of strike plate; and             products, as shown in the figure below, the thickness of the central portion of the strike plate
                                                 is approximately 2.5 mm, whereas the thickness of a second part of the sole portion is
                                                 approximately 2 mm.




                                                                        13
     Exhibit 9                                                            248
                        Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.704 Page
                                                 220 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                                    To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                    Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                    products perform substantially the same function in substantially the same way to effect
                                                    substantially the same result, or are only insubstantially different.

at least a portion of the second part of the sole   On information and belief, the accused products have at least a portion of the second part of
portion is welded along the first part of the       the sole portion welded along the first part of the sole portion, as shown in the figure below.
sole portion.                                       On information and belief, a weld bead runs between the first and second parts of the sole
                                                    portion, indicating the two parts are welded.




                                                                           14
     Exhibit 9                                                               249
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.705 Page
                                           221 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,420,097 FOR KIRKLAND SIGNATURE™ IRONS




                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                products perform substantially the same function in substantially the same way to effect
                                substantially the same result, or are only insubstantially different.




                                                       15
Exhibit 9                                                250
Case 3:24-cv-00212-AGS-VET   Document 38-1 Filed 04/18/24   PageID.706   Page
                                 222 of 241




                      Exhibit 11




                                      251
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.707 Page
                                                 223 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS

     Taylor Made provides the following claim chart demonstrating that the accused Kirkland Signature™ irons (the “accused products”)
     meet each and every limitation, either literally or under the doctrine of equivalents, of at least claim 13 of the U.S. Patent No.
     11,559,727 (“the ’727 patent”) and thus infringes at least claim 13 pursuant to 35 U.S.C. § 271(a). Taylor Made reserves the right to
     modify and/or supplement the claim chart herein where appropriate as this action progresses.



             ’727 Patent Claims                                            The Accused Kirkland Signature™ Irons
13. An iron-type golf club head, comprising:      Assuming arguendo the preamble is limiting, the accused products are iron-type golf club
                                                  heads. See https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                  handed.product.4000236767.html (last visited January 29, 2024) (describing the accused
                                                  products as “players irons” and including “4-9 Iron and Pitching Wedge”).

                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

a body, made of a first material having a first   The accused products have a body, made of a first material having a first density.
density, wherein the body comprises:              Specifically, the Costco website states that the accused products have “a stainless steel
                                                  body.” See id. Stainless steel has a first density.

                                                  To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                  Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                  products perform substantially the same function in substantially the same way to effect
                                                  substantially the same result, or are only insubstantially different.

a heel portion;                                   The accused products have a body having a heel portion.




                                                                          2
     Exhibit 10                                                            252
                   Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.708 Page
                                                 224 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                      Id. (annotated).

                                      To the extent the accused products are found not to literally infringe this limitation, Taylor
                                      Made reserves the right to demonstrate the presence of an equivalent because the accused
                                      products perform substantially the same function in substantially the same way to effect
                                      substantially the same result, or are only insubstantially different.

a toe portion;                        The accused products have a body having a toe portion.




                                                              3
     Exhibit 10                                                253
                   Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.709 Page
                                                 225 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                      Id. (annotated).

                                      To the extent the accused products are found not to literally infringe this limitation, Taylor
                                      Made reserves the right to demonstrate the presence of an equivalent because the accused
                                      products perform substantially the same function in substantially the same way to effect
                                      substantially the same result, or are only insubstantially different.

a sole portion;                       The accused products have a body having a sole portion.




                                                              4
     Exhibit 10                                                254
                   Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.710 Page
                                                 226 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                      Id. (annotated).

                                      To the extent the accused products are found not to literally infringe this limitation, Taylor
                                      Made reserves the right to demonstrate the presence of an equivalent because the accused
                                      products perform substantially the same function in substantially the same way to effect
                                      substantially the same result, or are only insubstantially different.

a top portion;                        The accused products have a body having a top portion.




                                                              5
     Exhibit 10                                                255
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.711 Page
                                                 227 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                             Id. (annotated).

                                             To the extent the accused products are found not to literally infringe this limitation, Taylor
                                             Made reserves the right to demonstrate the presence of an equivalent because the accused
                                             products perform substantially the same function in substantially the same way to effect
                                             substantially the same result, or are only insubstantially different.

a front portion, comprising a strike face;   The accused products have a body having a front portion that is comprised of a strike face.




                                                                     6
     Exhibit 10                                                       256
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.712 Page
                                                 228 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                              Id. (annotated).

                                              To the extent the accused products are found not to literally infringe this limitation, Taylor
                                              Made reserves the right to demonstrate the presence of an equivalent because the accused
                                              products perform substantially the same function in substantially the same way to effect
                                              substantially the same result, or are only insubstantially different.

a rear portion, comprising a rear wall; and   The accused products have a body having a rear portion that is comprised of a rear wall.




                                                                      7
     Exhibit 10                                                        257
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.713 Page
                                                 229 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                                   Id. (annotated).

                                                   To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                   Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                   products perform substantially the same function in substantially the same way to effect
                                                   substantially the same result, or are only insubstantially different.

an internal cavity enclosed by the heel            The accused products have an internal cavity that is enclosed by the heel portion, the toe
portion, the toe portion, the sole portion, the    portion, the sole portion, the top portion, the front portion, and the rear wall of the rear
top portion, the front portion and the rear wall   portion. The exploded view of the accused product below shows how these features define
of the rear portion; and                           the internal cavity. In the accused products’ natural “unexploded” state, the internal cavity is
                                                   enclosed by these features.




                                                                           8
     Exhibit 10                                                             258
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.714 Page
                                                 230 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                                 Id. (annotated).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

an internal weight, made of a second material    The accused products have an internal weight made of tungsten, which is a second material
having a second density greater than the first   from the first material (stainless steel). The Costco website states that the accused products
density, wherein the internal weight is          have “an internal tungsten weight.” See id.
enclosed within the internal cavity such that
no portion of the internal weight defines an     On information and belief, the density of tungsten is greater than the density of stainless steel
exterior surface of the iron-type golf club      and therefore the accused products have an internal weight made of a second material that
head;                                            has a greater density than the first density.




                                                                         9
     Exhibit 10                                                           259
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.715 Page
                                           231 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS


                                As shown in the figures below, the internal tungsten weight of the accused products is
                                enclosed within the internal cavity and no portion of the internal weight defines an exterior
                                surface of the iron-type golf club head.




                                                       10
Exhibit 10                                              260
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.716 Page
                                                 232 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                                 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                 handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

a filler material, located within the internal   The accused products have a filter material within the internal cavity. Costco’s website
cavity and interposed between the weight and     identifies the filler material as an “injected urethane insert.” See id. As shown below, the
the front portion;                               filler material is located within the internal cavity and is interposed between the weight and
                                                 the front portion.




                                                                        11
     Exhibit 10                                                           261
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.717 Page
                                                 233 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                             To the extent the accused products are found not to literally infringe this limitation, Taylor
                                             Made reserves the right to demonstrate the presence of an equivalent because the accused
                                             products perform substantially the same function in substantially the same way to effect
                                             substantially the same result, or are only insubstantially different.

wherein: a loft of the golf club head at a   The accused products have a loft of the golf club head at a proper address position of less
proper address position is less than 35      than 35 degrees. See https://www.costco.com/kirkland-signature-7-piece-players-iron-
degrees;                                     set%2C-right-handed.product.4000236767.html (last visited January 29, 2024).

                                             As the chart provided on Costco’s website indicates, at least the 4, 5, 6, and 7 irons of the
                                             accused products have a loft of less than 35 degrees.




                                                                    12
     Exhibit 10                                                       262
                      Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.718 Page
                                                 234 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                                 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                 handed.product.4000236767.html (last visited January 29, 2024).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

                                                 In particular, if the “loft of the golf club head at a proper address” for the accused products
                                                 differs from the specifications provided by Costco, and are not less than 35 degrees, the
                                                 accused product’s loft of the golf club head at a proper address is insubstantially different
                                                 from a loft of the golf club head at a proper address of less than 35 degrees. Further, the loft
                                                 at a proper address of the accused products functions in substantially the same way, to effect
                                                 substantially the same result, or is only insubstantially different from the claimed loft of less
                                                 than 35 degrees.

a maximum thickness of the strike face is less   The accused products have a maximum thickness of the strike face that is less than 3.1 mm.
than or equal to 3.1 mm;                         Specifically, the maximum thickness of the strike face is approximately 2.5 mm.




                                                                         13
     Exhibit 10                                                           263
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.719 Page
                                           235 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                products perform substantially the same function in substantially the same way to effect
                                substantially the same result, or are only insubstantially different.




                                                       14
Exhibit 10                                               264
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.720 Page
                                                 236 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS


a minimum thickness of the strike face is no   The minimum thickness of the strike face of the accused products is not less than 1.0 mm.
less than 1.0 mm;                              Specifically, the minimum thickness of the strike face of the accused products is around 2.1
                                               mm.




                                               To the extent the accused products are found not to literally infringe this limitation, Taylor
                                               Made reserves the right to demonstrate the presence of an equivalent because the accused
                                               products perform substantially the same function in substantially the same way to effect
                                               substantially the same result, or are only insubstantially different.

an external volume of the golf club head is    The external volume of the golf club head of the accused products is between 40 cc and 55
between 40 cc and 55 cc; and                   cc. The accused club heads have external volumes ranging from 47 cc to 53 cc, which are
                                               between 40 cc and 55 cc.

                                               To the extent the accused products are found not to literally infringe this limitation, Taylor
                                               Made reserves the right to demonstrate the presence of an equivalent because the accused
                                               products perform substantially the same function in substantially the same way to effect
                                               substantially the same result, or are only insubstantially different.


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     Exhibit 10                                                         265
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.721 Page
                                                 237 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS


the golf club head has a coefficient of        The accused products have a coefficient of restitution of the club head greater than 0.79. On
restitution value greater than 0.79;           information and belief, testing and further discovery will show that the coefficient of
                                               restitution of the accused club heads is greater than 0.79.

                                               Alternatively, on information and belief, the accused product golf club heads have a
                                               coefficient of restitution value that is insubstantially different from a coefficient of restitution
                                               value greater than 0.79 and the accused products perform substantially the same function, in
                                               substantially the same way, to effect substantially the same result as the claimed golf club
                                               head having a coefficient of restitution value greater than 0.79.

the body further comprises a weight channel,   The body of the accused products further comprises a weight channel that is enclosed within
enclosed within the internal cavity;           the internal cavity. The channel is evident in the figures below.




                                                                       16
     Exhibit 10                                                         266
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.722 Page
                                           238 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                               17
Exhibit 10                                      267
                       Case 3:24-cv-00212-AGS-VET
                                             Document 38-1 Filed 04/18/24 PageID.723 Page
                                                 239 of 241
            INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                                 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
                                                 handed.product.4000236767.html (last visited January 29, 2024) (annotated).

                                                 To the extent the accused products are found not to literally infringe this limitation, Taylor
                                                 Made reserves the right to demonstrate the presence of an equivalent because the accused
                                                 products perform substantially the same function in substantially the same way to effect
                                                 substantially the same result, or are only insubstantially different.

the weight channel comprises a closed back       As shown in the figure below, the weight channel of the accused products comprises a closed
side, a closed top side, a closed bottom side,   back, top, and bottom sides and an open front side. The closed back, top, and bottom sides
and an open front side; and                      are annotated with blue lines.




                                                                        18
     Exhibit 10                                                           268
                      Case 3:24-cv-00212-AGS-VET
                                            Document 38-1 Filed 04/18/24 PageID.724 Page
                                                240 of 241
           INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                              To the extent the accused products are found not to literally infringe this limitation, Taylor
                                              Made reserves the right to demonstrate the presence of an equivalent because the accused
                                              products perform substantially the same function in substantially the same way to effect
                                              substantially the same result, or are only insubstantially different.

a maximum front-to-back depth proximate the The accused products have a maximum front-to-back depth proximate to the top line portion
topline portion of the internal cavity of the of the internal cavity of the golf club that is not more than 6 mm. As shown in the figure
golf club is no more than 6 mm.               below, the maximum front-to-back depth proximate to the topline portion of the internal
                                              cavity is approximately 3.7 mm, which is not more than 6 mm.



                                                                     19
     Exhibit 10                                                        269
             Case 3:24-cv-00212-AGS-VETDocument 38-1 Filed 04/18/24 PageID.725 Page
                                           241 of 241
      INFRINGEMENT CLAIM CHART OF U.S. PATENT NO. 11,559,727 FOR KIRKLAND SIGNATURE™ IRONS




                                To the extent the accused products are found not to literally infringe this limitation, Taylor
                                Made reserves the right to demonstrate the presence of an equivalent because the accused
                                products perform substantially the same function in substantially the same way to effect
                                substantially the same result, or are only insubstantially different.




                                                       20
Exhibit 10                                               270
